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                                                                  EXHIBIT 1



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Pablo A. Salcedo,                              :
                                               :
                                               :
                              Plaintiff,       :
                                               :   CIVIL ACTION NO. 2019-cv-02201-CCC
        v.                                     :
                                               :
The Milton S. Hershey Medical Center,          :
                                               :
                              Defendant.       :
                                               :
                                               :


                  DEFENDANT’S FIRST REQUEST FOR PRODUCTION
                         OF DOCUMENTS TO PLAINTIFF

        Defendant, The Milton S. Hershey Medical Center, (hereinafter referred to as

“Defendant”), by and through its attorneys, White and Williams LLP, request that Plaintiff,

Pablo Salcedo, produce the following items within thirty (30) days at the office of the

undersigned counsel for the Defendant in accordance with the Federal Rules of Civil Procedure.

This Request to Produce Documents is continuing and any information secured subsequent to the

filing of the Responses, which would have been included in the Responses had it been known or

available, is to be supplied by Supplemental Responses.

                                       A. DEFINITIONS

       1.      “Document” or “Documents” means the original and all copies of any writing or
recording of any type, including but not limited to any book, pamphlet, periodical, letter,
memorandum, telegram, report, record, study, office communication, e-mail, note, working
paper, diary, journal, log, schedule, calendar, appointment book, application, tax return, chart,
paper, graph, survey, index, photograph, films, videotape, audiotape, disc, data sheet or data
processing printout or any other written, typed, printed, recorded, transcribed, electronic or
graphic matter, translated if necessary by Plaintiff into reasonably usable form.

       2.     “Identify,” “set forth,” or “state” when used in reference to a natural person
means to specify in the answer his or her:




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               a.     full name;

               b.     present or last known address (including street name and number, city or
                      town, state and zip code) and telephone number; and,

               c.     present or last known place of employment and job title.

       3.      “Identify,” “set forth,” or “state” when used in reference to a company,
corporation or other entity other than a natural person, means to specify in the answer its:

               a.     full name and type of organization or entity;

               b.     address of principal place of business; and,

               c.     state of incorporation or organization.

      4.      “Relating to” or “in reference to” shall mean referring to, concerning, discussing,
mentioning, comprising, or consisting of, in whole or in part.

        5.     “Plaintiff” and “you” shall mean the Plaintiff, Pablo Salcedo.

        6.     “Defendant” shall mean Defendant, The Milton S. Hershey Medical Center.

       7.       “Person” means a natural person, firm, association, organization, partnership,
business, trust, corporation or any other public or private entity.

       8.      “Communication” means any contact between two or more persons including,
without limitation:

               a.     written contact by any means, including letters, memoranda, electronic
                      mail, facsimiles, text messages, telegrams or telex messages;

               b.     oral contact by any means, including face-to-face meetings and/or
                      telephone; or,

               c.     audio contacts and visual contacts by signal or computer language.

      9.      “Correspondence” means a communication between persons or entities sent by
any means, including electronic means.

       10. “Complaint” means the Complaint you filed in the United States District Court for
the Middle District of Pennsylvania, at Civil Action No. 19-02201.




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                                     B. INSTRUCTIONS

       1.     Each requested document is to be produced in the original manner in which it is
maintained, including the file folder in which it is maintained, if applicable, and not separated
from any document to which it is clipped, attached or stapled.

        2.     A copy of each original document and all nonconforming copies of that document
are to be produced.

        3.     Unless otherwise specified, the documents to be produced are those generated on
or since 2011.

       4.      In the event any responsive information is stored on data processing equipment, a
hard copy of the information should be produced.

         5.     If any document is withheld from production on the ground of privilege, your
response must identify the document by date, author, addressee, title, type of document (i.e.,
letter, memorandum, etc.) and subject matter. Further, you must list all persons who received the
document and/or are in possession of the document and must state the precise nature of the
privilege relied upon.

       6.     If you do not possess either the original or a copy of the requested document, state
the name, address and telephone number of the present custodian of the original or copy, or the
name, address and telephone number of the person whom you believe is presently in possession
of same.

       7.      If you no longer are in possession of or have access to the original or a copy of a
requested document, state when the document was most recently in your possession or subject to
your access and what disposition was made of the document. If the documents have been
destroyed, state when the documents were destroyed, identify the person(s) who directed that the
documents be destroyed and the person(s) who destroyed the documents and state the reasons
why the documents were destroyed.




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                                C. DOCUMENTS REQUESTED


       1.      Copies of all statements made by any party to this litigation or made by any
witness or potential witness which relate to the claims or defenses of the parties in this litigation.

        2.     Any and all documents referring to or relating in any way to the Complaint.

         3.      Any and all documents and/or exhibits which you intend to or may utilize at the
trial of this matter.

        4.     Copies of resumes of all experts whom you intend to call at the trial of this matter.

       5.     Copies of all expert reports, including all documents, articles, correspondence,
and other materials relied upon by any expert whom you intend to offer at the trial of this matter,
and which documents were relied upon by the expert in rendering an opinion.

        6.      Any and all personal records including email communications, calendars, diaries,
notes, tapes, journals, correspondence, social media posts, or other type of written or recorded
document which relate to the allegations made in the Complaint.

       7.     Any and all documents related to any litigation, court filings, civil or criminal
matters, which you have been involved in within the past fifteen (15) years.

       8.     All documents that relate or refer to any and all complaints, charges,
correspondence, statements, or other documents given, shown or submitted by Plaintiff to, or
received by Plaintiff from, any state, federal or local authority, entity or agency, including, but
not limited to, the Equal Employment Opportunity Commission, the Pennsylvania Human
Relations Commission, the Workers’ Compensation Board, and Bureau of Unemployment
Compensation Benefits and Allowances, which in any way relate to any allegations of the
Complaint in this matter.

        9.      Any and all documents relating to the medical condition(s) that you claim are a
disability or serious health condition as alleged in the Complaint.

      10.      Any and all communications between you and Dr. Nicole Swallow relating in any
way to the claims or factual allegations made in the Complaint.

        11.     Any and all communications between you and Drs. Kogut, Bedi, and Marshall
relating in any way to the claims or factual allegations made in the Complaint.

        12.     Any and all documents relating to Plaintiff’s claim that “Defendant was aware of
Plaintiff’s disabilities” as alleged in Paragraph 36 of the Complaint.

        13.   Any and all documents relating to Plaintiff’s claim that “Shorty after starting his
internship in July 2017, Plaintiff requested reasonable accommodations from three Chief


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Residents: Dr. James Kogut, Dr. Simrajit Bedi, and Dr. Britt Marshall” as alleged in Paragraph
47 of the Complaint.

       14.    Any and all documents relating to Plaintiff’s claim that Plaintiff requested a
reasonable accommodation as alleged in Paragraphs 48 - 49 of the Complaint.

     15.    Any and all documents relating to Plaintiff’s allegation that Plaintiff contacted
Human Resources as alleged in Paragraph 50 of the Complaint.

       16.     Any and all documents relating to Plaintiff’s claim that he requested
accommodations due to his serious health conditions/disabilities as further alleged in Paragraphs
51-55, 59, 74, 75, and 85 of the Complaint.

       17.    Any and all documents relating to Plaintiff’s claim that his medical providers
requested accommodations for Plaintiff as alleged in Paragraphs 52, 54 and 55 of the Complaint.

       18.     Any and all documents that Plaintiff submitted to Defendant related to Plaintiff’s
alleged requests for accommodations.

       19.   Any and all documents relating to Plaintiff’s claim that “Dr. Swallow continued
to schedule Dr. Salcedo 78 to 80 or more hours per week before and after his requests for
accommodation” as alleged in Paragraph 60 of the Complaint.

        20.     Any and all documents relating to Plaintiff’s claim that Dr. Swallow directed and
Plaintiff provided fitness for duty assessments as alleged in Paragraphs 66 – 72 of the Complaint.

        21.     Any and all documents relating to Plaintiff’s claim that Dr. Swallow issued
Plaintiff a remediation plan as alleged in Paragraphs 73-81 of the Complaint.

      22.     Any and all documents related to communications between Dr. Swallow and Dr.
Munoz as alleged in Paragraphs 90-94 of the Complaint.

        23.    Any and all documents relating to Plaintiff’s claim that “Dr. Salcedo was
terminated despite receiving consistent positive reviews from his attending physicians up until
April 4, 2018” as alleged in Paragraph 100 of the Complaint.

       24.     Any and all documents relating to Plaintiff’s claim that he filed an appeal of the
decision to terminate him from the program as alleged in Paragraph 101 of the Complaint.

        25.    Any and all documents relating to Plaintiff’s claim that Dr. Snyder submitted an
“outlier evaluation” as alleged in Paragraph 102 of the Complaint.

       26.    Any and all documents relating to Plaintiff’s claim that “Plaintiff was terminated
from the program because his disability, record of disability or perceived disability” as alleged in
Paragraph 122 of the Complaint.



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       27.     All documents that relate to, or refer to, Plaintiff’s efforts to mitigate damages,
including, but not limited to, resumes, job interview letters, job offer letters, online job
applications, and printouts from any and all online job search websites.

       28.     All documents that relate or refer to any and all monies received by Plaintiff,
including, but not limited to, pay stubs, W-2 forms and state and federal tax returns (with
schedules) for the years 2018 to the present.

     29.    Any and all documents which you contend are not within the scope of the above
Document Requests but which otherwise support your claim for damages.

        30.    Authorizations for the release of any and all medical records, and the like, from
any and all individuals identified by Plaintiff in response to Defendant’s First Set of
Interrogatories, served contemporaneously with these document requests.

       31.    Any and all documents which relate to, reflect, refer to or were otherwise relied
upon in answering Defendant’s First Set of Interrogatories to Plaintiff.


                                                    WHITE AND WILLIAMS LLP



                                             By:    /s/Nancy Conrad______________
                                                    Nancy Conrad, Esquire (56157)
                                                    3701 Corporate Parkway, Suite 300
                                                    Center Valley, PA 18034
                                                    Phone: (610) 782-4909
                                                    conradn@whiteandwilliams.com
                                                    Attorneys for Defendant

DATED: September 1, 2020




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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Pablo A. Salcedo,                             :
                                              :
                                              :
                             Plaintiff,       :
                                              :   CIVIL ACTION NO. 2019-cv-02201-CCC
        v.                                    :
                                              :
The Milton S. Hershey Medical Center,         :
                                              :
                             Defendant.       :
                                              :
                                              :


                               CERTIFICATE OF SERVICE

        I, Nancy Conrad, Esquire, do hereby certify that on this 1st day of September, 2020, I

caused a true and correct copy of the attached Defendant’s First Request for Production of

Documents to Plaintiff to be served, via E-Mail upon the following:


                                    Sharon R. Lopez, Esq.
                                    Andrea C. Farney, Esq.
                                         Triquetra Law
                                     34 East Orange Street
                                           Suite 301
                                     Lancaster, PA 17602
                                    Attorneys for Plaintiff


                                                           WHITE AND WILLIAMS LLP


                                                           /s/Nancy Conrad_______________
                                                           Nancy Conrad
                                                           Attorneys for Defendant




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    EXHIBIT 2
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                                                                             EXHIBIT 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                          :
Pablo A. Salcedo,                         :        Civil Action No. 19-cv-2201
                    Plaintiff,            :
       v.                                 :            Before the Honorable
                                          :                Yvette Kane
The Milton S. Hershey Medical             :
Center,                                   :            Jury Trial Demanded
                  Defendant.              :

                   PLAINTIFF’S RESPONSES TO
            DEFENDANT’S FIRST REQUEST FOR DOCUMENTS



      COME NOW, Plaintiff, Pablo A. Salcedo, by his counsel, and in accordance with

the Rule 34 of the Federal Rules of Civil Procedure, state the following as his

objections to Defendant’s First Set of Requests for Documents:

PRELIMINARY STATEMENT AND GENERAL OBJECTIONS:

      a.     Plaintiff objects to these requests to the extent they seek information not

in Plaintiff's custody or control, such as documents already in Defendants’ counsel's

possession, or documents equally available to Plaintiff and Defendants.

      b.     Plaintiff objects to Defendants’ Requests to the extent that they seek

disclosure of information protected by the attorney-client privilege, the work product

doctrine or other applicable privilege.

      c.     Plaintiff objects to Defendants' Requests to the extent they seek
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disclosure of Plaintiff’s' (and/or his representative's) mental impressions, conclusions

or opinions respecting the value or merit of a claim or defense or respecting strategy

or tactics as protected by the Federal Rules of Civil Procedure.

       d.     Plaintiff objects to Defendants' Requests to the extent they call for the

disclosure of information of a confidential, or personal or private nature to Plaintiff.

       e.     Plaintiff objects to Defendants' Requests to the extent they call for

information regarding matters not relevant to the claims or defenses of the parties and

not reasonably calculated to lead to the discovery of admissible information.

       f.     Plaintiff objects to Defendants' Requests to the extent that they are

overbroad in scope, unduly and unreasonably burdensome, and/or oppressive.

       g.     Plaintiff objects to Defendants' Requests to the extent they call for

information not known to Plaintiff, nor reasonably ascertainable by Plaintiff because

such information is in the hands of, or under the control of, third parties not within

Plaintiff's control.

       h.     Plaintiff objects to Defendants' Requests to the extent they are so vague

and ambiguous that they are not subject to reasonable interpretation.

       i.     Plaintiff objects to Defendants' Requests to the extent they purport to

impose additional disclosures beyond those required by the Federal Rules of Civil

Procedure.
                                       Plaintiff’s Response to Defendant’s First Request for Documents
                                                      Salcedo v The Milton S. Hershey Medical Center,
                                                                       19-cv-2201- Judge Yvette Kane
                                                                                                Page 2
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       These general objections apply to each and every separate response to

Defendants' Requests. Such objections are incorporated in each answer as if stated

verbatim for each individual request.

DOCUMENT REQUESTS:

       1.     Copies of all statements made by any party to this litigation or made by

any witness or potential witness which relate to the claims or defenses of the parties in

this litigation.

OBJECTION:

       Plaintiff objects to Defendant'’ request to the extent the term statement is not

defined, it is so vague and ambiguous that they are not subject to reasonable

interpretation.

RESPONSE:

 See Bates Documents:
 Salcedo.000001-000002
 Salcedo.000003-000003
 Salcedo.000004-000004
 Salcedo.000005-000010



       2.     Any and all documents referring to or relating in any way to the

Complaint.


                                        Plaintiff’s Response to Defendant’s First Request for Documents
                                                       Salcedo v The Milton S. Hershey Medical Center,
                                                                        19-cv-2201- Judge Yvette Kane
                                                                                                 Page 3
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OBJECTION:

      Plaintiff objects to this request to the extent it seeks information not in

Plaintiff's custody or control, such as documents already in Defendant’s counsel's

possession, or documents equally available to Plaintiff and Defendant.

      Plaintiff objects to Defendant’s request to the extent it calls for information not

known to Plaintiff, nor reasonably ascertainable by Plaintiff because such information

is in the hands of, or under the control of, third parties not within Plaintiff's control.

      Plaintiff objects to Defendant’s request to the extent it is overbroad in scope,

unduly and unreasonably burdensome, and/or oppressive, especially at this phase of

discovery and since Defendant has not responded to Plaintiff’s discovery requests.

RESPONSE:

 See Bates Documents:
 Salcedo.000011-000011
 Salcedo.000012-000012
 Salcedo.000013-000014
 Salcedo.000015-000015
 Salcedo.000016-000016
 Salcedo.000017-000017
 Salcedo.000018-000018
 Salcedo.000019-000019
 Salcedo.000020-000020
 Salcedo.000021-000021
 Salcedo.000022-000022
 Salcedo.000023-000023
 Salcedo.000024-000024
 Salcedo.000025-000025
                                        Plaintiff’s Response to Defendant’s First Request for Documents
                                                       Salcedo v The Milton S. Hershey Medical Center,
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                                                                                                 Page 4
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 Salcedo.000026-000026
 Salcedo.000028-000031
 Salcedo.000032-000067
 Salcedo.000068-000070
 Salcedo.000071-000353



       3.     Any and all documents and/or exhibits which you intend to or may utilize

at the trial of this matter.

OBJECTION:

       Plaintiff objects to this request to the extent it seeks information not in

Plaintiff's custody or control, such as documents already in Defendant’s counsel's

possession, or documents equally available to Plaintiff and Defendant.

       Plaintiff objects to Defendant’s request to the extent it calls for information not

known to Plaintiff, nor reasonably ascertainable by Plaintiff because such information

is in the hands of, or under the control of, third parties not within Plaintiff's control.

       Plaintiff objects to Defendant’s request to the extent it is overbroad in scope,

unduly and unreasonably burdensome, and/or oppressive, especially at this phase of

discovery and since Defendant has not responded to Plaintiff’s discovery requests.

RESPONSE:

 See Bates Documents:
 Salcedo.000354-000360
 Salcedo.000361-000363
                                        Plaintiff’s Response to Defendant’s First Request for Documents
                                                       Salcedo v The Milton S. Hershey Medical Center,
                                                                        19-cv-2201- Judge Yvette Kane
                                                                                                 Page 5
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Salcedo.000364-000365
Salcedo.000366-000368
Salcedo.000369-000377
Salcedo.000378-000382
Salcedo.000383-000435
Salcedo.000436-000438
Salcedo.000439-000441
Salcedo.000012-000012
Salcedo.000013-000014
Salcedo.000442-000444
Salcedo.000445-000445
Salcedo.000446-000446
Salcedo.000447-000453
Salcedo.000454-000454
Salcedo.000455-000456
Salcedo.000457-000457
Salcedo.000458-000458
Salcedo.000020-000020
Salcedo.000459-000459
Salcedo.000460-000846
Salcedo.000847-000847
Salcedo.000848-000848
Salcedo.000849-000850
Salcedo.000851-000851
Salcedo.000852-000860
Salcedo.000861-000861
Salcedo.000862-000862
Salcedo.000863-000863
Salcedo.000864-000865
Salcedo.000866-000866
Salcedo.000867-000882
Salcedo.000883-000884
Salcedo.000885-000885
Salcedo.000886-000888
Salcedo.000889-000901
Salcedo.000902-000906
Salcedo.000907-000908
                                Plaintiff’s Response to Defendant’s First Request for Documents
                                               Salcedo v The Milton S. Hershey Medical Center,
                                                                19-cv-2201- Judge Yvette Kane
                                                                                         Page 6
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      4.       Copies of resumes of all experts whom you intend to call at the trial of

this matter.

OBJECTION:

      Plaintiff objects to Defendant’s request to the extent it is so vague and

ambiguous that they are not subject to reasonable interpretation, given that discovery

is ongoing and responses to Plaintiff’s discovery requests have not been disclosed.

      Plaintiff objects to Defendant’s request to the extent it purports to impose

additional disclosures beyond those required by the Federal Rules of Civil Procedure,

given that discovery is ongoing and responses to Plaintiff’s discovery requests have

not been disclosed.

RESPONSE:

See Bates Documents:
Salcedo.000909-000913




      5.       Copies of all expert reports, including all documents, articles,

correspondence, and other materials relied upon by any expert whom you intend to

offer at the trial of this matter, and which documents were relied upon by the expert in

rendering an opinion.

OBJECTION:
                                       Plaintiff’s Response to Defendant’s First Request for Documents
                                                      Salcedo v The Milton S. Hershey Medical Center,
                                                                       19-cv-2201- Judge Yvette Kane
                                                                                                Page 7
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      Plaintiff objects to this request to the extent it seeks information not in

Plaintiff's custody or control, such as documents already in Defendants’ counsel's

possession, or documents equally available to Plaintiff and Defendants.

      Plaintiff objects to Defendant’s request to the extent it is so vague and

ambiguous that they are not subject to reasonable interpretation, given that discovery

is ongoing and responses to Plaintiff’s discovery requests have not been disclosed.

      Plaintiff objects to Defendant’s request to the extent it purports to impose

additional disclosures beyond those required by the Federal Rules of Civil Procedure,

given that discovery is ongoing and responses to Plaintiff’s discovery requests have

not been disclosed.

      Plaintiff objects to Defendant’s request to the extent it is overbroad in scope,

unduly and unreasonably burdensome, and/or oppressive.

RESPONSE:

See Bates Documents:
Salcedo.000913-000913
Salcedo.000914-000914
Salcedo.000915-000916
Salcedo.000885-000885




                                      Plaintiff’s Response to Defendant’s First Request for Documents
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      6.     Any and all personal records including email communications, calendars,

diaries, notes, tapes, journals, correspondence, social media posts, or other type of

written or recorded document which relate to the allegations made in the Complaint.

OBJECTION:

      Plaintiff objects to Defendant’s request to the extent it calls for information

regarding matters not relevant to the claims or defenses of the parties and not

reasonably calculated to lead to the discovery of admissible information.

      Plaintiff objects to Defendant’s request to the extent it is so vague and

ambiguous that they are not subject to reasonable interpretation.

RESPONSE:

See Bates Documents:
Salcedo.000917-000917
Salcedo.000918-000918
Salcedo.000919-000919
Salcedo.000920-000920
Salcedo.000921-000921
Salcedo.000922-000922
Salcedo.000923-000923
Salcedo.000924-000924
Salcedo.000455-000456
Salcedo.000925-000925
Salcedo.000926-000926
Salcedo.000927-000927
Salcedo.000928-000928
Salcedo.000929-000929
Salcedo.000930-000933
Salcedo.000934-000934
                                     Plaintiff’s Response to Defendant’s First Request for Documents
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 Salcedo.000935-000935
 Salcedo.000936-000936
 Salcedo.000937-000937
 Salcedo.000938-000938
 Salcedo.000939-000939
 Salcedo.000940-000940




       7.     Any and all documents related to any litigation, court filings, civil or

criminal matters, which you have been involved in within the past fifteen (15) years.

OBJECTION:

       Plaintiff objects to this request to the extent it seeks information not in

Plaintiff's custody or control, such as documents already in Defendants’ counsel's

possession.

RESPONSE:

There are no documents responsive to this request for documents.


       8.     All documents that relate or refer to any and all complaints, charges,

correspondence, statements, or other documents given, shown or submitted by

Plaintiff to, or received by Plaintiff from, any state, federal or local authority, entity or

agency, including, but not limited to, the Equal Employment Opportunity

Commission, the Pennsylvania Human Relations Commission, the Worker’s

                                         Plaintiff’s Response to Defendant’s First Request for Documents
                                                        Salcedo v The Milton S. Hershey Medical Center,
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Compensation Board, and Bureau of Unemployment Compensation Benefits and

Allowances, which in any way relate to any allegations of the Complaint in this

matter.


RESPONSE:

See Bates Documents:
Salcedo.000071-000353


      9.     Any and all documents relating to the medical conditions that you claim

are a disability or serious health conditions as alleged in the Complaint.

OBJECTION:

      Plaintiff objects to Defendant’s request to the extent it calls for information

regarding matters not relevant to the claims or defenses of the parties and not

reasonably calculated to lead to the discovery of admissible information.

RESPONSE:

See Bates Documents:
Salcedo.000941-000941
Salcedo.000942-000942
Salcedo.000943-000943
Salcedo.000944-000944
Salcedo.000945-000945
Salcedo.000946-001033
Salcedo.001034-001043
Salcedo.001044-001046

                                      Plaintiff’s Response to Defendant’s First Request for Documents
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      10.    Any and all communications between you and Dr. Nicole Swallow

relating in any way to the claims or factual allegations made in the Complaint.

OBJECTION:

      Plaintiff objects to Defendant’s request to the extent it is overbroad in scope,

unduly and unreasonably burdensome, and/or oppressive.

      Plaintiff objects to Defendant’s request to the extent it calls for information not

known to Plaintiff, nor reasonably ascertainable by Plaintiff because such information

is in the hands of, or under the control of, third parties not within Plaintiff's control.

      Plaintiff objects to Defendant’s request to the extent it is so vague and

ambiguous that they are not subject to reasonable interpretation.

RESPONSE:

 See Bates Documents:
 Salcedo.001047-001047
 Salcedo.000018-000018
 Salcedo.000019-000019
 Salcedo.001048-001048
 Salcedo.001049-001049
 Salcedo.000024-000024
 Salcedo.000025-000025
 Salcedo.000026-000026




                                       Plaintiff’s Response to Defendant’s First Request for Documents
                                                      Salcedo v The Milton S. Hershey Medical Center,
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      11.    Any and all communications between you and Drs. Kogut, Bedi, and

Marshall relating in any way to the claims or factual allegations made in the

Complaint.

OBJECTION:

      Plaintiff objects to this request to the extent it seeks information not in

Plaintiff's custody or control, such as documents already in Defendant’s counsel's

possession, or documents equally available to Plaintiff and Defendants.

RESPONSE:

See Bates Documents:
Salcedo.000015-000015
Salcedo.000017-000017



      12.    Any and all documents relating to Plaintiff’s claim that “Defendant was

aware of Plaintiff’s disabilities” as alleged in Paragraph 36 of the Complaint.

OBJECTION:

      Plaintiff objects to Defendant’s request to the extent it is overbroad in scope,

unduly and unreasonably burdensome, and/or oppressive.

RESPONSE:

See Bates Documents:
Salcedo.000011-000011
Salcedo.000012-000012
                                      Plaintiff’s Response to Defendant’s First Request for Documents
                                                     Salcedo v The Milton S. Hershey Medical Center,
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Salcedo.000013-000014
Salcedo.000442-000444
Salcedo.000015-000015
Salcedo.000016-000016
Salcedo.000017-000017
Salcedo.000018-000018
Salcedo.000021-000021
Salcedo.000023-000023




      13.   Any and all documents relating to Plaintiff’s claim that “Shortly after

starting his internship in July 2017, Plaintiff requested reasonable accommodations

from three Chief Residents: Dr. James Kogut, Dr. Simrajit Bedi, and Dr. Britt

Marshall” as alleged in Paragraph 47 of the Complaint.

OBJECTION:

      Plaintiff objects to this request to the extent they seek information not in

Plaintiff's custody or control, such as documents already in Defendants’ counsel's

possession, or documents equally available to Plaintiff and Defendants.

RESPONSE:

See Bates Documents:
Salcedo.000011-000011
Salcedo.000012-000012
Salcedo.000013-000014
Salcedo.000015-000015
Salcedo.000016-000016

                                    Plaintiff’s Response to Defendant’s First Request for Documents
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                                                                                            Page 14
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      14.    Any and all documents relating to Plaintiff’s claim that Plaintiff

requested a reasonable accommodation as alleged in Paragraphs 48-49 of the

Complaint.

OBJECTION:

      Plaintiff objects to Defendants' Requests to the extent that they are overbroad in

scope, unduly and unreasonably burdensome, and/or oppressive as discovery is

ongoing and Defendant has not yet responded to Plaintiff’s discovery request.

RESPONSE:

 See Bates Documents:
 Salcedo.000439-000441
 Salcedo.000015-000015
 Salcedo.000016-000016
 Salcedo.000018-000018
 Salcedo.000849-000850
 Salcedo.000851-000851
 Salcedo.000021-000021




      15.    Any and all documents relating to Plaintiff’s allegation that Plaintiff

contacted Human Resources as alleged in Paragraph 50 of the Complaint.

RESPONSE:

See Bates Documents:
Salcedo.000012-000012
Salcedo.000013-000014
                                      Plaintiff’s Response to Defendant’s First Request for Documents
                                                     Salcedo v The Milton S. Hershey Medical Center,
                                                                      19-cv-2201- Judge Yvette Kane
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      16.    Any and all documents relating to Plaintiff’s claims that he requested

accommodations due to his serious health conditions/ disabilities as further alleged in

Paragraphs 51-55, 59, 74, 75, and 85 of the Complaint.

RESPONSE:

 See Bates Documents:
 Salcedo.000946-001033
 Salcedo.001034-001043
 Salcedo.001044-001046
 Salcedo.000442-000444
 Salcedo.000015-000015
 Salcedo.000918-000918
 Salcedo.000447-000453
 Salcedo.000454-000454
 Salcedo.000455-000456
 Salcedo.000928-000928
 Salcedo.000930-000933




      17.    Any and all documents relating to Plaintiff’s claim that his medical

providers requested accommodations for Plaintiff as alleged in Paragraphs 52, 54 and

55 of the Complaint.

RESPONSE:

 See Bates Documents:
 Salcedo.000946-001033
 Salcedo.001034-001043
 Salcedo.000918-000918
 Salcedo.000447-000453
                                      Plaintiff’s Response to Defendant’s First Request for Documents
                                                     Salcedo v The Milton S. Hershey Medical Center,
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Salcedo.000924-000924
Salcedo.000455-000456
Salcedo.000928-000928


      18.   Any and all documents that Plaintiff submitted to Defendant related to

Plaintiff’s alleged requests for accommodations.

OBJECTION:

      Plaintiff objects to Defendants' Requests to the extent that they are overbroad in

scope, unduly and unreasonably burdensome, and/or oppressive.

RESPONSE:

See Bates Documents:
Salcedo.000015-000015
Salcedo.000016-000016
Salcedo.000018-000018
Salcedo.000021-000021




      19.   Any and all documents relating to Plaintiff’s claim that “Dr. Swallow

continued to schedule Dr. Salcedo 78 to 80 or more hours per week before and after

his requests for accommodation” as alleged in Paragraph 60 of the Complaint.

      RESPONSE:

See Bates Documents:
Salcedo.000445-000445
Salcedo.000446-000446
                                      Plaintiff’s Response to Defendant’s First Request for Documents
                                                     Salcedo v The Milton S. Hershey Medical Center,
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Salcedo.000459-000459
Salcedo.000847-000847
Salcedo.000848-000848




      20.    Any and all documents relating to Plaintiff’s claim that Dr. Swallow

directed, and Plaintiff provided fitness for duty assessments as alleged in Paragraphs

66- 72 of the Complaint.

RESPONSE:

See Bates Documents:
Salcedo.000019-000019
Salcedo.000447-000453
Salcedo.000924-000924
Salcedo.000455-000456
Salcedo.000849-000850




      21.    Any and all documents relating to Plaintiff’s claim that Dr. Swallow

issued Plaintiff a remediation plan as alleged in Paragraphs 73-81 of the Complaint.

RESPONSE:

See Bates Documents Salcedo.000020-000020
__________________________________________________________________

      22.    Any and all documents relating to communications between Dr. Swallow

and Dr. Munoz as alleged in Paragraphs 90-94 of the Complaint.
                                      Plaintiff’s Response to Defendant’s First Request for Documents
                                                     Salcedo v The Milton S. Hershey Medical Center,
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RESPONSE:

 See Bates Documents:
 Salcedo.000849-000850
 Salcedo.000021-000021
________________________________________________________________

      23.    Any and all documents relating to Plaintiff’s claim that “Dr. Salcedo was

terminated despite receiving consistent positive reviews from his attending physicians

up until April 4, 2018” as alleged in Paragraph 102 of the Complaint.

RESPONSE:

See Bates Documents
Salcedo.000383-000435
___________________________________________________________________

      24.    Any and all documents relating to Plaintiff’s claim that he filed an appeal

of the decision to terminate him from the program as alleged in Paragraph 101 of the

Complaint.

RESPONSE:

 See Bates Documents:
 Salcedo.000383-000435
 Salcedo.001050-001050
 Salcedo.001051-001051
 Salcedo.001052-001052
 Salcedo.001053-001053
 Salcedo.001054-001057
 Salcedo.000864-000865
 Salcedo.001058-001060
___________________________________________________________________
                                      Plaintiff’s Response to Defendant’s First Request for Documents
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      25.    Any and all documents relating to Plaintiff’s claim that Dr. Snyder

submitted an “outlier evaluation” as alleged in Paragraph 102 of the Complaint.

RESPONSE:

See Bates Documents
Salcedo.000864-000865
___________________________________________________________________

      26.    Any and all documents relating to Plaintiff’s claim that “Plaintiff was

terminated from the program because his disability, record of disability or perceived

disability” as alleged in Paragraph 122 of the Complaint.

OBJECTION:

      Plaintiff objects to this request to the extent it seeks information not in

Plaintiff's custody or control, such as documents already in Defendants’ counsel's

possession, or documents equally available to Plaintiff and Defendants.

RESPONSE:

See Bates Documents:
Salcedo.000383-000435
Salcedo.000018-000018
Salcedo.000019-000019
Salcedo.000020-000020
Salcedo.000021-000021
Salcedo.000849-000850
Salcedo.000023-000023
Salcedo.000024-000024
Salcedo.000864-000865
Salcedo.000022-000022
                                     Plaintiff’s Response to Defendant’s First Request for Documents
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      As discovery is ongoing, Plaintiff reserves the right to supplement these
responses.

Respectfully submitted on this 16th day of October 2020.


                                                   TRIQUETRA LAW ®


                                              _________________________
                                              Sharon R. López, Esquire
                                              PA Attorney ID 70605
                                              The Offices at Marion Court
                                              35 East Orange Street, Suite 301
                                              Lancaster, PA 17601
                                              T: (717) 299-6300 F: (717) 299-6338
                                              Lopez@TriquetraLaw.com




                                    Plaintiff’s Response to Defendant’s First Request for Documents
                                                   Salcedo v The Milton S. Hershey Medical Center,
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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                         :
Pablo A. Salcedo,                        :        Civil Action No. 19-cv-2201
                    Plaintiff,           :
       v.                                :            Before the Honorable
                                         :                Yvette Kane
The Milton S. Hershey Medical            :
Center,                                  :            Jury Trial Demanded
                  Defendant.             :
                                         ;

                             CERTIFICATE OF SERVICE

       I, Sharon R. López, hereby certify that on this date, a true and correct copy
of the foregoing has been served via electronic mail to:

Nancy Conrad, Esq.
White and Williams, LLP
3701 Corporate Parkway, Suite 300
Center Valley, PA 18034-8233
(610) 782-4957
ConradN@WhiteandWilliams.com
Attorney for Defendant

                                       TRIQUETRA LAW ®
                                       Respectfully submitted,
Dated: October 16, 2020
                                       ___________________________
                                       Sharon R. López, PA ID 70605
                                       35 East Orange Street, Suite 301
                                       Lancaster, PA 17602
                                       T: (717) 299-6300 F: (717) 299-6338
                                       Lopez@TriquetraLaw.com
                                       Counsel for Pablo A. Salcedo
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    EXHIBIT 3
Case 1:19-cv-02201-YK Document 35-1 Filed 03/18/22 Page 34 of 164
                                                           EXHIBIT 3




                          Deposition of:
                     Pablo A. Salcedo
                       December 1, 2021


                         In the Matter of:

      Salcedo, Pablo A. Vs. The Milton S.
           Hershey Medical Center




                    Veritext Legal Solutions
                  800.233.2441 | svs@veritext.com |
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                                                                       Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 2
          PABLO A. SALCEDO                         ) No. 1:19-cv-02201
 3                      Plaintiff                  )
                                                   )
 4                 vs.                             )
                                                   )
 5        THE MILTON HERSHEY MEDICAL               )
          CENTER                                   )
 6                      Defendant                  )
 7
 8               VIDEOTAPED DEPOSITION OF PABLO SALCEDO
 9                      Taken via Zoom on Wednesday, December
10        1, 2021, commencing at 9:57 a.m., by Leandra M.
11        Stoudt, RPR, CBC, CCP, CRR, Notary Public and
12        Shelby Stotler, Videographer
13
14        APPEARANCES:
15               TRIQUETRA LAW
                 BY: Sharon Lopez, Esq.
16               35 East Orange Street, Suite 301
                 Lancaster, PA 17602
17               717-299-6300
                 Lopez@triquetralaw.com
18               -- For the Plaintiff
19
20
21
22
23
24
25

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 2                                                           3   EXHIBITS: DESCRIPTION                        PAGE
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 3        WHITE AND WILLIAMS LLP                                          Request 8/28/17
          BY: Nancy Conrad, Esq.                             5
                                                                 Exhibit 17   Email170
 4        3701 Corporate Parkway, Suite 300                  6
          Center Valley, PA 18034                                Exhibit 18   Text message thread             172
                                                             7
 5        610-782-4909                                           Exhibit 20   10/30/17 reminder            173
          conradn@whiteandwilliams.com                       8
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 6         -- For the Defendant                              9
 7                                                               Exhibit 24   CCC Milestone Review181
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 8                                                               Exhibit 25   Exhibit 12/6/17183
 9    ALSO PRESENT:                                         11
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10       Shelby Stotler, Videograper                        12
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11       Nicole A. Swallow, M.D.                            13
12                                                               Exhibit 28   Return to work clearance          201
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13                                                               Exhibit 29   Notes Dr. Batz              205
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                                                                 Exhibit 30   Return to work Sullivan           207
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24                                                          23             INDEX TO REQUESTS
                                                            24   Page 118 / Line 22; Page 192 / Line 8;
25                                                          25   Page 235 / Line 17

                                                   Page 3                                                                      Page 5
 1             INDEX TO WITNESS                              1                (It is stipulated by and between
 2                                                           2      counsel for the respective parties that all
 3    WITNESSPAGE                                            3      objections except as to the form of the question
 4    PABLO A. SALCEDO                                       4      are reserved until the time of trial.)
 5    By Ms. Conrad 6                                        5               MS. LOPEZ: Since we have all the
 6                                                           6      exhibits, I won't need those, but I will need a TXT
 7               INDEX TO EXHIBITS                           7      file or an ASCII file just so I can download it.
 8    (Exhibits not in custody of reporter.)                 8      And then maybe original and condensed.
 9    EXHIBIT: DESCRIPTION                       PAGE        9               THE VIDEOGRAPHER: We are now on the
10    Exhibit 1 EEOC Charge                   17
                                                            10      record. This begins videotape number 1 and the
11    Exhibit 2 Federal Complaint             53
                                                            11      deposition of Pablo A. Salcedo in the matter of --
12    Exhibit 3 Plaintiff's responses to      101
                                                            12      excuse me -- of Salcedo, Pablo A. versus The Milton
               Defendant's first request for
                                                            13      S. Hershey Medical Center. Today is Wednesday,
13             responses to interrogatories
                                                            14      December 1st, and the time is 10:22 a.m.
14    Exhibit 4 Resident agreement form          129
                                                            15               This deposition is being taken
15    Exhibit 5 Resident Agreement form yr 2-4 134
16    Exhibit 6 Email Dr. Kogut 6/27/17          135        16      remotely via Zoom. The videographer is Shelby
17    Exhibit 7 Form to get cleared to work 145             17      Stotler of Veritext Legal Solutions and the court
18    Exhibit 8 Treatment notes Michelle Batz 146           18      reporter is Leandra Stoudt of Veritext Legal
19    Exhibit 9 Treatment plan               151            19      Solutions.
20    Exhibit 10 Faculty evaluation form         151        20               Will counsel and all parties present
21    Exhibit 11 Email exchange with Hundertmark153         21      state their appearances and whom they represent?
22    Exhibit 13 Email158                                   22               MS. LOPEZ: Sharon Lopez for the
23    Exhibit 14 Treatment note Britt Marshall 159          23      Plaintiff, Pablo Sal -- Dr. Pablo Salcedo.
24                                                          24               MS. CONRAD: Good morning. Nancy
25                                                          25      Conrad for The Milton S. Hershey Medical Center.

                                                                                                                      2 (Pages 2 - 5)
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                                                      Page 6                                                        Page 8
 1    And with me today is Dr. Swallow from the medical         1   by your attorney in this action?
 2    center.                                                   2   A.         To the best of my knowledge.
 3              THE VIDEOGRAPHER: Will the court                3   Q.         During the course of this deposition,
 4    reporter please swear in the witness.                     4   I will be asking you a series of questions. If at
 5              THE REPORTER: The attorneys                     5   any time you do not understand my question, please
 6    participating in this deposition acknowledge that I       6   let me know and I will rephrase it.
 7    am not physically in the present -- in the                7            If you answer the question then, I
 8    deposition room and that I will be reporting this         8   will presume that -- that you understand what --
 9    deposition remotely. They further acknowledge             9   the information that I am seeking.
10    that, in lieu of an oath administered in person, I       10            If at any time during the deposition
11    will administer the oath remotely. The parties and       11   you want to take a break, we certainly will
12    their counsel consent to this arrangement and waive      12   accommodate that request. I ask, though, that you
13    any objections to this manner of reporting.              13   complete any question that is pending prior to the
14              Mr. Salcedo, could you please raise            14   break.
15    your right hand?                                         15            And even though we are sitting in
16                 PABLO SALCEDO, having been duly             16   separate rooms and not in the usual setting that a
17    sworn, was examined and testified as follow:             17   deposition take place, I want to remind you that
18                 THE REPORTER: Thank you.                    18   the same rules apply, in that you are to answer
19                     ***                                     19   truthfully, as you are under oath. And that there
20                  EXAMINATION                                20   is no coaching or consulting permitted with respect
21    BY MS. CONRAD:                                           21   to the questions that are presented to you.
22    Q.         Good morning, Dr. Salcedo. My name is         22            I want to let you know that we
23    Nancy Conrad, and as you are aware, I represent The      23   received late last night and this morning some
24    Hershey Medical Center in this lawsuit that you          24   supplemental documents from your counsel. In light
25    filed against it.                                        25   of that late production, I have reserved the right
                                                      Page 7                                                        Page 9
 1             We are here today to take your                   1   to recall you to a second day of a deposition.
 2    deposition. And we're taking that deposition              2   With that in mind, we will determine how best to
 3    pursuant to a notice that was issued with respect         3   proceed; that is, if we get to late afternoon
 4    to the deposition.                                        4   knowing that there will be a second day, we may
 5             Did you receive a copy of that notice?           5   confer and decide to conclude at a certain point in
 6    A.        I -- I believe so. I can't see the              6   time based on the second day of deposition.
 7    actual notice in front of me.                             7             MS. LOPEZ: Counsel, I'd like to just
 8    Q.        All right. Well, I'm not marking it             8   put on the record clearly that I do object to that
 9    as an exhibit.                                            9   and that my client is prepared to spend extra time,
10             And did you bring any documents, per            10   if that is what is required, to cover those extra
11    the notice, that have not been produced in               11   documents that were disclosed yesterday and today.
12    discovery to date?                                       12   I just want to make sure that that's clearly stated
13    A.        No, I have not.                                13   on the record.
14    Q.        Have you ever been deposed before,             14             MS. CONRAD: I understand your
15    Dr. Salcedo?                                             15   position. I have not had the opportunity to review
16    A.        No, I have not.                                16   those documents and may not be in a position to ---
17    Q.        And did you not bring documents                17   to get to them today. And it is not my intent to
18    because there are no other documents, or because         18   stay late into the evening hours just to complete
19    you have not yet had the opportunity to produce          19   the deposition when we have additional time for
20    such documents?                                          20   discovery.
21    A.        Because there are no other documents,          21   BY MS. CONRAD:
22    and I was instructed that -- not to bring any            22   Q.         Dr. Salcedo, do you have any medical
23    documents.                                               23   condition or are you on any medications that will
24    Q.        And is it your testimony that all              24   affect your ability to testify today?
25    documents pursuant to this case have been produced       25   A.         No, I don't have any conditions or

                                                                                                        3 (Pages 6 - 9)
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                                                      Page 10                                                       Page 12
 1    take any medications that would impact my ability          1   question, but because we are on video, I would
 2    to be deposed today.                                       2   request that you not nod your head, because that
 3    Q.         And, Dr. Salcedo, did you prepare at            3   then is a way of communicating with your client.
 4    all for today's deposition?                                4   And it is his testimony that I seek today.
 5    A.         Yes, I did.                                     5            MS. LOPEZ: I understand.
 6    Q.         How did you prepare?                            6            MS. CONRAD: Thank you.
 7    A.         I reviewed timelines I created as well          7   BY MS. CONRAD:
 8    as all the documents that I had in my possession,          8   Q.        And that brings another good point,
 9    that I received from the medical center, including         9   Dr. Salcedo. Because we have a court reporter
10    Dr. Swallow. And I also reviewed this material            10   present and she will be reporting your every word,
11    with my attorney, Sharon.                                 11   it's important that you respond using words and
12    Q.         The exchange that you had with your            12   avoid head nods or other hand gestures in order for
13    counsel is privileged, and I will not be asking you       13   us to have a complete record. Do you understand
14    about those exchanges. But I do want to ask you a         14   that instruction?
15    few follow up questions about the documents.              15   A.        Yes.
16              What timelines are you referring to?            16   Q.        Dr. Salcedo, are you currently
17    A.         Basically, my -- my recollection of            17   employed?
18    the events that --                                        18   A.        Yes.
19              MS. LOPEZ: Counsel -- counsel, just             19   Q.        With whom?
20    so you know, the -- just those timelines were             20   A.        Booz Allen Hamilton.
21    attorney/client communications.                           21   Q.        What is your position?
22              MS. CONRAD: They are not now. If he             22   A.        Advanced health scientist.
23    reviewed them in preparation for this deposition, I       23   Q.        And what are your primary job duties
24    have the right to review them.                            24   and responsibilities?
25              MS. LOPEZ: I -- I disagree. I                   25   A.        Oh, I serve as a research scientist
                                                      Page 11                                                       Page 13
 1    disagree. She -- he -- he provided those to me in          1   and -- and a subject matter expert. I oversee
 2    preparation for this deposition. You have some of          2   clinical trials at various hospitals throughout the
 3    the timelines already that he did provide to you           3   country.
 4    that were created in -- before he filed this               4   Q.         When did you start that employment?
 5    lawsuit. But there were communications to counsel          5   A.         September through October of 2019.
 6    that were not disclosed to counsel and are                 6   Q.         What are -- is your annual salary?
 7    protected and were not requested during -- during          7   A.         $115,000.
 8    the deposition process -- during the discovery             8   Q.         Have you been evaluated in that
 9    process.                                                   9   position?
10    BY MS. CONRAD:                                            10   A.         Yes.
11    Q.         Dr. Salcedo, how many timelines do you         11   Q.         And what is the overall level of the
12    possess?                                                  12   evaluation?
13    A.         It's just one. It's just my                    13   A.         Exceeds expectations. I'm currently
14    recollection of the events as they unfolded at the        14   leading a research department on my own. So I've
15    medical center, and that's what I've discussed with       15   been highly referred and recognized at my company.
16    my attorney.                                              16   I received a few awards already. So doing well
17    Q.         Just to make clear, you testified that         17   there.
18    you have a document that you reviewed that is a           18   Q.         And did you request accommodations in
19    timeline, correct?                                        19   order to do your job duties and responsibilities?
20    A.         That I created, yes.                           20   A.         Yes, I did.
21    Q.         And has that timeline been produced in         21   Q.         What accommodations did you request?
22    this -- in discovery in this matter?                      22   A.         So when I initially started at Booz
23    A.         At this moment, I don't know.                  23   Allen Hamilton, as I do whenever I start a new
24              MS. CONRAD: And, Attorney Lopez, I              24   position, I sought out accommodations. But because
25    understand that you may know the answer to that           25   of the nature of my position, the combination team

                                                                                                      4 (Pages 10 - 13)
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                                                   Page 14                                                     Page 16
 1    at Booz Allen Hamilton felt that I was okay with my     1   Q.         In any other capacity?
 2    current work structure.                                 2   A.         I did attend a fellowship, a training
 3             I'm currently working 40 hours a week,         3   fellowship, but that was unpaid. That was a
 4    so I have ample time for self-care, ample time to       4   scholarly activity.
 5    see my providers, and there were no need -- there       5   Q.         And with whom did you engage in that
 6    was not any need for additional accommodations.         6   training fellowship?
 7    Q.         How did you seek those accommodations        7   A.         The name is Flatiron School. It's a
 8    that you originally requested?                          8   -- based out of Wash -- out of Washington D.C.
 9    A.         I went to my direct manager,                 9   It's a data science program for advanced degree
10    supervisor and asked them about the process. They      10   professionals.
11    referred me to H -- HR. There's actually a             11   Q.         And did you receive an advanced
12    specific -- actually -- there's actually a specific    12   degree?
13    team at Booz Allen Hamilton. It's a rather company     13   A.         Yes.
14    that handles accommodations, so they have their own    14   Q.         What degree?
15    department with accommodations, and I was connected    15   A.         M.D.
16    with that department.                                  16   Q.         And that was after you left Hershey?
17    Q.         Did you submit any documentation with       17   A.         Yes.
18    respect to the request for accommodations?             18   Q.         I want to focus just for a moment with
19    A.         No.                                         19   respect to Hershey Medical Center.
20    Q.         How did you then communicate your           20             Did you have an agreement with Hershey
21    request for an accommodation?                          21   Medical Center with respect to your residency?
22    A.         Verbal conversations on the phone and       22   A.         I -- I did have a resident agreement
23    email.                                                 23   that I signed prior to starting.
24    Q.         And what information was contained in       24   Q.         And prior to starting or at the time
25    the email with respect to the accommodations?          25   of starting, did attend an orientation session with
                                                   Page 15                                                     Page 17
 1    A.        Just that I suffer from chronic major     1       respect to your residency program?
 2    depression and generalized anxiety, and I wanted to 2       A.        Yes.
 3    see what the company offered for people with        3       Q.        What information, if any, do you
 4    disabilities and what the accommodation process     4       recall was covered during that orientation?
 5    was.                                                5       A.        I believe it was largely
 6    Q.        Did you request any specific              6       administrative in nature, sort of expectations,
 7    accommodation?                                      7       where things were located. We were given tours.
 8    A.        No. I just initiated the process and      8       Sort of met our colleagues. I believe there were
 9    the conversation. It ended up being that because    9       team building workshops and activities of that
10    of the project I'm on currently, both myself and   10       such. Yep.
11    the accommodation department felt that I was       11       Q.        Did you receive any documents during
12    adequately addressed and didn't need               12       that orientation?
13    accommodations.                                    13       A.        I believe I received that resident
14    Q.        And who did you speak with in regards 14          agreement as well as maybe some IT forms to get
15    to this exchange?                                  15       badged and photographed and things like that.
16    A.        I would have to refer to that -- that    16       Q.        Did you receive any information with
17    information. I don't know the name off the top of 17        respect to policies of Hershey Medical Center that
18    my head.                                           18       applied to residents?
19    Q.        But you would have that in an email,     19       A.        Yes.
20    correct?                                           20       Q.        What policies did you receive or
21    A.        Yes.                                     21       obtain access to?
22    Q.        Other than the employment position       22       A.        I received a short document that was
23    that you just described, have you held any other   23       entitled -- I believe it was for residents, first
24    positions since leaving Hershey Medical Center? 24          years and had some brief policies on expectations
25    A.        As an employee, no.                      25       of basically PGY-1, so it was directed at

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                                                   Page 18                                                        Page 20
 1    first-year residents. I remember getting that           1   to?
 2    during orientation.                                     2   A.        Dr. Swallow and the three chief
 3    Q.         Did you receive any -- or did you            3   residents.
 4    receive information about any other policies that       4   Q.        When did you inform Dr. Swallow of
 5    applied to residents?                                   5   your need for an accommodation?
 6    A.         It's possible. But those policies            6   A.        So I met with Dr. Swallow late August
 7    that I just mentioned are the ones that come to my      7   of 2017, around August 30th.
 8    mind right now.                                         8   Q.        What information did you provide to
 9    Q.         Did you receive any information from         9   Dr. Swallow on August 30th, 2017 about your need
10    human resources about policies that applied to         10   for an accommodation?
11    residents?                                             11   A.        I provided her two documents, two
12    A.         No, not that I can recall.                  12   separate documents. The first document I provided
13    Q.         Dr. Salcedo, have you received copies       13   her was the accommodation request form provided by
14    of the exhibits for today's deposition?                14   HR that I had started to fill out, as well as a --
15    A.         Yes, ma'am.                                 15   a note from my psychiatrist, Dr. Munoz, requesting
16    Q.         I'd like to direct your attention to        16   accommodations. So two documents.
17    Exhibit 1.                                             17   Q.        Dr. Salcedo, are you looking at any
18              (Exhibit 1 was marked.)                      18   documents as you testify today?
19    BY MS. CONRAD:                                         19   A.        The exhibits, I have them on an
20    Q.         Are you familiar with this document?        20   external monitor.
21    A.         Yes.                                        21   Q.        Are you look -- in addition to the
22    Q.         What is it?                                 22   exhibit, you appear to be looking down at
23    A.         That is the charge of discrimination        23   something. Is there an additional document or
24    with the Equal Employment Opportunity Commission       24   monitor or screen that you're looking at?
25    that I filed.                                          25   A.        No. I have anxiety, so I have a
                                                   Page 19                                                        Page 21
 1    Q.        And is that your signature on the         1       fidget spinner just to help me get through. That's
 2    signature block at the bottom of the first page?    2       what's down there.
 3    A.        Yes.                                      3       Q.        Thank you for that clarification.
 4    Q.        And what is the date of -- that you       4                What information, if any, did you tell
 5    signed this document?                               5       the three chiefs about your need for an
 6    A.        September 5th, 2018.                      6       accommodation?
 7    Q.        And you declare, under penalty of         7       A.        I also disclosed to them that I suffer
 8    perjury, that the information is true and correct,  8       from chronic major depression and generalized
 9    don't you?                                          9       anxiety, and I -- I wanted accommodations and I
10    A.        Yes.                                     10       wanted to see what could be provided from the
11    Q.        And is the information contained in      11       medical center. So we did have a discussion on
12    this document, throughout this document true and 12         things that could be implemented, and they included
13    correct?                                           13       sit down rounds with physicians, meeting attendings
14    A.        Yes. I'm just scrolling down because     14       prior to the rotations to set expectations and
15    there's multiple pages. I don't want to see every  15       goals, and quiet spaces to do work.
16    document I'm commenting on.                        16       Q.        Dr. Salcedo, could you take your
17    Q.        I want to direct your attention to the   17       screen for a broader view so we can see what --
18    second page of the exhibit.                        18       what is in front of you?
19             Number 3, it says, I informed the         19       A.        You mean turn my computer around.
20    hospital of my need for an accommodation.          20       Q.        I mean give us a broader view. So,
21             Do you see that statement?                21       for example, right now, you -- you can see my
22    A.        Yes.                                     22       yellow legal pad that I'm working on. I would like
23    Q.        Who do you mean when you say hospital? 23         you to lower the view so I can see what is in front
24    A.        Penn State Hershey Medical Center.       24       of you. Thank you.
25    Q.        What person, in any, are you referring   25       A.        Okay.

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                                                    Page 22                                                    Page 24
 1    Q.        When did you meet with the three               1   you're asking me the questions.
 2    chiefs?                                                  2   Q.        I -- we'll try, but I don't want to
 3    A.        Around August 25th, 2017. August 24th          3   --
 4    or 25th.                                                 4   A.        Okay. If you can. It's just a little
 5    Q.        And who are the three chiefs that you          5   distracting.
 6    met with?                                                6            Could you please repeat the question?
 7    A.        It would be Dr. James Kogut, Dr. Sim           7   Q.        Who suggested the accommodation of
 8    Bedi, and Dr. Britt Marshall.                            8   seeing your healthcare provider monthly?
 9    Q.        In number 4, you state, I asked for an         9   A.        Oh, I'd say that was -- that was my
10    accommodation as soon as I started my internship.       10   comment and that I -- that the chief residents know
11    And that my accommodation requests were deemed          11   it was a priority for me.
12    reasonable by the chief resident.                       12   Q.        Were there any emails or documents
13             Do you see that allegation?                    13   existing about this discussion that you had with
14    A.        Yes.                                          14   the chiefs?
15    Q.        Who are you referring to when you say,        15   A.        There were a few. There's one in
16    the requests were deemed reasonable?                    16   which I reached out to the chief residents to
17    A.        Mainly Dr. Britt Marshall and Dr.             17   schedule this meeting. I am the one that initiated
18    James Kogt.                                             18   it and requested it. There's also a follow-up
19    Q.        And what, if anything, did they say to        19   email by myself thanking the resident -- I mean the
20    you that led you to the belief that they were           20   chief resident for their time and for listening to
21    deemed reasonable?                                      21   my requests for accommodations.
22    A.        They provided reassurance, which              22   Q.        Were there any emails from the chiefs
23    included nodding and yeses. And they continued to       23   about this meeting?
24    engage in the conversation by providing alternative     24   A.        There was a response from Dr. James
25    methods of accommodation. So there was a dialogue.      25   Kogut, but that was prior to the meeting, just
                                                    Page 23                                                    Page 25
 1    Q.         And who -- who suggested the quiet            1   confirming the meeting.
 2    space to do notes?                                       2   Q.        And approximately when was this
 3    A.         Dr. Britt Marshall.                           3   meeting held?
 4    Q.         Who suggested meeting with colleagues         4   A.        August 25th, 2018.
 5    in advance?                                              5   Q.        How do you remember that date?
 6    A.         I believe I started that suggestion,          6   A.        It was the first time that I had
 7    and then it -- we just kind of snowballed it into        7   disclosed my disability to the program. It was
 8    the full meeting with the new attendings prior to        8   very hard for me. I was making myself very
 9    each rotation to set expectations and goals. So,         9   vulnerable, especially given the stigma that
10    again, it was a discussion. It wasn't like I had a      10   existed in medical education. But I knew it was
11    list of accommodations prepared.                        11   what I needed to do for myself. So there's a lot
12    Q.         You had a list prepared?                     12   of emotional tie into that event.
13    A.         I said it was not as if I had a list.        13   Q.        Under paragraph 5 of the EEOC charge,
14    So no, I did not.                                       14   you state that, in the second sentence, you started
15    Q.         You did not have a list?                     15   filling out accommodation paperwork. Do you see
16    A.         No.                                          16   that --
17    Q.         Who made the suggestion about sit-down       17   A.        Yes.
18    rounds?                                                 18   Q.        -- statement?
19    A.         It could either have been Dr. Britt          19   A.        Yes.
20    Marshall or Dr. James Kogut.                            20   Q.        What accommodation paperwork are you
21    Q.         And who made the suggestion about the        21   referring to?
22    ability to see your healthcare provider monthly?        22   A.        I had reached out to human resources
23    A.         Just, I guess, one comment. Is there         23   prior to meeting with Dr. Swallow to get the
24    any way we can have the video just be on you?           24   accommodation request form. My therapist and my
25    Because I've been looking at Dr. Swallow while          25   mental health care provider suggested that I obtain

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 1    that form. So I had it emailed to me from Penn             1   via Google search. But the initial request form
 2    State Hershey Medical Center HR.                           2   came up from my therapist during that meeting we
 3    Q.         How did you know to go to HR about an           3   had.
 4    accommodation request?                                     4   Q.        Your therapist suggested to you that
 5    A.         Again, it was suggested to me by my             5   there was a form that you needed to complete?
 6    mental health providers. So they're the ones that          6   A.        Yes.
 7    prompted me to obtain that form.                           7   Q.        And you then searched on Google where
 8    Q.         What medical health providers told you          8   to obtain that format at Hershey Medical Center?
 9    to go to HR?                                               9   A.        Yes.
10    A.         So, again -- you want specific names?          10   Q.        Did you -- did your Google search lead
11    I'll give the names. Michelle Batz. She is my             11   you to any policies at Hershey Medical Center that
12    therapist while I was at Penn State Hershey Medical       12   discussed the accommodation process?
13    Center. And I cannot definitively say she said go         13   A.        No, not that I can recall. It had --
14    to HR, but she did say that there was a form that I       14   no.
15    should get to request those accommodation.                15   Q.        Did you search the Hershey Medical
16    Q.         Well, then how did you know to go to           16   Center site for any policies that related to a
17    HR to get that form?                                      17   request for an accommodation?
18    A.         I'm recalling most likely Google and           18   A.        I don't believe so. I believe once I
19    trying to refer to how do I get this accommodation        19   found the form and the point of contact at human
20    -- I Goggled what the accommodation form is,              20   resources, I went with that route.
21    because I never had to actually use that form. And        21   Q.        Again, the question is: How did you
22    it somehow landed me to the Penn State human              22   find the point of contact?
23    resource site. And I remember finding a contact           23            MS. LOPEZ: Objection. Asked and
24    there and I emailed them. So I never met them in          24   answered.
25    person.                                                   25   BY MS. CONRAD:
                                                      Page 27                                                     Page 29
 1    Q.        All right. So what did you Google?               1   Q.         Your answer is -- so if I Google right
 2    A.        Accommodation request form.                      2   now accommodation request form, that would lead me
 3    Q.        And after you put in accommodation               3   to Hershey Medical Center human resources?
 4    request form, the response was to go to the human          4             MS. LOPEZ: Objection. Argumentative.
 5    resources department at Penn State health?                 5             MS. CONRAD: It is not argumentative.
 6    A.        No, I can't recall with 100 percent              6   Q.         You may answer the question.
 7    the pathway that led me from my Google search to           7   A.         it's -- It's possible. I'm not sure
 8    getting in touch with human resources. I just know         8   what -- what Google would return. What I'm saying
 9    that's how I initiated the process.                        9   is that I did a Google search after getting advice
10    Q.        Did somebody tell you to go to HR?              10   to obtain accommodation request form from my
11    A.        No. I would say no one directly said            11   therapist, and that led me to the path of
12    to go to HR, but HR was a department that would           12   contacting HR to get that accommodation request
13    have had the accommodation request form.                  13   form. The details in between, I can't 100 percent
14    Q.        How did you know that?                          14   tell you those details. That was just a Google
15             MS. LOPEZ: Objection. Asked and                  15   search.
16    answered.                                                 16   Q.         So is it your testimony that you do
17    A.        I don't understand the question.                17   not know the path that you took to get to -- that
18             MS. LOPEZ: Objection. Asked and                  18   led you to sending the email to HR to request the
19    answered. You can ask --                                  19   form?
20    BY MS. CONRAD:                                            20             MS. LOPEZ: Objection. Misstates
21    Q.        How did you know that HR at Hershey             21   testimony.
22    Medical Center would have the accommodation request       22   A.         I do not.
23    form?                                                     23   BY MS. CONRAD:
24    A.        So there's two possibilities, one               24   Q.         Do you know the path you followed to
25    being my therapist and one being I found it online        25   get to -- prior to sending the email to HR?

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 1             MS. LOPEZ: Objection. Asked and             1   I just remember her name.
 2    answered.                                            2   Q.        Did you have any conversations with
 3    Q.         You may answer again.                     3   her?
 4    A.         Yes, I'll -- I'll try to be more          4   A.        Out -- outside of email, No.
 5    direct with it because I might ne missing            5   Q.        Did you ask her about the process to
 6    something. But my therapist said, there's an         6   submit the claim -- the accommodation request form?
 7    accommodation request form that you should get       7   A.        I -- I let her know that I was a -- a
 8    filled out. So I Googled to find that form. And I    8   resident starting out at Penn State with a
 9    found the contact information for HR, and I          9   disability, and I was looking for this form so that
10    requested that form from HR.                        10   I could get accommodations. I was just trying to
11             The exact page or browser history or       11   get the form.
12    technical pathway that led me to that I cannot      12   Q.        Did you ask her, once you received the
13    comment on.                                         13   form, to whom you should submit the form?
14    Q.         And that's what I'm having a hard time   14   A.        No.
15    understanding.                                      15   Q.        Did you review an HR policy to find
16             I'm trying to understand: What was         16   out, once you obtained the form, to whom it should
17    the search terms you used on Google that led you to 17   be submitted?
18    contact information for HR?                         18            MS. LOPEZ: Objection. Asked and
19             MS. LOPEZ: Asked and answered.             19   answered.
20    BY MS. CONRAD:                                      20   Q.        You may answer again.
21    Q.         You may answer again.                    21   A.        I read the directions and instructions
22    A.         I -- I -- I can't tell you the exact     22   on the form.
23    search terms. I just know that I found the form, I 23    Q.        And did that tell you to whom the form
24    contacted HR, and I got the appropriate forms.      24   should be submitted once it was completed?
25    Q.         Well, if you found the form, why did     25   A.        It did. However, I was given
                                                 Page 31                                                      Page 33
 1    you have to contact HR for the form?                 1   different instruction on how to complete the form
 2    A.        I found where the form could be found.     2   by my direct supervisor, Dr. Swallow.
 3    I didn't have the form online, so I found where the 3    Q.        What information was contained on the
 4    form would be located. I misspoke.                   4   form about its submission?
 5    Q.        And who did you reach out to in HR?        5   A.        It would be helpful -- do you have the
 6             MS. LOPEZ: Objection. Asked and             6   form that you can show me? I don't know it from
 7    answered.                                            7   memory.
 8    BY MS. CONRAD:                                       8   Q.        Well, I'm asking you what you
 9    Q.        What is the name of the person you         9   remember.
10    reached out to in HR?                               10            You said that there was information on
11             MS. LOPEZ: Objection. Asked and            11   the form about to whom it should be submitted. And
12    answered.                                           12   I'm asking you: What information was on the form?
13    BY MS. CONRAD:                                      13   a.       Sure. Okay. The form included, I
14    Q.        You may answer again.                     14   believe, four or five sections. One section was
15    A.        I believe it was a Miss Henderhook.       15   preliminary information about me:my name, my ID
16    Q.        Who?                                      16   number, contact information. There was a section
17    A.        A Miss Henderhook or Miss Barbara         17   for your healthcare provider. I believe there was
18    Henderhook. I might be mispronouncing the name. 18       a section for Dr. Swallow to complete. And then
19    That's who I had the email communications with. 19       there was a final section for whoever was receiving
20    Q.        How do you remember her name sitting 20        this request, to comment on and fax back to HR.
21    here today?                                         21   Q.        So what information was on the form
22    A.        Because she is who I had the email        22   about -- after it was completed, where it was to be
23    conversation with about the request forms. There 23      submitted?
24    -- there was a hiccup where they sent them to me, 24              MS. LOPEZ: Objection. Asked and
25    but I didn't get them, and she had to resend them. 25    answered.

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 1    Q.         You may answer.                             1            To whom did Dr. Munoz submit the
 2    A.         I -- I shared what I recalled from the      2   August 28th, 2017 letter? Whom did he physically
 3    form.                                                  3   give it to or send it to?
 4    Q.         Turning to the next page of the EEOC        4            MS. LOPEZ: Objection. Asked and
 5    charge. The second sentence says, on August 28th,      5   answered.
 6    2017, my doctor submitted the first in a series of     6            MS. CONRAD: I'm just trying to
 7    letters/requests for accommodations.                   7   clarify.
 8              Do you see that allegation?                  8   Q.         Was -- did Dr. Munoz give that August
 9    A.         Yes.                                        9   28, 2017 letter to you?
10    Q.         To whom are you referring to when you      10   A.         Yes.
11    say, my doctor?                                       11   Q.         Now, Doctor, the third or fourth
12    A.         Dr. Frank Munoz.                           12   sentence, you -- there's an allegation that you
13    Q.         And when you say, my doctor submitted      13   were told they were, quote, working on it.
14    the first in a series of letters/requests for         14            Do you see that allegation?
15    accommodations, to whom did Mr. Munoz submit those    15   A.         Yes.
16    letters?                                              16   Q.         Who is the "they" you are referring
17    A.         Dr. Nicole Swallow.                        17   to?
18    Q.         How did Dr. Munoz know to submit them      18   A.         Dr. Nicole Swallow.
19    to Dr. Swallow?                                       19   Q.         Anyone else?
20              MS. LOPEZ: Objection. Calls for             20   A.         Dr. Nicole Swallow.
21    speculation.                                          21   Q.         So why didn't you use the word "she"
22    Q.         Do you know how Dr. -- did you inform      22   instead of "they"?
23    -- provide any information to Dr. Munoz about to      23   A.         I believe when I submitted this
24    whom to submit the form?                              24   complaint, I was referring to the hospital as one
25    A.         Did the second form, Dr. Swallow           25   entity and Dr. Swallow as that person of the
                                                  Page 35                                                       Page 37
 1    herself reached out to Dr. Frank Munoz via             1   entity. So that's just a semantic. Could have
 2    telephone.                                             2   been a she.
 3    Q.          I'm talking about the August 28, 2017      3   Q.         The last sentence of that paragraph
 4    reference.                                             4   makes reference to your doctor putting you on med
 5    A.          Okay. So for the August 28th, that         5   -- medication. Do you see that allegation?
 6    was a handwritten letter that I delivered to           6   A.         Yes.
 7    Dr. Swallow on our August 30th meeting.                7   Q.         What doctor are you referring to
 8    Q.          So Dr. Munoz didn't submit the August      8   there?
 9    28, 2017 letter to Dr. Swallow, correct?               9   A.         Dr. Frank Munoz.
10    A.          Yes. It wasn't addressed to her, but      10   Q.         What medication?
11    it was to my direct supervisor and the person in      11   A.         Restoril.
12    change of my scheduling and accommodations.           12   Q.         And what side effect?
13    Q.          I'm asking: Who did Dr. Munoz hand        13   A.         Retrograde amnesia.
14    the October 28, 2017 letter to.                       14   Q.         Tell and me about what occurred with
15               MS. LOPEZ: Objection. Asked and            15   respect to that side effect.
16    answered.                                             16   A.         Okay. To the best of my recollection,
17               MS. CONRAD: He just answered it.           17   because given the nature of the side effect being
18    It's -- it was submitted to him.                      18   amnesia, I don't remember a lot. But I do recall
19    A.          Yeah, to Dr. --                           19   that I woke up early in the morning and I went to
20    Q.          Is that correct, Dr. Salcedo?             20   the grocery store for some reason. And I was also
21    A.          It was written for Dr. Swallow, and I     21   supposed to take my step 3 exam that day. And I
22    delivered it to Dr. Swallow on our August 30th        22   recall that my roommate drove me to take that exam.
23    meeting.                                              23   I don't remember taking the exam.
24    Q.          Listen to my question, please, and        24            I do remember having some double
25    please answer my question.                            25   vision and some blurriness in my vision. But the

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 1    main side effect was retrograde amnesia. I don't    1        that was Dr. Britt Marshall. And I also saw a PA,
 2    recall a lot of what happened.                      2        or physician assistant, a Timothy Sullivan during
 3    Q.         Do you recall that you were driving      3        that time, as requested by Dr. Swallow. She had
 4    your car and -- and there was -- and a dent in it   4        specifically asked that I get seen by someone that
 5    that -- on it that you couldn't explain?            5        worked for the hospital rather than my own
 6    A.         Yeah, I recall that there was a          6        physician choosing.
 7    scraping on the bottom of my car, most likely from 7         Q.         Anyone else? Any other medical
 8    a curb. And from the parking lot. But, again, I     8        providers?
 9    don't remember what happened that day in more       9        A.         And my therapist, Michelle Batz.
10    detail.                                            10        Q.         Did you return to the medical center
11    Q.         And what was the outcome of the exam 11           after your medical leave?
12    that you took?                                     12        A.         Yes.
13    A.         I failed.                               13        Q.         And did your physicians provide any
14    Q.         And did you have any meetings at the    14        type of certification about your ability to return?
15    hospital with respect to this incident?            15        A.         Under -- I believe that the return to
16    A.         Yes. With Dr. Swallow.                  16        work letters, they were very brief and it just
17    Q.         And what was the outcome of those       17        said, fit for duty and able to return to work.
18    meetings?                                          18        Q.         Was it your testimony that --
19    A.         Right after this amnestic episode,      19        A.         And that I would --
20    Dr. Swallow put me on a medical leave of absence. 20         Q.         -- Dr. Munoz, Marshall, Sullivan, Batz
21    And I believe on the 14th, I had a follow-up       21        all submitted return to work certifications?
22    meeting with her to return to service. And it was 22         A.         No. I -- I -- I thought you asked me
23    during that meeting that we discussed my condition 23        what was in the return.
24    and remediation and stuff.                         24        Q.         No. Who submitted return to work
25             So it was a follow-up meeting shortly     25        certifications following your medical leave in
                                                    Page 39                                                        Page 41
 1    after the event and then a return to service             1   December of 2017?
 2    meeting on December 14th, 2017.                          2   A.         Michelle Bats, Frank Munoz, and
 3    Q.         During that meeting with Dr. Swallow,         3   Timothy Sullivan.
 4    in conjunction with the medical leave and return,        4   Q.         And did those return to work
 5    did you have any discussions about accommodations?       5   certifications reference any of the accommodations
 6    A.         Yes.                                          6   you were seeking?
 7    Q.         And what was the nature of those              7   A.         No. Those -- those letters were
 8    conversations?                                           8   purely just to be able to return to work. They
 9    A.         I told Dr. Swallow that I was still           9   were not to address accommodations.
10    struggling, that my health was deteriorating. I         10   Q.         Did you need accommodations in order
11    was not getting enough sleep. And that was one of       11   to return to work?
12    the reasons I had been placed on this medication,       12   A.         I needed accommodations, but those
13    to try to help the sleep.                               13   were already being discussed with Dr. Swallow.
14             We also discussed -- I was requested           14   Those weren't the point of those letters.
15    of by Dr. Swallow to make an emergency mental           15   Q.         Okay. Well, returning to work
16    health plan during that meeting. She wanted me to       16   following a medical leave, did you ask your medical
17    talk about what my disability was and how I would       17   providers to address those accommodation requests
18    address my disability independently or on my own,       18   in that return to work certification?
19    and I had to submit that as a requirement to            19   A.         No. I did -- I did not see how that
20    returning to service.                                   20   -- if the return to work certification -- no. I
21    Q.         And who were your physicians that you        21   was already discussing the accommodation with
22    were seeing in December of 2017 during your medical     22   Dr. Swallow. She already had a notification from
23    leave?                                                  23   my psychiatrist. And since Dr. Swallow was still
24    A.         Aside from Dr. Frank Munoz, who is my        24   engaging with me in discussions, I reasonably
25    psychiatrist, I had a primary care provider, and        25   included she was still working on them.

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                                                     Page 42                                                    Page 44
 1    Q.         Well, you just had a side effect from          1   Q.        You then say, and the on-call resident
 2    a medication that caused you amnesia, along with          2   took over.
 3    other reactions; you were placed on a medical             3            Do you see that statement?
 4    leave; you're seeking to return to work, yet are          4   A.        Yes.
 5    you telling me you didn't ask your physicians to          5   Q.        And who was that on-call resident?
 6    address your accommodations in your return to work?       6   A.        I'm confident it was Dr. Renuca Rudra,
 7             MS. LOPEZ: Objection. Asked and                  7   but I'm not 100 percent confident.
 8    answered.                                                 8   Q.        Can you spell the name, please?
 9    Q.         Did you ask your physicians to address         9   A.        R-E-N-U-K-A, R-U-D-R-A.
10    your need for accommodations in conjunction with         10   Q.        And, again, I presume you're looking
11    your return to work after your medical leave?            11   at the screen with the exhibit?
12             MS. LOPEZ: Objection. Asked and                 12   A.        Yeah. I just have an external
13    answered.                                                13   monitor.
14    Q.         You may answer again.                         14   Q.        Okay. So this setback occurred while
15    A.         I was given specific instruction by           15   you were working in your capacity as a resident;
16    Dr. Swallow to get a letter saying that I was fit        16   is that correct?
17    to return for duty, so I followed those                  17   A.        Yes.
18    instructions and I obtained letters that stated          18   Q.        And describe for me what shift you
19    exactly that.                                            19   were on.
20    Q.         That's not my question.                       20   A.        I was on Hershey Medical Center wards
21             Did you ask your physicians to address          21   or floors, so that's just the internal medicine
22    your need for accommodations in your -- in their         22   teaching team.
23    certifications related to your return to work?           23   Q.        And what happened while you were on
24             MS. LOPEZ: Objection. Asked and                 24   the wards on February 24th that led to the on-call
25    answered.                                                25   resident having to take over?
                                                     Page 43                                                    Page 45
 1    Q.         You may answer again.                          1   A.         I requested that I -- I be removed
 2    A.         In those letters, no, because both             2   from service, so I had contacted Dr. Kogut to let
 3    myself and my treating providers were under the           3   him know if we could meet, and I -- I let him know
 4    assumption -- you can refer to my treatment notes         4   I wanted to remove myself from service.
 5    -- that the -- Dr. Swallow was still working on           5   Q.         Why did you want to remove yourself
 6    accommodations. So if we believe that                     6   from service?
 7    accommodations were being worked on at that time,         7   A.         Because I was feeling very depressed,
 8    why -- we would not include that in the letter for        8   very anxious. And throughout my time at the
 9    fitness to return to duty.                                9   medical center, I was able to compartmentalize my
10    Q.         In the same paragraph, there is a             10   suffering and my chronic disregulation. But it got
11    sentence that you had an acute setback on February       11   to a point of being so sleep deprived and
12    24, 2018. Do you see that reference? We're still         12   disregulated that I -- I no longer felt comfortable
13    -- we are on the fourth page, still under -- the         13   working.
14    page starts, feedback, Dr. Swallow placed me on a        14            And I think that was my turning point
15    remediation program. That paragraph.                     15   where I said, well, something has to give. I'm
16    A.         Okay.                                         16   still waiting for accommodations. Nothing is being
17    Q.         And there's a sentence there, I               17   implemented. And I no longer feel like I can work
18    suffered an acute setback on February 24, 2018.          18   unaccommodated. So I reached out to Dr. James
19              Do you see that sentence?                      19   kogut, so I did a fact -- I'm the one who pulled
20    A.         Yes.                                          20   myself out of service that day.
21    Q.         Describe the setback that you are             21   Q.         On February 24th, what time did you
22    referencing in this document.                            22   start service that day?
23    A.         I -- I was experiencing worsening             23   A.         It would be around 6:30 a.m.
24    depression and anxiety, secondary to chronic             24   Q.         And at what point in time did you
25    disregulation.                                           25   suffer the acute setback that led to the on-call

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                                                      Page 46                                                        Page 48
 1    resident taking over?                                      1   patients?
 2    A.         So when -- for depression and anxiety,          2   A.         Yes.
 3    it's not so much that's something like a switch            3   Q.         You make reference in that paragraph
 4    that you turn on and off. So, again, this was a            4   about a remediation program. Can you describe for
 5    buildup of chronically suffering and -- and not            5   me the remediation program that you're describing
 6    having those accommodations. So it was just -- it          6   -- or that you reference in that paragraph?
 7    was worsening, and that was just the turning point         7   A.         The remediation program was the
 8    where I just said enough was enough.                       8   program that Dr. Swallow placed me on December
 9    Q.         I'm asking: After you started on --             9   14th, 2017. And there were a couple components to
10    at 6:30 a.m., at what point in time did you have          10   that remediation. One included Dr. Swallow
11    this setback that led the on call resident to take        11   reaching out to check in with me frequently.
12    over?                                                     12            Another one included me having a
13    A.         I -- my response was that there was            13   couple clinical vignette scenarios with attendings,
14    not a point in time because it's a continuum. It's        14   like three or four. I believe three.
15    symptomatology that continued to fluctuated and           15            One included having a meeting with
16    worsens, but there was a point in time where I            16   Dr. Ami Dewaters to review my notes, my patient
17    recognized that enough was enough and I wanted to         17   progress notes.
18    remove myself from service. But I think you're --         18            And another component, another
19    you're asking for, like, a -- 7 a.m. I said, oh no,       19   remediation included surprise visits from someone
20    this is really bad, but that's not how my                 20   from the program. They would just come and watch
21    disability works.                                         21   me work.
22    Q.         At some point in time the resident             22            There might be a couple other things
23    took over -- or the on-call resident took over, as        23   that were on that letter, but those are the main
24    you set forth in this document. My question is:           24   parts of the remediation program.
25    What time did the on-call resident take over?             25   Q.         You state that you successfully
                                                      Page 47                                                        Page 49
 1    A.        Okay. That -- all right. You asked a             1   completed the remediation. Do you see that
 2    different question before.                                 2   statement?
 3    Q.        Well, you had a setback -- you have a            3   A.        Yes.
 4    setback and the on-call resident takes over. So            4   Q.        What does that mean?
 5    what time did the setback occur and what time did          5   A.        That I fulfilled all my duties and
 6    the on-call resident take over?                            6   requirements for the remediation, attending those
 7             MS. LOPEZ: Objection. Compound                    7   meetings. And I fulfill my -- my -- my duties as
 8    question.                                                  8   part of the remediation. I completed it.
 9    Q.        Or give me the two separate times.               9   Q.        So -- so did you successfully complete
10    A.        Sure. So I had the discussion with              10   that remediation program without any accommodations
11    Dr. James Kogut around noon, give or take. And            11   in place?
12    after I explained to Dr. Kogut that I wanted to           12   A.        Yes. But I -- I would note that this
13    remove myself from service because of my worsening        13   remediation program was separate from my clinical
14    symptoms, he said that was fine, that would call          14   duties. They occurred during the day that I was
15    the risk resident. So that's the resident that            15   working, but they were not connected in the sense
16    comes to replace another resident should the              16   of my clinical responsibilities.
17    emergency arise, and he asked me to wait in the           17   Q.        Were you complete -- had you
18    resident conference room until my replacement came.       18   successfully completed your clinical duties up
19             So I went -- waited. It -- it wasn't             19   until February 24, 2018?
20    a long wait, maybe 30 minutes. And then once she          20   A.        Yes.
21    was there, then I was dismissed.                          21   Q.        And you successfully completed your
22    Q.        And about what time was that?                   22   clinical duties without accommodation?
23    A.        Currently after noon, after 1 p.m.              23   A.        Yes.
24    Q.        So during the time period of 6 a.m. to          24   Q.        You then make reference to another
25    12 noon when you called Dr. Kogut, were you seeing        25   leave of absence; is that correct?

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 1    A.         Yes.                                           1   problems. Do you see that?
 2    Q.         And when was the leave of absence?             2   A.         Yes.
 3    A.         So I -- it started essentially when I          3   Q.         And language difficulties?
 4    took myself off of service on February 24th, 2018         4   A.         Yes.
 5    and I -- I believe it was supposed to be for two          5   Q.         Does the termination letter reference
 6    weeks, but ultimately, it kept getting -- kept            6   or specifically state there was an issue with
 7    getting extended and extended by the program, even        7   language difficulties?
 8    though I didn't request it. So basically, from            8            MS. LOPEZ: Objection. Compound
 9    February 24th up until my termination.                    9   question and ambiguous.
10    Q.         Now, at or about the same time, was           10   Q.         Does the termination letter use the
11    there a mid-year review that all residents were          11   words language difficulties?
12    completing?                                              12   A.         I -- I don't have it listed in quotes
13             MS. LOPEZ: Objection. Calls for                 13   without, so seeing the letter in front of me, I
14    speculation.                                             14   don't want to definitively say if those two words
15    Q.         You may answer the question.                  15   were used. But I -- I would assume the
16    A.         Not that I was aware of at the time.          16   communication is done via language.
17    Q.         Were you aware of any mid-year review         17   Q.         I'm not asking about your assumptions.
18    that would take place with respect to your               18   I'm asking about what is in the letter.
19    first-year residency?                                    19   A.         Okay. It might be helpful to pull up
20    A.         I believe -- I believe I had knowledge        20   the letter, but without seeing the letter in front
21    of a review occurred mid-year, but I didn't have         21   of me, I can't tell you such detail.
22    any -- was never communicated with me any details        22   Q.         And we'll get to that in the
23    of that review, who -- who did it, what it was           23   deposition.
24    composed of. So I really can't answer about that         24            Turning to the next page. In that
25    review.                                                  25   paragraph, you make a statement about the second
                                                     Page 51                                                       Page 53
 1    Q.         You then make reference to a                   1   sentence, I believe, Dr. Swallow clearly had a bias
 2    termination letter that was dated March 6th, 2018.        2   against me because of my disability.
 3    Do you see that?                                          3            Do you see that statement?
 4    A.         Said '18. Sorry. I was reading the             4   A.        Yes.
 5    wrong part. Are you talking about the first line          5   Q.        What led you to form the belief that
 6    on March 19th I met with Dr. Swallow?                     6   Dr. Swallow clearly had a bias against you because
 7    Q.         Correct.                                       7   of your disability?
 8    A.         Okay.                                          8   A.        I would say the first event that
 9    Q.         Did you receive a termination letter           9   cemented that was when I returned to her office on
10    on March 19th when you met with Dr. Swallow and Dr.      10   December 14th, 2017 to discuss the amnestic event
11    Ghahramani?                                              11   and accommodations, but I was in the same meeting,
12    A.         Yes.                                          12   minutes apart, also put on a remediation that
13    Q.         And you referenced certain items that         13   seemed very punitive. That's -- that was my first
14    are included in that termination letter, don't you?      14   flag, red flag.
15    A.         Yes.                                          15   Q.        What led you to connect the
16    Q.         Was patient safety referenced in the          16   remediation with a bias because of disability?
17    termination letter?                                      17   A.        The fact that remediation form and the
18    A.         I believe so, yes.                            18   mental health form were given to me at the same
19    Q.         You have in quotes, disappearing              19   time. They were handed to me at the same time,
20    during shifts. Was that included in the                  20   discussed at the same time in the same meeting. It
21    termination letter?                                      21   was apparent that my disability was being
22    A.         Yes. That -- that accusation was in           22   interwoven into my clinical performance by
23    the termination letter.                                  23   Dr. Swallow.
24    Q.         In the next paragraph, you reference          24   Q.        What mental health form are you
25    that the termination letter stated communications        25   referring to?

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 1    A.       I believe it was titled confidential             1   reporter.)
 2    follow-up, and that's the form -- document where          2   BY MS. CONRAD:
 3    I'm asked to make a mental health emergency plan          3   Q.        Dr. Salcedo, what, if any, changes
 4    by Dr. Swallow.                                           4   were you referencing in that prior testimony?
 5    Q.       Did you object to preparing an                   5            MS. LOPEZ: Objection. Asked and
 6    emergency plan?                                           6   answered.
 7    A.       No. I followed the direction of my               7   Q.        You may answer the question.
 8    supervisor.                                               8   A.        If -- if you scroll your attention
 9    Q.       And the request for the emergency plan           9   down to paragraph 90. So I believe that date,
10    followed the event -- the amnesia event, didn't it?      10   February 27th, is actually February 26th.
11    A.       Yes.                                            11   Dr. Swallow called my treating psychiatrist after I
12    Q.       Let me direct your attention to                 12   met with her on the 26th. So it was the same day.
13    Exhibit 2, the federal complaint.                        13   Q.        Any other changes?
14            (Exhibit 2 was marked.)                          14   A.        Not that I see at the moment. That --
15    BY MS. CONRAD:                                           15   that was the main change.
16    Q.       Are you familiar with this document?            16   Q.        I want to direct your attention to
17    A.       Yes.                                            17   paragraph 15.
18    Q.       I -- I'm sorry. I didn't hear your              18            Paragraph 15, you allege that
19    answer.                                                  19   Dr. Swallow was removed as program director
20    A.       Yes, I am familiar with this document.          20   following Dr. Salcedo's termination.
21    Q.       What is it?                                     21            What is the basis for your allegation
22    A.       The federal complaint I submitted.              22   that Dr. Swallow was removed?
23    Q.       And are the factual allegations                 23   A.        I believe she changed positions. And
24    contained in this complaint true and correct?            24   on -- again, on Google, she was no longer the
25    A.       To the best of my knowledge, yes.               25   program director after I -- I was terminated,
                                                     Page 55                                                    Page 57
 1    Some things may have changed as more information          1   shortly after, the following year.
 2    was brought to light during discovery that may need       2   Q.         Dr. Salcedo, you used the word
 3    -- like specific dates, of that nature. But for           3   removed. On what do you base your allegation that
 4    the most part, to my knowledge, it's accurate and         4   she was removed as program director?
 5    true.                                                     5   A.         I guess the wording could be changed
 6    Q.           And did you review this complaint to         6   to she was no longer the program director.
 7    verify the factual allegations prior to it being          7   Q.         May I direct your attention to
 8    filed?                                                    8   paragraph 45 of the complaint?
 9    A.           Yes.                                         9            Paragraph 45, you make reference to
10    Q.           And sitting here today, can you point       10   obligations that were contained in the resident
11    out to me any additions or changes since the filing      11   agreement. Do you see that reference?
12    of the complaint?                                        12   A.         Yes.
13               MS. LOPEZ: Objection. Ambiguous.              13   Q.         Did the resident agreement provide any
14               MS. CONRAD: Well, he just testified           14   obligations with respect to you that -- if you were
15    that there may have been some changes after              15   obligated to do certain things?
16    reviewing discovery. I'm asking, what changes, if        16   A.         Yes.
17    any, he was referencing.                                 17   Q.         What obligations were required of you
18               MS. LOPEZ: What changes he would make         18   per the resident agreement?
19    or what changes he discovered during discovery?          19   A.         I believe they -- they included
20    It's -- it's very unclear what you're asking.            20   fulfilling your clinical duties. There were
21               MS. CONRAD: Okay. Could you go back           21   actually quite a few sections, a lot of them were
22    and -- and read his testimony, please, about the         22   administrative, so it would help if we had that
23    some things may have changed?                            23   document. They included, like, disclosing criminal
24               THE REPORTER: Yes.                            24   -- criminal activity, drug use, things like that.
25               (The record was read back by the court        25   So that would be helpful to have that document to

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 1    actually comment on it.                                   1   and that I was looking forward to implementing what
 2    Q.         We'll get to that later in the day.            2   we discussed during the meeting.
 3             I want to direct your attention now to           3   Q.        Implement what the chiefs had
 4    paragraph 47.                                             4   suggested?
 5             In paragraph 47, you testified that              5           MS. LOPEZ: Objection. Argumentative.
 6    you requested reasonable accommodations from the          6   Q.        Were you -- were you looking forward
 7    three chief residents. Do you see that allegation?        7   to implementing the suggestions from the chiefs?
 8    A.         Yes.                                           8   A.        The suggestions that we discussed and
 9    Q.         Is it true that you requested those            9   agreed upon, I think, was a collaborative
10    accommodations, or is it that the residents made         10   discussion. But I had just said, implement what he
11    suggestion -- the chiefs made suggestions?               11   had discussed. I didn't use the word --
12             MS. LOPEZ: Objection.                           12   Q.        I'm asking you what you meant by that.
13    Mischaracterized testimony.                              13           Did you mean that you were looking
14    A.         Those -- those are both accurate              14   forward to implementing the chiefs' suggestions?
15    statements. I requested accommodations and,              15   A.        Yes.
16    subsequently the chief resident suggested                16   Q.        Paragraph 48, you state that you
17    accommodations.                                          17   requested permission for four items. Do you see
18    Q.         What did the chiefs suggest?                  18   that?
19             MS. LOPEZ: Objection. Asked and                 19   A.        Yes.
20    answered.                                                20   Q.        To whom did you make this request?
21    Q.         You may answer.                               21   A.        The chief residents.
22    A.         The chiefs suggested sit-down rounds,         22   Q.        I thought these were the items that
23    a quiet space to work, and being able to establish       23   the chief suggested to you?
24    relationship with attending physicians prior to          24   A.        Yes, I think they were suggestion that
25    rotations.                                               25   were agreed upon. So it was a discussion. It was
                                                     Page 59                                                       Page 61
 1    Q.         What did you request?                          1   not a -- a yes, no one-way conversation in the
 2    A.         Again, my intent in that meeting was           2   sense that he said, well, these are things we can
 3    to let the chief residents know that I wanted             3   do, and I said yes, sit-down rounds would be great,
 4    accommodations and to find out what accommodations        4   meeting with my colleagues in advance would be
 5    could be offered. So I didn't explicitly request a        5   great. So I confirmed, reinforced those
 6    -- a specific accommodation during that meeting.          6   suggestions so that they were --
 7    Q.         Did you use --                                 7   Q.         If they had suggested them, why did
 8    A.         (inaudible/overlapping) --                     8   you request permission from them?
 9    Q.         -- the word, accommodations, in that           9            MS. LOPEZ: Objection. Misstates
10    meeting with the chiefs?                                 10   testimony.
11    A.         Yes.                                          11   Q.         Why did you request permission for the
12    Q.         Excuse me?                                    12   suggestions that the chiefs had provided to you?
13    A.         Yes.                                          13   A.         Well, ultimately, they are the ones in
14    Q.         Are there any documents that reflect          14   control of the accommodations and my schedule. So
15    that you said to the chiefs, I am requesting             15   if they were going to be implemented, it would be
16    accommodations and I need to know what                   16   through the program leadership, not myself.
17    accommodations can be offered?                           17   Q.         Did you need the chiefs' permission to
18    A.         No. That was a conversation.                  18   have a quiet space in which to take notes?
19    Q.         Are there documents, including emails,        19   A.         To avoid any potential punitive
20    following the meeting that you had with the chiefs?      20   actions, I believe so.
21    A.         Yes.                                          21   Q.         So is the answer to that question yes,
22             MS. LOPEZ: Objection. Ambiguous.                22   you needed the chiefS' permission for a quiet space
23    Q.         What documents?                               23   in which to take notes?
24    A.         There's an email following the meeting        24   A.         I needed approval.
25    in which, I think, Dr. Kobut for his time and --         25   Q.         From who?

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                                                     Page 62                                                   Page 64
 1    A.         The chief residents.                           1   Q.         And what was their response?
 2    Q.         And so you asked for the chiefs to             2             MS. LOPEZ: Objection. Asked and
 3    approve a quiet space for you to take notes?              3   answered.
 4             MS. LOPEZ: Objection. Asked and                  4   Q.         You may answer.
 5    answered.                                                 5   A.         They were amenable to -- to the
 6             ms. Conrad: Well, he's using                     6   request.
 7    permission, approval. I'm trying to figure out            7   Q.         What does that mean?
 8    what he was seeking and what he -- what information       8   A.         They didn't see it -- the request as
 9    he obtained from the chiefs.                              9   being problematic and that it would be helpful. I
10             MS. LOPEZ: I think he's provided you            10   left that meeting --
11    with an explanation of his conversation of the           11   Q.         Sir, did you go forward with these
12    chiefs. If you want him to describe that                 12   four suggestions from the chief?
13    conversation, you know, in some other way, then you      13   A.         I followed up, but ultimately, those
14    have to ask the question in a different way. He's        14   -- those needed to be implemented from leadership,
15    answered this question.                                  15   not me. I don't have that power to put
16    BY MS. CONRAD:                                           16   accommodations into place.
17    Q.         Just so I understand, you asked               17   Q.         Did you have the power to find a quiet
18    Dr. Kogut, Dr. Beti, and Dr. Marshall for                18   space in which to take notes?
19    permission for a quiet space in which to take            19             MS. LOPEZ: Objection. Ambiguous.
20    notes; is that correct?                                  20   And, also, asked and answered.
21    A.         I discussed with them the potential           21             MS. CONRAD: No, I'm using his exact
22    accommodation, such as having a quiet place to take      22   words to ask a new question.
23    notes. But I didn't exact -- I didn't specifically       23   Q.         Did you have the power to find a quiet
24    use the words, may I have a quiet space to -- in         24   space in which to take notes?
25    which to take notes, if that's what you're trying        25             MS. LOPEZ: Objection. Asked and
                                                     Page 63                                                   Page 65
 1    to infer.                                                 1   answered. He's already testified, counsel, that
 2    Q.         Dr. Salcedo, I'm trying to find out            2   he's not in charge of the accommodations, that the
 3    whether or not paragraph 48 is a true statement or        3   chiefs are the ones who are making decisions and
 4    -- or not.                                                4   that he was concerned that there could be some sort
 5    A.         Yeah, it's a true statement. I                 5   of ramification. He's testified about this
 6    requested these things after having the discussion        6   broadly.
 7    with the chief residents, the permission where it         7            MS. CONRAD: I'm asking a different
 8    may make it vague, but nonetheless is an accurate         8   question.
 9    statement.                                                9   BY MS. CONRAD:
10    Q.         Did you or did you not ask for                10   Q.        Did you have the power to find a quiet
11    permission --                                            11   space in which to take notes?
12              MS. LOPEZ: Objection --                        12            MS. LOPEZ: Objection. Ambiguous.
13    Q.         -- from -- permission from these four         13   Q.        You may answer the question.
14    items?                                                   14   A.        As I needed accommodation, no, I did
15              MS. LOPEZ: Objection. Asked and                15   not have the power.
16    answered. He just explained what --                      16   Q.        You did not have the power to find a
17              MS. LOPEZ: He hasn't answered the              17   quiet space to have notes?
18    question.                                                18   A.        As a designated accommodation.
19              MS. LOPEZ: -- permission means to              19   Q.        I'm not asking about an accommodation,
20    him. He just explained what permission means.            20   because the chiefs will talk about, in their
21    Multiple times.                                          21   depositions, what took place in this meeting. I am
22    BY MS. CONRAD:                                           22   asking a separate question.
23    Q.         You asked for approval from them? Is          23            Did you have the power to find a quiet
24    that your testimony?                                     24   space in which to take notes?
25    A.         Yes.                                          25            MS. LOPEZ: Objection. Ambiguous.

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                                                 Page 66                                                       Page 68
 1    What do you mean by power?                            1   year of residency, were you able to find a quiet
 2             MS. CONRAD: He -- it's his word. So          2   space in which to take notes?
 3    he can answer the question.                           3            MS. LOPEZ: Calls for speculation.
 4             THE WITNESS: So I don't have the             4            MS. CONRAD: He --
 5    power to have listed as an accommodation a quiet      5   Q.        Dr. Salcedo, please answer the
 6    space in which to take notes so that I don't -- I     6   question, even if you have to speculate.
 7    am not punished in the future. I don't have that      7   A.        I don't want to speculate. And I
 8    power.                                                8   don't really understand the question. I feel like
 9    Q.        Dr. Salcedo, I am not asking you about      9   I answered it multiple times and multiple ways.
10    accommodations. Let me ask you it -- it              10   That -- I'm just confused now.
11    differently.                                         11   Q.        Okay. Here's a simple question.
12    A.        I'm sorry. You are. You're asking          12            At any time during your residency, did
13    about the quiet space to which to take notes.        13   you find a quiet space to take notes?
14    That's an accommodation.                             14   A.        During my residency, it was customary
15    Q.        Dr. Salcedo, did you have the ability      15   for everyone to work together in a work group. And
16    to find a quiet space in which to take notes?        16   that's where I would work.
17             MS. LOPEZ: Objection. Asked and             17   Q.        So is the answer to the question you
18    answered.                                            18   could not find a quiet space to take notes?
19             MS. CONRAD: It's a different                19   A.        No. The answer is that because I did
20    question.                                            20   not have approval from leadership to do so, I did
21             MS. LOPEZ: This was asked a long time       21   not just disappear from my team. I stuck with the
22    ago. Ten minutes ago.                                22   team in the work group.
23    BY MS. CONRAD:                                       23   Q.        I'm not asking about disappearing.
24    Q.        Dr. Salcedo, you may answer the            24            Is -- did you need approval to go to a
25    question.                                            25   quiet space to take notes?
                                                 Page 67                                                       Page 69
 1    A.        I did not have the power to find a          1             MS. LOPEZ: Asked and answered. You
 2    quiet space in which to take notes without            2   can answer if you can.
 3    guarantee, without having penalization or being       3   A.         To ensure no negative consequences,
 4    sure I wouldn't be penalized for it. I think          4   yes, I did need approval for -- for -- to be able
 5    that's important distinction. It sounds like          5   to go somewhere in a quiet space away from the
 6    you're trying to infer that I could just grab a       6   team. If I did so without approval, I would risk
 7    random empty room and started taking notes. That      7   ramifications.
 8    would not have been an accommodation.                 8   Q.         Did you ever have time to work on
 9    Q.        I'm not asking about accommodations.        9   charts or notes by yourself or were you always with
10    I'm asking about note-taking.                        10   a team?
11             Is it your testimony you were not in a      11             MS. LOPEZ: Objection. Vague.
12    position to find a quiet space in which to take      12   A.         I was usually with the team in -- in
13    notes?                                               13   the team room where we took notes. Also, I can't
14             MS. LOPEZ: Asked and answered.              14   really take notes anywhere. The computer with the
15             MS. CONRAD: I'm not asking about            15   MR system, they're a computer in designated areas,
16    power. I'm not asking about ability.                 16   so those are the work areas.
17             MS. LOPEZ: You asked if he --               17   Q.         During your residency, did you meet
18             MS. CONRAD: Let me ask the -- a new         18   with colleagues in advance as described in 48B?
19    question.                                            19   A.         To the best of my ability, I -- I
20    BY MS. CONRAD:                                       20   tried to meet with some of them beforehand,
21    Q.        During your residency, were you able       21   especially attendings that I had already
22    to find a quiet space in which to take notes?        22   established a relationship with and that I felt
23             MS. LOPEZ: Objection. Ambiguous.            23   comfortable sharing and disclosing with. And that
24    What time period are you talking about?              24   I didn't think I would be penalized or stigmatized
25    Q.        At any point in time during your first     25   by sharing.

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                                                     Page 70                                                        Page 72
 1    Q.         And did you request to meet with         1         was a follow-up email. There actually was not a
 2    colleagues in advance?                              2         meeting; there was a follow-up email.
 3    A.         Are we still talking about the August    3         Q.        And what information was contained in
 4    25th meeting or in general?                         4         the follow-up email?
 5    Q.         I'm talking about your allegation in     5         A.        It was just me being polite,
 6    48B.                                                6         expressing gratitude for their time and saying that
 7    A.         Yes.                                     7         I was looking forward to implementing all of the
 8    Q.         Did you request to meet with             8         things we discussed during our meetings, such as
 9    colleagues in advance?                              9         what we already talked about here today, the
10    A.         Yes.                                    10         sit-down rounds, quiet space to work, meeting
11    Q.         And did you meet with them in advance? 11          colleagues and attendings beforehand, and setting
12             MS. LOPEZ: Objection. Vague.              12         expectations.
13    Q.         Dr. Salcedo, you just said that you     13         Q.        Paragraph 54, you allege you went to
14    requested to meet with colleagues in advance. Do I 14         your treating psychiatrist and secured a written
15    have that right?                                   15         letter. Do you see that allegation?
16    A.         Yes.                                    16         A.        Yes.
17    Q.         And the follow-up question is: After    17         Q.        What do you mean by the word you
18    you made that request, did you meet with them in 18           secured a written letter?
19    advance?                                           19         A.        I obtained.
20    A.         When I was able to. But it was not in   20         Q.        And two specific requests. Do you see
21    the form of an accommodation; it was a form of me 21          that?
22    taking additional risk of disclosing my condition 22          A.        Yes.
23    and my need to various colleagues and leaders.     23         Q.        Did you make those requests to
24    Q.         Did you engage in sit -- were you able  24         Dr. Munoz?
25    to sit during rounds?                              25         A.        So when I met with Dr. Munoz, we had
                                                     Page 71                                                        Page 73
 1    A.        It depended on the attending's                  1   -- again, it was an interactive discussion. And we
 2    preference. But I do recall one particular                2   discussed what my triggers were and what would be
 3    attending that I did disclose to and we did utilize       3   best accommodation-wise to help me with my
 4    sit-down rounds.                                          4   disability. And we ultimately decided on -- on
 5    Q.        And did you meet with your healthcare           5   these two -- two, but these were -- these two
 6    provider monthly?                                         6   items, but these -- the wording of these two items
 7    A.        Yes.                                            7   are his words, not mine.
 8    Q.        You then state in paragraph 50 that on          8   Q.         Who decided on these two specific
 9    august 19th, you contacted the medical center human       9   requests?
10    resource office and requested the paperwork. Do          10            MS. LOPEZ: Objection. Asked and
11    you see that?                                            11   answered.
12    A.        Yes.                                           12   A.         We both did.
13    Q.        Did you provide that paperwork to the          13   Q.         You may answer.
14    chief residents whom you had met with about these        14   A.         It's an interactive process of
15    specific requests -- suggestions?                        15   discussion with my treatment provider, and these
16    A.        No.                                            16   are the two items that we ultimately agreed upon.
17    Q.        Paragraph 53, you make reference to            17   But he actually wrote this letter and those are his
18    meeting with Dr. Kogut to discussion your previous       18   words.
19    requests for accommodation. Do you see that              19   Q.         Understood.
20    allegation?                                              20            What is meant by less stressful
21    A.        Yes.                                           21   rotation When's possible?
22    Q.        Tell me about what happened in that            22            MS. LOPEZ: Objection. Calls for
23    meeting with Dr. Kogut.                                  23   speculation.
24    A.        And so this number 53 is also an item          24   Q.         Dr. Salcedo, you just decided that
25    that we would need to date. It should be -- there        25   both you and Dr. Munoz decided on these two

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 1    specific requests for accommodations.                     1   preliminary intern, my requirements were less
 2             So my question is: What did you mean             2   stringent and more modifiable than a regular
 3    by less stressful rotations when possible?                3   internal medicine resident.
 4    A.        So in that statement, the intent was            4            So I recall that I had printed out an
 5    to convey the need for rotations, if possible, that       5   ACGME form that showed what the minimum
 6    weren't erratic and that were more structured in          6   requirements for myself, as a PGY-1 preliminary
 7    the sense of hour-wise, duty-wise, predictability,        7   intern was, and shared that with Dr. Swallow to
 8    rather than having a random shift on a weekend day        8   demonstrate that there was flexibility in my
 9    and -- and it just being random, or working 80            9   schedule, because it showed that I did not need as
10    hours a week overnight rather than during the day.       10   many of certain types of rotations. So there was
11    So that statement is to address the predictability       11   more room to accommodate and modify the schedule.
12    and the consistency of my schedule.                      12   Q.         What certain types of rotations did
13    Q.        What rotation, if any, were you being          13   you conclude were not needed?
14    -- were -- were you seeking to be excused from any       14            MS. LOPEZ: Objection. That -- that
15    specific rotations?                                      15   misstates the testimony. That's not what we said.
16    A.        I wouldn't say I was seeking to be             16   BY MS. CONRAD:
17    excused from specific rotations I could name, but I      17   Q.         I believe you said, and I tried to
18    did ask to be considered for rotations that, again,      18   write it down, that you did not need certain types
19    had more predictable schedules and that would allow      19   of rotations. Is that correct, Dr. Salcedo?
20    me to have self-care that I needed.                      20   A.         No. Let me rephrase to the -- the
21    Q.        So what rotations were you seeking?            21   amount, quantity of the types of rotations was
22             MS. LOPEZ: Objection. Asked                     22   different. So perhaps a regular PGY-1 might need
23    answered.                                                23   six months of floors, while a PGY-1 -- oh, I don't
24    Q.        What specific rotations were you               24   want you -- these are hypotheticals, so never mind
25    seeking?                                                 25   -- I don't want you to quote me.
                                                     Page 75                                                     Page 77
 1    A.        Again, I -- I don't have a name for             1           They were just less rigorous. The --
 2    the rotation being that I was just starting there.        2   the requirements were less rigorous and there was
 3    I don't know what the rotations were like or which        3   more flexibility in the schedule and in
 4    are the less stressful rotations. Those are               4   Dr. Swallow's ability to accommodate me. So the
 5    something that my program director or leadership          5   whole point of me bringing that up to her and
 6    would have to engage in a discussion with me to           6   giving her documentation was to remind her and let
 7    discuss. So that this is to initiate that                 7   her know. It was, again, another ask for help.
 8    discussion so we can find out what those rotations        8   Q.        Number 2 says, assignments to
 9    are.                                                      9   rotations which allow for adequate sleep and time
10             But the point here is, what are those           10   off on weekend when possible.
11    rotations and if I can be assigned to them.              11           Do you see that?
12    Q.        Were certain rotations required as             12   A.        Yes.
13    part of your first-year residency program?               13   Q.        What rotations were you seeking that
14             MS. LOPEZ: Objection. Calls for                 14   allowed for adequate time -- adequate sleep and
15    speculation and ambiguous.                               15   time off on weekend?
16             MS. CONRAD: It does not. He receives            16   A.        It's almost as though you asked --
17    information about what's required.                       17   that question you just asked me is essentially what
18    Q.        Were there certain rotations required          18   we're asking Dr. Swallow: What are the options?
19    during that first-year program?                          19   What are the rotations that can allow me to sleep
20    A.        Yes.                                           20   better? You're the program director. Please
21    Q.        What were those rotations that were            21   inform us and let us know what can be done.
22    required?                                                22           So this statement is asking for that.
23    A.        There -- there's a document we have            23   But as an intern and as a psychiatrist, we don't
24    that has what the requirements are. I can only           24   know that information. That's why we're seeking
25    comment on the fact that because I was a                 25   Dr. Swallow's help.

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                                                   Page 78                                                      Page 80
 1    Q.        Did you know whether or not such              1   the question, that is permissible. Please follow
 2    requests were available --                              2   the Rules of Civil Procedure.
 3             MS. LOPEZ: Objection --                        3            MS. LOPEZ: And I am following the
 4    Q.        -- in conjunction with the                    4   Rules of Civil Procedure. And the objections
 5    requirements of your program?                           5   provided for include asked and answered, ambiguous,
 6             MS. LOPEZ: Objection. Asked and                6   calls for speculation, and misstates testimony, as
 7    answered.                                               7   well as compound questions, and you are asking the
 8    Q.        You can answer.                               8   same question over and over and over again.
 9    A.        You said if I was aware that such             9            MS. CONRAD: Attorney Lopez, this is a
10    requests were available. I don't -- I don't            10   deposition. We are not at trial. At deposition,
11    understand.                                            11   there is one objection, to the form of the
12    Q.        You had certain program requirements,        12   question, and perhaps an objection with related to
13    didn't you?                                            13   privileged material.
14    A.        Yes.                                         14            MS. LOPEZ: Well --
15    Q.        Do you know whether there was the type       15            MS. CONRAD: Now, let's go on with the
16    of flexibility and less rigor within those program     16   deposition and save your objections for trial.
17    requirements that you were seeking?                    17            MS. LOPEZ: You're -- you know, what
18             MS. LOPEZ: Objection. Asked and               18   you need to know is that it is required and
19    answered.                                              19   actually appropriate to state what the form of the
20    Q.        You can answer again.                        20   question objection is so that you have an
21    A.        Yes, I -- that was -- that was the           21   opportunity to cure the question. I'm not leading
22    whole intent of showing that, even though I'm          22   the -- the witness. I'm not, you know, giving any
23    assuming -- or, I mean, I would assume that the        23   kind of additional hints. I am providing an
24    program director should have knowledge of that. Me     24   objection so you can rephrase the question or
25    giving her the documentation from ACGME was just to    25   understand why I believe there's a problem with the
                                                   Page 79                                                      Page 81
 1    reinforce that those options were there.                1   question. It's completely appropriate.
 2    Q.        I'm not asking about what the program         2           MS. CONRAD: You can just object to
 3    director had in her possession. I'm asking about        3   the form of the question. I don't need the
 4    whether or not you had knowledge and information        4   additional information.
 5    that certain accommodations could be met while          5           MS. LOPEZ: I --
 6    still meeting the program requirements?                 6   BY MS. CONRAD:
 7             MS. LOPEZ: Objection. Asked and                7   Q.        Dr. Salcedo, can you --
 8    answered.                                               8           MS. LOPEZ: I need to put it on the
 9             MS. CONRAD: He can simply answer yes           9   record.
10    or no.                                                 10   Q.        Dr. Salcedo, do you know whether or
11    A.        Can you repeat the question?                 11   not these two specific requests for accommodation
12    Q.        Do you know whether you would be in a        12   were possible while still meeting the program
13    position to complete the program requirements in       13   requirements?
14    conjunction with these two specific requests that      14   A.        To the best of my knowledge, yes.
15    are listed in paragraph 54?                            15   Q.        In paragraph 55, you allege that you
16             MS. LOPEZ: Objection. Calls for               16   gave Dr. Swallow the accommodation letter from
17    speculation.                                           17   Dr. Munoz. Do you see that allegation?
18             MS. CONRAD: Counsel, I'm going to             18   A.        Yes.
19    note for the record that you are engaging in a         19   Q.        What did Dr. Swallow do with that
20    series of objections that are not consistent with      20   accommodation letter, if you know?
21    what is provided in the Rules of Civil Procedure.      21   A.        Sure. So I did give her the
22    And I consider such objections to be disruptive,       22   accommodation letter along with the accommodation
23    wasting time, and not appropriate for this             23   request form. So I gave her two items at the same
24    deposition.                                            24   time. She read them over and she said, okay. And
25             If you want to object to the form of          25   she also stated that it would be much easier and

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 1    quicker to implement the accommodations through           1   rotation and the point of time.
 2    her, so there was no need to continue with this           2   Q.         Paragraph 63, you make reference to
 3    form.                                                     3   the December 2017 incident. And you use the words
 4             And then she gave me back both the --            4   that you experienced side effects that impaired him
 5    the request from my provider and the partially            5   temporarily. Do you see that?
 6    filled out accommodation request form. So she gave        6   A.         Yes.
 7    them back to me during the meeting. She didn't            7   Q.         Other than what you described, were
 8    need them, she said.                                      8   you impaired in any other way as a result of the
 9    Q.        Paragraph 59, you allege that you               9   sleep aid?
10    emailed Dr. Swallow to request a meeting to discuss      10   A.         No. My -- my symptomologist repeat
11    his request -- requested accommodations. Do you          11   the -- the symptomatology was the retrograde
12    see that allegation?                                     12   amnesia, so not recalling the generalized
13    A.        Yes.                                           13   confusion, the double vision, and kind of the
14    Q.        What do you recall from that email?            14   visual blurriness. And not really recalling things
15    A.        I -- I recall that I sent that email           15   exactly or knowing something was really there.
16    to Dr. Swallow to let her know that I was still          16   But that's -- secondary to the amnesia, that was
17    waiting for accommodations. It -- it was a short         17   the main symptom profile.
18    email, but it was just another check-in to               18   Q.         Would those impairments impact your
19    essentially say, hey, I'm still here and, hey, I         19   ability to carry out your job duties as a resident?
20    haven't been accommodated.                               20   A.         Had they occurred during duty hours,
21    Q.        Did -- did you use the word                    21   yes. Fortunately, this event occurred during my
22    accommodations --                                        22   own time, off hospital time.
23    A.        I --                                           23   Q.         In paragraph 67, you alleged that
24    Q.        -- in that email?                              24   following the December incident, Michelle Batz
25    A.        -- didn't use that exact word,                 25   released you to return to full duty. Do you see
                                                     Page 83                                                        Page 85
 1    accommodation, no.                                        1   that?
 2    Q.        I'm sorry. I missed that. Say that              2   A.         Yes.
 3    again, please?                                            3   Q.         And that Dr. Munoz indicated you were
 4    A.        I said, I didn't use the exact word             4   fit for duty and could return to full-duty work.
 5    accommodation. I believe I said something along           5   Do you see that?
 6    the lines of any of the things we had discussed or        6   A.         Yes.
 7    implemented, any of the items we -- we discussed.         7   Q.         And 69, you -- into 70, that Timothy
 8    Q.        In paragraph 60, you make reference to          8   Sullivan found that you were stable and able to
 9    being scheduled 78 -- 78 to 80 or more hours per          9   return to work without any specific restrictions;
10    week. Do you see that?                                   10   is that correct?
11    A.        Yes.                                           11   A.         Yes.
12    Q.        What was -- do you know what the               12   Q.         Paragraph 77, you allege that
13    typical amount of hours to be scheduled for a            13   Dr. Salcedo, on December 14, 2017, told you that
14    resident in your position?                               14   your performance feedback was positive up until
15             MS. LOPEZ: Objection. Calls for                 15   that point. Do you see that allegation?
16    speculation.                                             16   A.         Yes.
17    Q.        Do you know, is the question. Yes or           17   Q.         Now, up until December 14th, had you
18    no?                                                      18   been receiving or were you being evaluated in
19    A.        It's a difficult question to answer            19   conjunction with the performance of your job duties
20    only because no one resident's schedule is the same      20   and responsibilities?
21    at the same time. So you could have residents that       21   A.         Yes.
22    are working more hours than others. So I could do        22   Q.         Did you review those evaluations?
23    -- a point in time, I could be working closer to         23   A.         Yes.
24    80, and if you did another point in time, I could        24   Q.         Were there any areas of concern that
25    be working 70 or 60. So it depended on the               25   were raised in those evaluations?

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                                                      Page 86                                                       Page 88
 1    A.          There weren't any areas of concern             1   to be talking about, but we should just talk about
 2    noted in those evaluations. There were suggestion          2   you, your struggles, how it is impacting to
 3    for improvement in the free text comment section.          3   residency life.
 4    So the way that the scoring worked was it was like         4            So the entire meeting was almost like
 5    a one to five numerical score. So if there was a           5   a session; it felt like a therapy session, but it
 6    concern, you would put a little deficiencies score.        6   essentially was just discussion of my disability,
 7              And, in fact, I actually received                7   how I was adapting, how I was coping, and that's
 8    higher than average scores for a majority of my            8   listed as a remediation meeting.
 9    rotations or average. There were suggestions for           9   Q.         Was that the only component of the
10    improvement, but that was standard in the feedbacks       10   remediation plan, that meeting with Dr. Gonzalo?
11    comment.                                                  11   A.         There was -- there were two other
12    Q.          Paragraph 78, you indicate that               12   meetings that went over kind of a question patient.
13    Dr. Swallow informed you that the remediation plan        13   So the -- the doctor would provide me a patient
14    was not punitive. Do you see that?                        14   with symptoms and then kind of follow through with
15    A.          Yes.                                          15   the work-up.
16    Q.          Did you understand the purpose of the         16            And then there's a -- there was
17    remediation plan?                                         17   another meeting with Dr. Ami Dewaters in which she
18    A.          Yes.                                          18   reviewed two of my progress notes that I had
19    Q.          What was that -- the purpose of the           19   written for patients, and that seemed to have go --
20    plan?                                                     20   gone well. She said my notes were -- were good and
21    A.          The intended purpose was to give extra        21   they were on par with my peers.
22    help to a resident. But if -- remediation plan is         22   Q.         Any other components of the
23    a -- is a little odd in that there wasn't really,         23   remediation plan?
24    like, a systematic performance improvement plan to        24   A.         There was a component of Dr. Swallow
25    help me, per se. It was more of a opportunity to          25   checking in with me. She was supposed to set up
                                                      Page 87                                                       Page 89
 1    watch me and evaluate me. So not so much grow and          1   meetings. I remember I followed up to ask her how
 2    learn, but rather to be critiqued. So it was a             2   it would be set up, but she never initiated those
 3    very odd remediation.                                      3   meetings or fulfilled her obligation on that end.
 4    Q.        Well, did you have opportunities to              4            There was also a case workbook. There
 5    learn as part of the remediation plan?                     5   was, like, a book of clinical vignettes that I
 6    A.        For the most part, I would say no,               6   completed and I left on Dr. Swallow's mailbox. No
 7    because I felt like I was kind of on the hot seat,         7   one ever reviewed them with me, no one ever
 8    being quizzed. You know, I got these -- where              8   discussed them or asked about it, so I just
 9    basically they were evaluating me, so they were            9   completed the book and returned it.
10    evaluations.                                              10            And there was also a practice OSPE
11             And so part of the remediation plan              11   sesh -- sesh -- practice OSCE session, which is
12    was actually just focused on my disability. So it         12   like an objective standardized performance
13    was very -- again, it was a very odd remediation          13   evaluation in which the chief residents watched me,
14    plan, because a component of it was just discussing       14   again, do a clinical vignette, but on a -- an actor
15    my disability and how it was impacting me.                15   patient.
16    Q.        I'm sorry. I missed that. Did you               16   Q.        And did you receive feedback during
17    say the remediation plan was discussing your              17   those meetings?
18    disability?                                               18   A.        Some of them, yes; some of them, no.
19    A.        Yes, part of it.                                19   But the feedback was more on -- so I'll break down
20    Q.        Where was that addressed in the                 20   each case. So the note-taking with Dr. Ami
21    remediation plan?                                         21   Dewaters. She said my notes were good. They were
22    A.        I had a meeting around February 9th,            22   on par with my peers.
23    2018 with Dr. Jed Gonzalo. And he had said,               23            The OSCE patient component, I never
24    honestly, I was told about this meeting a few hours       24   heard any feedback. No one ever followed up with
25    ago, which I don't really know what we're supposed        25   that. Dr. Swallow never gave me feedback. No one

                                                                                                    23 (Pages 86 - 89)
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                                                      Page 90                                                       Page 92
 1    ever discussed the book with me.                           1   Q.        But did you or did you not use the
 2             And the two meetings -- then there was            2   word accommodation in your meeting with Dr. Kogut
 3    the meeting with Dr. Jed Gonzalo, which there was          3   On February 24, 2018?
 4    not really any feedback, except keep trying hard           4   A.        No.
 5    and good job for being proactive and being strong,         5   Q.        So paragraph 85 of the complaint is
 6    because that -- that meeting -- the remediation            6   not true and accurate?
 7    meeting was just me talking about my disability and        7   A.        It is accurate, but you're asking for
 8    my struggles.                                              8   a specific word. And 85 is describing a
 9             So the only real feedback I got were              9   conversation, a situation that occurred. So
10    from the two 45-minute sections, which basically          10   although the word accommodation was not said, we
11    kind of went over my thinking and my work-up of           11   did discuss the need for accommodation. You don't
12    patients. Aside from that, there really was not           12   have to say the word accommodation to know you're
13    any learning or feedback involved in the                  13   discussing them or discussing ways to help a
14    remediation plan, unfortunately.                          14   struggling learner.
15    Q.        Now, following the December incident,           15            So, yeah, we didn't use the word
16    there was another incident in February that you           16   accommodation, but we did discuss that I was
17    referenced in paragraph 84. So let me direct your         17   working a lot of hours and sleep was deregulated.
18    attention to paragraph 84.                                18   I wasn't getting enough sleep. And basically what
19             You make reference to a February 23rd,           19   I needed was more sleep. And that was the
20    2018 incident in which you had to leave the               20   discussion. So --
21    hospital because of a reaction to the depression          21   Q.        Was it true or not that you met with
22    and anxiety. And that you had to leave before your        22   Dr. Kogut to discuss your need for accommodation?
23    shift was completed. Do you see that in paragraph         23            MS. LOPEZ: Objection. Asked and
24    84?                                                       24   answered.
25    A.        Yes.                                            25   Q.        You said you didn't use the word
                                                      Page 91                                                       Page 93
 1    Q.         Okay. Other than what we've already             1   accommodation. So what word did you use to relate
 2    described about that incident, do you have any             2   your need for accommodation?
 3    further information related to it?                         3   A.         I relayed my need for accommodation by
 4    A.         Yes, I would -- I would like to                 4   describing my worsening health and that I knew it
 5    clarify that. Again, it was a -- I realized after          5   was attributed to poor sleep.
 6    discovery that the days in the sequence, so that me        6   Q.         So you wanted Dr. Kogut to conclude
 7    leaving my shift occurred on the 24th. That's              7   from your expression that your health was worsening
 8    after I removed myself and reached out to                  8   and you needed sleep that you needed an
 9    Dr. Kogut. So that was not on the 23rd of 2018.            9   accommodation?
10    Q.         And then on paragraph 85, you allege           10   A.         I No, I didn't want him to conclude
11    that you met with Dr. Kogut, correct?                     11   that, per se, although reasonably, a medical
12    A.         Yes.                                           12   professional would have understood that. The point
13    Q.         And did you inform him about the               13   of me reaching out to him was to let him know. At
14    negative impact of working so many hours on your          14   that point, my focus was removing myself from
15    ability to cope with depression and anxiety?              15   service.
16    A.         Yes.                                           16            It wasn't, again, for the fourth or
17    Q.         And did you tell Dr. Kogut that you            17   fifth time, to request accommodations, but to let
18    needed accommodation?                                     18   him know, I'm struggling and I'm removing myself
19    A.         During that -- that meeting on the             19   from service. That was the primary purpose of that
20    24th of February, I didn't use made any -- use the        20   discussion on February 24th.
21    word accommodation. I -- but I did say --                 21   Q.         Okay. So then you did not discuss
22    indicated that because I wasn't accommodated, I           22   with Dr. Kogut your need for accommodation?
23    wasn't sleeping well, I wasn't getting the amount         23            MS. LOPEZ: Objection. That
24    of sleep I needed, and that was impacting my              24   mischaracterizes his testimony.
25    health.                                                   25   Q.         Look at paragraph 85. Let's break it

                                                                                                    24 (Pages 90 - 93)
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 1    down one word at a time if we have to. Let's make      1   were having on my health. But the primary reason
 2    it by phrase.                                          2   for this would need to be added to the paragraph,
 3              On February 24, 2018, Dr. Salcedo met        3   was to remove myself from service.
 4    with Dr. Kogut to discuss his need for                 4   Q.        I understand that.
 5    accommodation.                                         5            And what about that first line?
 6              Is that a true and accurate statement?       6   A.        And I'm saying that this paragraph
 7    A.         I would say that that statement is          7   needs to be updated so it's clearer.
 8    accurate, except it leaves out the primary purpose     8   Q.        Okay. So tell me, what would the
 9    of reaching out to him. So it is true that I met       9   clearer allegation consist of?
10    with him and I discussed the negative impact. That    10   A.        On February 24, 2018, Dr. Salcedo
11    was all these hours were having on my health.         11   texted Dr. Kogut to meet with him as soon as
12              But in addition, it was to remove           12   possible. Dr. Salcedo met with Dr. Kogut, and Dr.
13    myself from service. So that's something that         13   Salcedo noted that he did not feel comfortable on
14    would need to be added to that paragraph.             14   service anymore. He wanted to remove himself. He
15    Q.         Okay. And did you discuss with him         15   was experiencing worsening anxiety, worsening
16    your need for accommodation?                          16   depression. He was not getting the sleep he
17              MS. LOPEZ: Objection. Asked and             17   needed. And his health was being negatively
18    answered.                                             18   impacted due to this.
19              MS. CONRAD: I still haven't gotten an       19   Q.        Thank you.
20    answer to that.                                       20            In paragraph 91, you allege that --
21    A.         I guess I'm a little confused because      21   that Dr. Swallow made a call to Dr. Munoz without
22    I feel like I've answered this question a couple of   22   your permission or knowledge. Do you see that
23    different ways, and I'm not sure --                   23   allegation?
24    Q.         Dr. Salcedo, I'm asking for a yes or       24   A.        Yes.
25    no answer.                                            25   Q.        Had you included Dr. Munoz and his
                                                 Page 95                                                       Page 97
 1            Did you, on February 24, 2018, meet            1   contact information on the emergency plan that you
 2    with Dr. Kogut and discuss your need for               2   had submitted to Dr. Swallow?
 3    accommodation?                                         3   A.        If I did, that emergency plan was for
 4    A.        Yes.                                         4   my use, not for Dr. Swallow's. It was what I would
 5    Q.        So you used word accommodation with          5   do, not what Dr. Swallow would do. So I did not --
 6    Dr. Kogut?                                             6   under any assumption believe she would contact
 7            MS. LOPEZ: Objection. Objection                7   anyone on that list, including my family and my
 8    asked and answered.                                    8   partner.
 9    A.        That's a different question.                 9   Q.        And if it was for your use, why would
10    Q.        If -- if the answer is no, then what        10   you include a phone number on it?
11    word did you use in place of accommodation?           11   A.        For it to be thorough. I got --
12            MS. LOPEZ: Objection. Asked and               12   Q.        Paragraph 98. What meeting notes are
13    answered.                                             13   you are referring to in paragraph 98?
14    A.        I'm -- I'm sorry, but you're asking me      14   A.        They are a clinical competency
15    two different questions. And you're asking for the    15   committee meeting notes that were propounded or
16    same answer to two different questions.               16   given to us during the discovery process.
17    Q.        I'm asking you to verify whether or         17   Q.        And do those notes specifically
18    not paragraph 85 is true and accurate.                18   reference Dr. Salcedo's disability?
19            MS. LOPEZ: And he's answered that             19   A.        I believe so. I also believe that my
20    question, counsel.                                    20   disability is referred to as a personal issue. I
21    Q.        And what is the answer, just so I have      21   believe those words were used.
22    it when I meet with Dr. Kogut? That's all I want      22   Q.        Okay. We'll review those notes later
23    to know.                                              23   in the deposition.
24    A.        So it's accurate that I did discuss         24            Paragraph 100, you refer to consistent
25    the negative impact of working these many hours       25   positive reviews. Do you see that reference?

                                                                                               25 (Pages 94 - 97)
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                                                     Page 98                                                      Page 100
 1    A.         Yes.                                           1   Q.        Had you reviewed the procedures that
 2    Q.         Had you received any reviews that were         2   applied to an appeal prior to that notice for
 3    not positive?                                             3   Dr. Swallow?
 4    A.         When you refer to the reviews, are you         4   A.        Prior to her communication that I
 5    talking about my objective performance scores or          5   could not have support or help? No.
 6    free text --                                              6   Q.        But did you review any policies that
 7    Q.         I'm referring to whatever you're               7   addressed whether or not you could have support,
 8    referring to in paragraph 100.                            8   help, or someone with you at the appeal proceeding?
 9    A.         My reviews were positive, yes.                 9   A.        I -- I didn't. There's a grievance
10    Q.         All reviews were positive?                    10   process policy, but it did not men -- mention those
11    A.         Objective score performance, values,          11   specific requirements that Dr. Swallow was giving
12    on a scale of one to five, all were positive. They       12   me.
13    were either average or above average.                    13   Q.        In paragraph 102, you make reference
14    Q.         Any negative concerns, issues on any          14   to an outlier evaluation. Do you see that
15    review as of April 4, 2018?                              15   allegation?
16    A.         Are you including April 4th? Not to           16   A.        Yes.
17    be technical, but I remember I got a -- a false          17   Q.        What do you mean by that?
18    evaluation that day. So prior to April 4th, all of       18   A.        So up until that evaluation that I
19    my performance measures and scores, the numbers          19   received from Dr. Ashley Snyder, all of my
20    were positive, average, above average. And my free       20   objective performance scores were either average,
21    text comments, which attending residents could           21   above average, or aspirational. It wasn't until
22    leave at the bottom, they included constructive          22   she submitted an evaluation after my termination
23    feedback and ways to improve, but they in no way         23   that I received the worst scoring possible in just
24    demonstrated critical deficiencies.                      24   about all categories.
25    Q.         Up and until April 4th, had you been          25            And they were scorings and categories
                                                     Page 99                                                      Page 101
 1    informed of any critical deficiencies?                    1   that Dr. Snyder had no knowledge of or did not have
 2    A.        By my attendings or my colleagues, no.          2   a basis to comment on. But nevertheless, there
 3    But I would -- if you're counting the remediation,        3   were negative critical deficiencies marked there.
 4    being placed on that remediation on December 14th,        4   So this is the time that I received my first
 5    that would be my only answer.                             5   critical deficiency scores, after termination.
 6    Q.        Up and until April 4th, 2018, had you           6   Q.         What was the date of, if you recall,
 7    been placed on any warning or received any warning?       7   Dr. Snyder's eval -- outlier evaluation?
 8    A.        No.                                             8   A.         I believe it -- it was around April
 9    Q.        With respect to the appeal that you             9   4th. That's the -- the point in my mind. I -- I
10    referenced in paragraph 101, did you ever proceed        10   -- I know because I had a set of evaluations and
11    with a hearing or meeting with respect to that           11   scorings that I had before access was taken away.
12    appeal?                                                  12   And then afterwards, this date, all my scores
13    A.        I had initiated the -- the process of          13   dropped because of the submission from Dr. Ashley
14    the appeal, but after realizing that the appeal was      14   Snyder. So it's almost like two versions of my
15    going to be biased, tainted, it was going to -- I        15   record.
16    was given specific instructions that were not to my      16            MS. CONRAD: I'm about to start a new
17    benefit for the appeal, I did not continue that          17   exhibit. And before I do, I want to check with the
18    process.                                                 18   court reporter as well as counsel and Dr. Salcedo
19    Q.        What do you mean you were given                19   as to whether this is a good time to take a break.
20    specific instructions?                                   20   And if so, do we want to make it a brief lunch
21    A.        Dr. Swallow notified me that I could           21   break?
22    not have anyone for support. I could not have my         22            MS. LOPEZ: I would appreciate at
23    legal counsel present. That I had to be by myself,       23   least a comfort break and I'm fine with a lunch
24    alone, and that she would be leading the entire          24   break, if that's the consensus of the group.
25    process.                                                 25            MS. CONRAD: It's -- it's

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                                                   Page 102                                                 Page 104
 1    approximately 12:30. I would propose that we             1   A.        We went to medical school together.
 2    reconvene at 1:00, if that works for everyone.           2   Q.        And what facts does she have knowledge
 3             MS. LOPEZ: That's fine with.                    3   about?
 4             THE VIDEOGRAPHER: I just have to go             4   A.        She has a general understanding of the
 5    off the record. I apologize.                             5   events that unfolded at Penn State Hershey Medical
 6             The time is 12:28 p.m. We are going             6   Center, including my disclosure of my disability,
 7    off the record.                                          7   my request for accommodations, the lack of
 8             (A break was taken.)                            8   implementation, my termination, and just general
 9             THE VIDEOGRAPHER: All right. The                9   understanding of where this case in the timeline
10    time is now 1:03 p.m. We are going back on the          10   is.
11    record.                                                 11   Q.        How did she obtain that information?
12             MS. CONRAD: Thank you.                         12   A.        I told her.
13             (Exhibit 3 was marked)                         13   Q.        Who is Dr. Santos?
14    BY MS. CONRAD:                                          14   A.        It's a -- a colleague of mine. She's
15    Q.        So I'd like to direct your attention          15   a podiatrist in New Jersey.
16    to Exhibit 3.                                           16   Q.        And what information does she have
17             MS. CONRAD: Jenny, are you with us?            17   about the facts relevant to this claim?
18    Yes, she is.                                            18   A.        It -- it would be exactly the same as
19    Q.        Dr. Salcedo, Exhibit 3 consists of a          19   Cristina Vo.
20    document titled, Plaintiff's responses to               20   Q.        And from whom did she learn that
21    defendant's first request for responses to              21   information?
22    interrogatories. Are you familiar with this             22   A.        Me, myself.
23    document?                                               23   Q.        Dr. Garcia?
24    A.        Yes.                                          24   A.        He's also a colleague of mine. He's a
25    Q.        Excuse me?                                    25   physician in Florida, and he -- he's aware of the
                                                   Page 103                                                 Page 105
 1    A.        Yes.                                           1   same information.
 2    Q.        And did you review and verify the              2   Q.       And from whom did he learn that
 3    truth and accuracy of the factual allegations            3   information?
 4    contained in this document prior to it being             4   A.       Me.
 5    finalized?                                               5   Q.       Dr. Nicholas Duca?
 6    A.        Yes.                                           6   A.       Dr. Nicholas Duca was an attending of
 7    Q.        Turning your attention to number 2,            7   mine during my employment at Penn State Hershey
 8    you list a number of individuals who have knowledge      8   Medical Center.
 9    about the facts contained in the Complaint, and I        9   Q.       And how does Dr. Duca know about the
10    very briefly want to run through these individuals.     10   document -- documented disability request to
11         Who is Dr. Vo?                                     11   Hershey Medical Center?
12    A.        Dr. Cristina Vo, she's a pediatrician         12   A.       I told him.
13    based out of Philadelphia, Pennsylvania.                13   Q.       Dr. Greene?
14    Q.        Did you treat with Dr. Vo?                    14   A.       She's the vice dean, Rutgers Medical
15    A.        She's a colleague.                            15   School in Newark, New Jersey.
16             THE REPORTER: I'm -- I'm sorry.                16   Q.       How does Dr. Greene know about the
17    Sorry. Sorry. What was your answer?                     17   documented disability request to Hershey Medical
18             THE WITNESS: She's a colleague.                18   Center?
19             THE REPORTER: She's a colleague.               19   A.       I told her.
20    Thank you.                                              20   Q.       Dr. Hill?
21             THE WITNESS: Colleague.                        21   A.       He's associate dean of students at
22             THE REPORTER: Thank you.                       22   Rutgers.
23    BY MS. CONRAD:                                          23   Q.       And how does Dr. Hill know about the
24    Q.        And in what capacity is she a                 24   documented disability request and the alleged
25    colleague?                                              25   suffering?

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 1    A.         Told him.                                      1   Q.        Antonio Marrero?
 2    Q.         Dr. Munoz?                                     2   A.        He's my former roommate while I was at
 3    A.         He's my -- he was my treating                  3   Penn State Hershey Medical Center. And I discussed
 4    psychiatrist in Hershey, Pennsylvania.                    4   with him as well.
 5    Q.         And what is the source of the                  5   Q.        Directing your attention to
 6    information he possesses?                                 6   Interrogatory number 4. In number 4, the answer
 7    A.         In addition to our -- our treatment            7   provides that you gave statements to my previous
 8    sessions, he also spoke directly to Dr. Swallow.          8   lawyer as well as to the EEOC during the
 9    Q.         Miss Colston?                                  9   investigation.
10    A.         Miss Sheri colston, she is my                 10           Do you see that response?
11    therapist and she's in New Jersey.                       11   A.        Yes.
12    Q.         When you say your therapist, at what          12   Q.        Have those statements been produced in
13    point in time?                                           13   discovery?
14    A.         After leaving -- after employment at          14   A.        I'm not 100 percent sure.
15    Penn State Hershey Medical Center in June of 2018,       15           MS. CONRAD: I request at this time,
16    I transitioned care to her.                              16   counsel, that all statements be produced as they
17    Q.         Are you still treating --                     17   have been requested, to the extent they haven't
18    A.         Yes.                                          18   already been.
19    Q.         -- with Miss Colson?                          19           (Request.)
20    A.         Yes.                                          20   Q.        Number 5, you indicate that -- in your
21    Q.         And what is the source of the                 21   response, that disabilities have been treated since
22    information that Miss Colston possesses?                 22   2008.
23    A.         She's aware of all of the same                23           Do you see that response?
24    information --                                           24   A.        Yes.
25    Q.         I don't --                                    25   Q.        Did you receive accommodations at any
                                                    Page 107                                                      Page 109
 1    A.        -- and what I told her in our                   1   point during your education since these
 2    treatment sessions, I -- I disclosed it.                  2   disabilities have been treated in 2008?
 3    Q.        Miss Batz?                                      3   A.        Yes.
 4    A.        She was my treating therapist during            4   Q.        What accommodations did you receive?
 5    my employment at Penn State Hershey Medical Center.       5   A.        I received extra test-taking time, a
 6    She's aware of the same information because I             6   quiet space for examinations. I'm in just close --
 7    disclosed it to her during our treatment sessions.        7   close relationships with my -- my managers or
 8    Q.        Dr. Obi?                                        8   directors at the time. So I had accommodations in
 9    A.        Same. She's another colleague of                9   undergrad as well as the medical school.
10    mine, and she's aware of all the events because I        10   Q.        When you sought accommodations in
11    discussed them with her. I told her about them.          11   undergrad, who did you request those -- how did you
12    She's a close friend.                                    12   request those accommodations?
13    Q.        Dr. Jafri?                                     13   A.        There's a disabilities service office
14    A.        Dr. Aliya jafri, she was a co-intern,          14   at my undergrad institution, Montclair State
15    PGY-1 also into PGY-2 to 4 at PMNR.                      15   University, where they provide counseling,
16    Q.        And what is the source of information          16   treatment and safe space.
17    she possesses?                                           17   Q.        And in medical school, how did you
18    A.        I told her.                                    18   request accommodations in medical school?
19    Q.        Dr. Willer?                                    19   A.        I went to Dr. James Hill. He's the
20    A.        Similar to Dr. Jafri, I told her.              20   dean of students.
21    Q.        Dr. Rudra?                                     21   Q.        Directing your attention to the
22    A.        Similar to the above, she's a -- she           22   response to Interrogatory number 6. You make a
23    was a co-intern and I -- I told her myself.              23   statement that you handed Dr. Swallow the
24    Q.        Dr. Chen?                                      24   accommodation request form partially filled out.
25    A.        I told her as well.                            25            Do you see that response?

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                                                     Page 110                                                     Page 112
 1    A.        Yes.                                             1   A.        The meeting with the chief.
 2    Q.        Why was it partially filled out?                 2   Q.        And that's where the chiefs made the
 3    A.        Because I -- I only filled in the                3   suggestion to you, correct?
 4    specific lines that I could address myself, which          4   A.        Yes.
 5    was just identifying information, date of birth,           5           MS. LOPEZ: Objection.
 6    basic identifying information.                             6   Mischaracterizes testimony.
 7    Q.        And I believe you previously testified           7           MS. CONRAD: He's already answered the
 8    that you handed Dr. Swallow the accommodation              8   question.
 9    request form and the letter from Dr. Munoz. Is             9   Q.        After the meeting with the chiefs,
10    that correct?                                             10   what meeting took place next?
11    A.        Yes.                                            11   A.        The meeting with Dr. Frank Munoz.
12    Q.        You don't reference that in this                12   Q.        Then what?
13    answer, do you?                                           13   A.        The meeting with Dr. Swallow -- oh, I
14    A.        Yes. There is something that needs to           14   did have a clinic appointment with Dr. Britt
15    be updated in that paragraph in -- in the sense           15   Marshall, and then the meeting with Dr. Swallow.
16    that, because the days occurred -- occurred close         16   Q.        Is there anything else in these
17    together, I actually gave Dr. Swallow the                 17   Interrogatory answers that are not correct?
18    accommodation request form from Dr. Munoz the same        18   A.        To my knowledge, that's -- that's the
19    day. When I was originally accounting this, I             19   only item that would need updating.
20    thought it was on a separate day.                         20   Q.        On the -- I believe it's later in that
21    Q.        And -- and -- in the event -- on the            21   page, there's a reference to December 17, 2017 and
22    next page, the next paragraph -- well -- well, in         22   the emergency medical -- or the emergency mental
23    the same paragraph, you -- you -- you allege that         23   health plan. Do you have that paragraph?
24    you informed Dr. Swallow you would get a letter           24   A.        Yes.
25    from your psychiatrist with suggestions for               25   Q.        You say, at this time, I was forced --
                                                     Page 111                                                     Page 113
 1    accommodations as a starting point, right?                 1   I'm halfway in that paragraph -- to sign a letter
 2    A.        Yes.                                             2   placing myself in remediation.
 3    Q.        So what is it -- what is the -- the              3           Do you see that?
 4    accurate statement, that you handed swallow the            4   A.        Yes.
 5    accommodation form and the Munoz letter on the --          5   Q.        What do you mean when you say you were
 6    at the same time or you did it separately?                 6   forced?
 7    A.        At the same time, during the same                7   A.        Me signing that remediation -- me
 8    meeting.                                                   8   being able to return to work was contingent on me
 9    Q.        Then why does it say here, around late           9   accepting that remediation.
10    August 2017, I submitted a letter of accommodation        10   Q.        Well, you could have said no, I'm not
11    from Munoz?                                               11   signing it, right?
12    A.        So, again, during this last week of             12   A.        I -- I could have denied signing that
13    August of 2017, there were numerous meetings that         13   form and not continued my training.
14    occurred as I sought to secure accommodations. So         14   Q.        And you wanted to continue your
15    the dates -- I mixed up one of the days. So I             15   training?
16    recall I met the chiefs on one day, then I met            16   A.        Yes.
17    Mr. Britt Marshall in the clinic another on the --        17   Q.        So you signed the form?
18    or around that same time I met Dr. Munoz to get the       18   A.        Yes.
19    release -- or I mean the notice for accommodations,       19   Q.        You say, the letter was heavily geared
20    and then I met with Dr. Swallow. So there were            20   toward my disability.
21    multiple meetings that all occurred within a span         21           Do you see that statement?
22    of a week.                                                22   A.        Yes.
23    Q.        Okay. Could you put them in                     23   Q.        What does that mean?
24    chronological order for me, please? Which -- which        24   A.        That the bulk of the discussion I had
25    meeting occurred first?                                   25   with Dr. Swallow was on my mental health, on my

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                                                    Page 114                                                  Page 116
 1    disability, how I would address it, rather than           1   Dr. Swallow, I believe.
 2    what accommodations could be implemented. So the          2   Q.        So -- but it was Dr. Munoz who made
 3    bulk of the meeting was just discussing my                3   the disclosures about your medical history,
 4    disability.                                               4   correct?
 5    Q.        Well, did you ask to submit any form            5            MS. LOPEZ: Objection. Asked and
 6    of response or addendum to the remediation plan?          6   answered.
 7             MS. LOPEZ: Objection. Compound                   7   Q.        Did Mr. Munoz violate HIPAA when he
 8    question.                                                 8   disclosed information to Dr. Swallow about your
 9    Q.        Did you ask to submit any response to           9   medical history?
10    the remediation plan?                                    10            MS. LOPEZ: Objection.
11    A.        No. There was not an addendum or a             11   Mischaracterizes testimony.
12    response submitted. It was just --                       12            MS. CONRAD: I'm asking a question.
13    Q.        I'm asking if you asked -- if you were         13   I'm not even characterizing his testimony. Please
14    able to submit a response?                               14   stop being disruptive.
15             MS. LOPEZ: Objection. Calls for                 15            MS. LOPEZ: I'm not being disruptive.
16    speculation.                                             16   I'm putting my objection to the form of the
17    Q.        Did you ask about submitting a                 17   question on the record.
18    response to the remediation plan?                        18            MS. CONRAD: There was no reference to
19    A.        I did not ask to submit a response. I          19   his testimony in that question, so there is no
20    didn't know that was an option. I was just told to       20   proper basis for that objection.
21    sign the form.                                           21            Could you repeat the question to
22    Q.        Did you ask if it was an option?               22   Dr. Salcedo, please?
23    A.        I'm sorry. I just said I didn't know           23            THE REPORTER: Yes.
24    it was an option.                                        24            (The question was read back by the
25    Q.        On the next page, referring to the             25   reporter.)
                                                    Page 115                                                  Page 117
 1    February 26th incident, the second full paragraph         1            THE WITNESS: No, Dr. Munoz did not
 2    refers to the evening of February 26th. You assert        2   violate HIPAA. Not only did he have -- he asked
 3    in this response that Dr. Swallow violated HIPAA          3   for a signed release form before he would talk more
 4    and called my psychiatrist to discuss my medical          4   with Dr. Swallow. Or should I say --
 5    history.                                                  5   BY MS. CONRAD:
 6             On what do you form the basis for your           6   Q.        But he talked to her on February 26th,
 7    allegation that Dr. Swallow violated HIPAA?               7   didn't he?
 8    A.         I -- I never signed a written release          8   A.        Yes. But that was without the release
 9    or told Dr. Swallow it was okay to discuss my             9   form.
10    disability, my mental health, my symptomatology or       10   Q.        And he disclosed medical information
11    any episodes at the center with anyone else.             11   --
12    Q.         Had you told Dr. Munoz not to disclose        12   A.        No.
13    your medical information to anyone?                      13   Q.        -- about you on February 26th, didn't
14    A.         I did not have to tell Dr. Munoz that.        14   he?
15    He knew to follow the guidelines. So it was him          15   A.        I did not state that.
16    who actually requested the release form after            16   Q.        You say in your answer here, on the
17    Dr. Swallow called him, because he thought it was        17   evening of February 26th, 2018, Dr. Swallow
18    inappropriate.                                           18   violated HIPAA and called my psychiatrist,
19    Q.         Well, he was the one who possessed            19   Dr. Frank Munoz, to discuss my medical history.
20    your medical history, didn't he?                         20   A.        Yes.
21    A.         Yes. He's my treating provider.               21   Q.        Dr. Munoz provided information in that
22    Q.         And he is the one that made                   22   February 26th call about your medical history.
23    disclosures about your medical history, isn't he?        23   A.        No, not that I am aware of.
24    A.         No. The events around February 26th,          24   Q.        Was Dr. Swallow one of your medical
25    2018, they were disclosed to Dr. Munoz by                25   providers?

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                                                   Page 118                                                      Page 120
 1    A.        No.                                            1   the meeting under the impression that, my requests
 2    Q.        Then how did Dr. Swallow violate               2   for acknowledged in good faith and to be acted upon
 3    HIPAA? Strike that.                                      3   in a timely manner.
 4             Just let me ask: How did Dr. Swallow            4            Do you see that statement?
 5    violate HIPAA on February 26th, 2018?                    5   A.        Yes.
 6    A.        Because she has a duty as the program          6   Q.        Who did you expect to act upon them in
 7    director to keep all information confidential that       7   a timely manner?
 8    she had learned on my behalf, including my               8   A.        The chief residents themselves, they
 9    disability and mental health.                            9   -- they reached out when I started working at the
10    Q.        And is it your position that's a              10   medical center to let all the residents know that
11    violation of HIPAA?                                     11   if they had any concerns or requests, that they
12    A.        I would say that her disclosing my --         12   were the people to reach out to.
13    my disability and my exacerbation of symptoms           13   Q.        But what do you mean that -- that the
14    without my permission, as a medical professional,       14   requests were acknowledged in good faith and to be
15    in my opinion, is a violation of HIPAA, because it      15   acted upon in a timely manner? What does that
16    was in the sense under her care as her student, a       16   mean?
17    medical student.                                        17   A.        We -- we had a discussion and I was
18    Q.        What did --                                   18   left under the impression that the items we
19    A.        Say it again.                                 19   discussed, those sit-down rounds, the quiet space
20    Q.        What did Dr. Swallow disclose to              20   to work, the meeting the attendings beforehand, and
21    Dr. Munoz on the evening of February 26th?              21   establishing those relationships, that the chief
22    A.        She -- Dr. Swallow told Dr. Frank             22   residents would work on getting those put into
23    Munoz that I was having worsening in my condition,      23   place.
24    that I had a slip in self-care. She discuss --          24   Q.        Did you take any action to put them in
25    discusses a patient incident.                           25   place?
                                                   Page 119                                                      Page 121
 1             She goes on to discuss accommodations           1   A.        I -- I did what I could do best on my
 2    she states that she has already implemented. And         2   end, which was remind them. But that actually
 3    possible further accommodations.                         3   needed to come from the people with the power to
 4    Q.         And this discussion took place after          4   make the change, which was the leadership that I
 5    the incident in February of 2018 in which you            5   approached.
 6    removed yourself from service, correct?                  6   Q.        So you took no action to -- with
 7    A.         Yes. Two days after.                          7   respect to any of those items addressed in that
 8    Q.         And what is the source of your                8   paragraph?
 9    information that Dr. Swallow disclosed your              9            MS. LOPEZ: Objection.
10    worsening condition, your slip in self-care, the        10   Mischaracterizes testimony.
11    patient incident, and accommodations with               11   BY MS. CONRAD:
12    Dr. Munoz?                                              12   Q.        Did you take any action to find a
13    A.         Dr. Frank Munoz wrote down notes of          13   quiet space in which to take notes?
14    the telephone call and transcribed them for me.         14   A.        So I did take action myself because
15    Q.         Turning to page 11. On page 11, in           15   accommodations were not implemented. And by that
16    about the third sentence, you note that the three       16   was when I disclosed my disability to my attendings
17    chief residents provided examples of accommodations     17   beforehand to get accommodations such as sit-down
18    that would be easy to arrange. Don't you?               18   rounds. But those were ad hoc and I had to do them
19    A.         Yes.                                         19   at out-of-rotation basis. They were not
20    Q.         And you then list the quiet space, the       20   accommodations implemented by the program itself.
21    ability to meet with colleagues, the option to          21   Q.        Okay. Listen carefully to my
22    conduct sit-down rounds, and schedule time to meet      22   question, please.
23    with healthcare providers monthly.                      23            Did you act in a timely manner to
24    A.         Yes.                                         24   obtain a quiet space in which to take notes?
25    Q.         You then go on to say that you left          25            MS. LOPEZ: Asked and answered.

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                                                  Page 122                                                       Page 124
 1    A.         I believe I already asked -- answered        1   from the program as well as time off to visit
 2    that question, ma'am.                                   2   family.
 3    Q.         Did you act in a timely manner to            3   Q.        What was the amount of time off that
 4    conduct sit-down rounds?                                4   he received?
 5    A.         Yes. I started my employment there           5   A.        I don't know the exact details of how
 6    July 1st, 2017, and before I even started working       6   much time he was granted.
 7    there, I had already reached out to leadership. So      7   Q.        How about Dr. Kuzmin?
 8    I was very timely. And I had reached out for            8   A.        He had a sports-related in -- injury,
 9    accommodations before I even started rotating.          9   and I noted that he was often excused from being
10    Q.         Dr. Salcedo, I'm not asking if your         10   late to events and meetings and things without
11    requested. I'm asking if you found a quiet space       11   consequence.
12    to take notes.                                         12   Q.        And how long did that take place?
13              MS. LOPEZ: Counsel, I think you asked        13   A.        How long did it take place?
14    him about sit-down rounds, not quiet space.            14   Q.        Yes.
15              MS. CONRAD: I know. I'm -- I'm going         15   A.        Throughout the beginning of my
16    back because I want to make sure that we -- we're      16   employment, I believe he came in with the injury or
17    on the same page here.                                 17   got it near the beginning of employment, until he
18    BY MS. CONRAD:                                         18   healed.
19    Q.         Did you, Dr. Salcedo, act in a timely       19   Q.        And how long was he excused from being
20    manner and find a quiet space to take notes?           20   tardy to events and meetings and visually observed?
21              MS. LOPEZ: Asked and answered.               21   For what period of time?
22    Q.         Just give me a yes or no. It will           22   A.        I can't comment on the exact dates or
23    take you a second.                                     23   time span.
24    A.         Unfortunately, I feel like it's a --        24   Q.        Directing your attention to page 15,
25    it's a leading question. You're -- you're assuming     25   Interrogatory number 10. This is in reference to
                                                  Page 123                                                       Page 125
 1    that I could do that without consequence. So, no.       1   the February incident. And in your response, you
 2    Q.         Did you act in a timely manner to            2   make the statement, I did not accept this patient
 3    conduct sit-down rounds?                                3   under my care, leaving the responsibility to
 4    A.         I don't understand the question. Did         4   Dr. Snyder, who received sign-out for this patient.
 5    I act in a timely manner to conduct sit-down            5            Do you see that statement?
 6    rounds? I don't conduct them. I'm a part of the         6   A.         Yes.
 7    sit-down rounds.                                        7   Q.         Had you cared for this patient at any
 8    Q.         During the sit-down rounds, did you          8   point in time?
 9    sit down? During rounds, did you sit down?              9   A.         I can't definitively tell you that
10    A.         Yes.                                        10   because I don't know who the patient is that's
11    Q.         Did you schedule time to meet with          11   being referred to.
12    your health care providers monthly?                    12   Q.         In -- on the next page, number 11, in
13    A.         Yes.                                        13   your response, you state that you told Dr. Swallow
14    Q.         Turning to page 12, Interrogatory           14   that there was an error in patient hand-off as I
15    number 7. This question asked about others who         15   never assumed responsibility for the patient or
16    were not disabled but required some sort of            16   stated I would accept care of him or her.
17    flexibility as first-year interns that were granted    17            Do you see that statement?
18    help.                                                  18   A.         Yes.
19              And in your response, you list               19   Q.         Does that refresh your recollection as
20    Dr. Erik Soto. Who is Dr. Soto?                        20   to the patient at issue?
21    A.         He was a colleague of mine, another         21   A.         Again, so during this meeting,
22    intern.                                                22   Dr. Swallow brought to my attention that there was
23    Q.         And what -- what flexibility or help        23   a patient concern, but, again, nothing was brought
24    did he receive?                                        24   up to my attention the day prior when it occurred,
25    A.         I know he received financial support        25   so I can't comment on event on a patient that was

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 1    not brought to my attention when it occurred.        1         A.        Approximately 6:30 a.m. to 6:30 p.m.
 2              So literally during that session is        2         Q.        And when you referenced speaking to a
 3    when I was getting the details that a -- an alleged  3         colleague prior to leaving on the 24th, to whom did
 4    patient event occurred that was -- the patient       4         you speak?
 5    wasn't seen in a timely manner.                      5         A.        Samantha Willard.
 6              But that could possibly be any             6         Q.        I want to go back to paragraph 11. In
 7    patient. I don't know which patient is being         7         the second paragraph, after you allege that
 8    referred to, who the patient was signed off to.      8         Dr. Swallow violated HIPAA, you state that
 9    It's not like I had all of that in front of me to    9         Dr. Swallow described false accommodations to my
10    make that decision or to be informed.               10         psychiatrist, such as a 50-hour workweek. Do you
11              Dr. Swallow only said there was an        11         see that reference?
12    issue with a patient not being seen in a timely     12         A.        Yes.
13    manner. And I had stated that that might have been 13          Q.        Did you ever have 50-hour workweeks?
14    a patient hand-off problem or issue. And Dr.        14         A.        There may have been some rotations
15    Swallow responded, hmm, sounds like it was a        15         that I worked around 50-hour hours, but those --
16    miscommunication.                                   16         those were just the nature of the rotation, not the
17              But that's all the detail I'm given of    17         result of an accommodation or schedule change.
18    that event.                                         18         Q.        Did you ever have lighter rotations
19    Q.         Well, prior to your -- I believe you     19         despite my schedule never being altered?
20    -- you testified you called Dr. Kogut and said you 20          A.        Yes.
21    couldn't continue on the ward; is that correct?     21         Q.        And did you ever have no overnight
22    A.         Yes.                                     22         call?
23    Q.         Well, prior to you then leaving the      23         A.        Yeah, there were points in my training
24    ward, what action, if any, did you take with the    24         in which I was not required to work overnight.
25    patients you have seen up until that point in time? 25         Q.        And was that a result of the type of
                                                     Page 127                                                       Page 129
 1    A.        I had made sure that all orders were             1   rotation that you were on?
 2    complete and that my colleague was aware of where          2   A.        Exactly, yes. It was the result of
 3    all the patients stood so that it would be a smooth        3   the type of rotation.
 4    transition. But because of the time that I left in         4   Q.        So -- strike that.
 5    the early afternoon, morning rounds would have             5            Directing your attention to page 20,
 6    already been completed, so orders and notes would          6   response number 14.
 7    have already been done for the patients.                   7            You make reference here to
 8    Q.        What about the night before? What                8   Dr. Snyder's online performance evaluation and it
 9    about those patients?                                      9   being one month past the required deadline. Do you
10    A.        What about them?                                10   see that statement?
11    Q.        When did you start that shift?                  11   A.        Yes.
12             MS. LOPEZ: Counsel, are you referring            12   Q.        What do you mean by the required
13    to February 23rd?                                         13   deadline?
14    BY MS. CONRAD:                                            14   A.        By required, I mean that there's a --
15    Q.        On the day that you left ward -- the            15   a good standard suggestion that a feedback
16    wards at around -- I thought you said it was around       16   evaluation should be submitted in a timely manner,
17    noon, 1:00, when had you started that shift?              17   soon after the rotation ends.
18    A.        Approximately 6:30, February 24th.              18   Q.        I believe you just testified that
19    Q.        6:30 p.m. or a.m.?                              19   there was a standard suggestion. Was that the --
20    A.        A.m., approximately.                            20   was that the word you used?
21    Q.        February -- what was the date?                  21   A.        Yes.
22    A.        24th.                                           22   Q.        So please reconcile standard
23    Q.        Had you worked the previous day?                23   suggestion with required deadline.
24    A.        Yes.                                            24   A.        If I could update this portion, I
25    Q.        What were your hours on February 23rd?          25   would put the recommended time -- within the

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 1    recommended timeframe.                                1   renewals agreement will be based on the ACGME core
 2    Q.        I want to direct your attention to          2   competencies.
 3    page 24, Interrogatory number 18. In your             3   A.        Your question is, is that correct?
 4    response, you state that you were offered a job       4   Q.        Yes. Was renewal of the resident
 5    along with several available disability               5   agreement to be based upon the ACGME core
 6    accommodations when needed from Booz Allen            6   competencies?
 7    Hamilton.                                             7   A.        Yes.
 8             Do you see that statement?                   8   Q.        And were you -- are you familiar with
 9    A.        Yes.                                        9   those core competencies?
10    Q.        I thought you testified that you           10   A.        Yes.
11    didn't need disability accommodations in your        11   Q.        Were you evaluated on those core
12    current position?                                    12   competencies?
13    A.        Correct. The statement reads when          13   A.        Yes.
14    needed. So if -- if there comes a point that I do    14   Q.        And was reaching certain milestones
15    need additional accommodations, then they would      15   required to advance to the next level of training?
16    engage in and help me.                               16   A.        No, there were not certain milestones
17    Q.        And how do you know that?                  17   that needed. The way the ACGME's milestones work,
18    A.        That's what they told me. That's what      18   they're used to track a resident over time to
19    I was told by the accommodation team.                19   demonstrate their improvement and their growth. So
20    Q.        Let me direct your attention to            20   each resident's milestone goals will be different
21    Exhibit 4.                                           21   depending on that individual.
22             (Exhibit 4 was marked.)                     22   Q.        Doesn't the agreement provide that
23    BY MS. CONRAD:                                       23   ACGME milestones and -- and/or any other factors
24    Q.        Are you familiar with this document?       24   deemed necessary to advance to the next level in
25    A.        Yes.                                       25   training?
                                                Page 131                                                    Page 133
 1    Q.          What is it?                               1   A.        Correct. I believe you asked me if
 2    A.          It's the resident agreement form.         2   there was a minimum score or minimum level required
 3    Q.          Directing your attention to paragraph     3   to be obtained.
 4    1, does paragraph 1 provide for any obligations       4   Q.        On the next page, paragraph 11, does
 5    that you are required to perform?                     5   the agreement provide for leaves of absence?
 6    A.          The portion that says, resident has       6   A.        Yes.
 7    agreed to accept the position on the terms and        7   Q.        Did you ever request a leave of
 8    conditions set forth in this agreement.               8   absence?
 9    Q.          Looking at paragraph 1, do you agree      9   A.        Yes.
10    to perform such duties at Penn State Health and      10   Q.        When?
11    it's affiliated institutions which are part of the   11   A.        On February 26th, 2018.
12    residency program, conscientiously to the best of    12   Q.        And was that request granted?
13    your ability and under the highest standards of      13   A.        Yes.
14    professional ethics?                                 14   Q.        Did you request any other leaves?
15    A.          Yes.                                     15   A.        No.
16    Q.          Directing your attention to paragraph    16   Q.        Paragraph -- does paragraph 12 address
17    3.3. Were you expected to provide competent and      17   duty hours?
18    compassionate patient care and to work effectively   18   A.        Yes.
19    as a member of the healthcare team?                  19   Q.        And does it provide that all
20    A.          Yes.                                     20   requirements of the residency review committee must
21    Q.          And were you expected to perform at      21   be met for work hours and work environment?
22    the highest level of professionalism at all times.   22   A.        Yes.
23    A.          Yes.                                     23   Q.        And did you understand that the hours
24    Q.          Directing your attention to the next     24   of duty will vary with the clinical service to
25    page, paragraph 6. Does paragraph 6 provide that     25   which you were assigned?

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                                                    Page 134                                                      Page 136
 1    A.         Yes. And also that ultimately those            1   and rehabilitation.
 2    assigned duties were up to the program director's         2             (Exhibit 6 was marked.)
 3    discretion.                                               3   Q.         And I'll direct your attention now to
 4    Q.         That discretion would be limited by            4   Exhibit 6. And we're going to go into the last
 5    the requirement in paragraph twelve that the              5   page of it in order to follow the time sequence.
 6    requirements of the resident review committee must        6   If you look at the lower right-hand corner it will
 7    be met.                                                   7   be page 588.
 8              MS. LOPEZ: Is that a question?                  8             It appears that the first email is
 9              MS. CONRAD: Yes.                                9   from you to Dr. Kogut on June 27, 2017; do you see
10    BY MS. CONRAD:                                           10   that?
11    Q.         Do you agree with that?                       11   A.         Yes.
12    A.         I'm not sure when it is saying the            12   Q.         And you state, thanks for taking the
13    requirements of the residency review committee,          13   time to talk to me today. I appreciate it. It was
14    it's not referring to me.                                14   a little weird reaching out. Do you recall what
15    Q.         Who would it be referring to?                 15   discussion -- what took place during that talk on
16    A.         The residency review committee. This          16   June 27th?
17    paragraph is detailing not only my obligation but        17   A.         I conveyed -- conveyed to Dr. James
18    the hospital's obligation to provide appropriate         18   Kogut that I had anxiety and depression and that
19    scheduling and to follow guidelines.                     19   was a little worried about starting a brand new
20    Q.         And to meet program requirements,             20   work environment and being a fresh, new intern.
21    right?                                                   21   And that I was a little apprehensive.
22    A.         I don't see that wording.                     22   Q.         And you appreciated that Dr. Kogut met
23    Q.         Let me direct your attention to               23   and spoke to you about those items?
24    Exhibit 5.                                               24   A.         Yes.
25              (Exhibit 5 was marked.)                        25   Q.         Weren't you? I'm sorry. Did you say
                                                    Page 135                                                      Page 137
 1    Q.         Are you familiar with this document?     1         yes?
 2    A.         Yes.                                     2         A.        Yes.
 3    Q.         What is it?                              3         Q.        And then on July 6th, Dr. Kogut
 4    A.         It's a similar form, but it's the        4         follows up with you, doesn't he?
 5    resident agreement for the subsequent training      5         A.        Yes.
 6    years of PGY2 to 4.                                 6         Q.        And he asks -- and he said he just
 7    Q.         And directing your attention to --       7         wanted to check in and say hi, how is everything
 8    well, there's no page numbers. If you look at the   8         going?
 9    Bates numbers, 856. There's a signature on          9         A.        Yep, yes.
10    this; isn't there?                                 10         Q.        And you reply to him, don't you, later
11    A.         Yes.                                    11         in the day on July 6th?
12    Q.         All right. Did you obtain a copy of     12         A.        Yes.
13    this document?                                     13         Q.        And you tell him that you're doing
14    A.         Yes.                                    14         okay.
15    Q.         When?                                   15         A.        Yes.
16    A.         Around March of 2018.                   16         Q.        You mentioned the anxiety, don't you?
17    Q.         And what was your understanding -- and 17          A.        Yes.
18    how did you receive this document?                 18         Q.        And you mention the apprehension,
19    A.         I don't recall if I was emailed this    19         don't you?
20    document or if it was provided by GME.             20         A.        Yes.
21    Q.         What was your understanding of having 21           Q.        And you -- and everything being new?
22    received this document?                            22         A.        Yes.
23    A.         My understanding was that I would be    23         Q.        And you say, let me know if you have
24    moving on to my second year of training at the end 24         any suggestions, don't you?
25    of the year, to PGY2 for PM -- physical medicine 25           A.        Yes.

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                                                    Page 138                                                      Page 140
 1    Q.        Do you make any reference to                    1   Dr. Kogut about this issue?
 2    accommodations in the July 6th email?                     2   A.        Yes.
 3    A.        No.                                             3   Q.        And what was the response?
 4    Q.        The next email, as I follow it, is on           4   A.        They removed the duplicated rotations
 5    July 7th. It starts on the previous page, page            5   and substituted two different rotations.
 6    586. And it's an email from Dr. Kogut to you. Is          6   Q.        So your request was granted, wasn't
 7    that the next email exchange you had with                 7   it?
 8    Dr. Kogut?                                                8   A.        Yes. But --but it was not so much a
 9    A.        Yes.                                            9   request, more of a correction to an error on my
10    Q.        And he acknowledges the adjustment             10   schedule having multiple rotations of the same
11    period, doesn't he?                                      11   sort. It might have been an oversight and I was
12    A.        Yes.                                           12   just asking for that to be corrected.
13    Q.        And he provides you a resource,                13   Q.        And at your request, the correction
14    doesn't he?                                              14   was corrected, wasn't it?
15    A.        Yes.                                           15   A.        Yes, the error was corrected.
16    Q.        And with a counseling service, isn't           16   Q.        And the next email is on August 16
17    it?                                                      17   where you asked to meet with Dr. Kogut, don't you?
18    A.        Yes.                                           18   A.        Yes.
19    Q.        And he states, any resident can use            19   Q.        And Dr. Kogut replies and suggests
20    their services, so I encourage you to reach out and      20   meeting the following week, doesn't he?
21    schedule an appointment with them, doesn't he?           21   A.        Yes.
22    A.        Yes.                                           22   Q.        Either Wednesday, Thursday or Friday,
23    Q.        And did you reach out to the                   23   right?
24    counseling service?                                      24   A.        Yes.
25    A.        Yes.                                           25   Q.        And he informs you, if you need to
                                                    Page 139                                                      Page 141
 1    Q.        And he concludes by saying, if you              1   meet earlier, to let him know, right?
 2    have any questions or concerns, don't hesitate to         2   A.        Yes.
 3    reach out to us chiefs. We are here for you,              3   Q.        Did you let him know you needed to
 4    doesn't he?                                               4   meet earlier?
 5    A.        Yes.                                            5   A.        I did not let him know I needed to
 6    Q.        And you reply to Dr. Kogut on July              6   meet earlier, because I did not need to meet
 7    10th, don't you? It's on page 586.                        7   earlier.
 8    A.        Yep, yes.                                       8   Q.        And he also let's you know, if ever he
 9    Q.        And you let him know that you made an           9   is unavailable, Sim and Britt are also here to
10    appointment, don't you?                                  10   support you; is what he says?
11    A.        Yes.                                           11   A.        Yes.
12    Q.        And the next communication, I believe          12   Q.        Who are Sim and Britt?
13    is on the next page, 585. It is dated August 2nd         13   A.        The other chief residents.
14    from you to Dr. Kogut.                                   14   Q.        And on August 16, there's an email
15    A.        Yes.                                           15   from you that says, thanks for the quick reply. I
16    Q.        Could you explain that -- that request         16   just had some questions and was feeling overwhelmed
17    that you're making in that email, please?                17   a bit. Next week is fine, right?
18    A.        So for my schedule that was laid out           18   A.        Correct.
19    in advance for the year, there were repeat               19   Q.        And did you meet next week with
20    rotations or rotations that were listed more than        20   Dr. Kogut?
21    once. So they were duplicative. So I wanted to           21   A.        It may have been a few days over seven
22    bring to his attention if that could be correct and      22   days, but I met with him on the 25th of August, so
23    perhaps swapped for something more relevant to my        23   shortly after.
24    career, yes.                                             24   Q.        And on August 23rd, you sent him an
25    Q.        And did you get a response from                25   email again asking about a good time to talk this

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 1    week?                                                  1   with accommodations. It wasn't and end-all, be-all
 2    A.        Correct.                                     2   email. It was a polite follow up.
 3    Q.        And if you turn to page 583, Dr. Kogut       3   Q.        When you say, I think the suggestions
 4    replies, how does tomorrow morning sound, say          4   you made were really good, what suggestions are you
 5    around 7:30, doesn't he?                               5   referring to there?
 6    A.        Yes.                                         6   A.        I'm talking about the items we
 7    Q.        And you planned to meet in the chiefs'       7   discussed during the meeting, such as having a
 8    room, don't you?                                       8   quiet space to work, the sit-down rounds, meeting
 9    A.        Yes.                                         9   your attendings beforehand, and establishing those
10    Q.        And then starting on the first page,        10   relationships before new rotations. Those were
11    there's an email dated August 26th at the bottom of   11   discussed and there was a feedback in that I agreed
12    that page. We're on 581. Right. And this is an        12   that those would be useful, you know.
13    email you sent to Dr. Kogut, isn't it?                13   Q.        And then following that meeting later
14    A.        Yes.                                        14   on, Dr. Kogut -- or you check in with Dr. Kogut on
15    Q.        And you thank him for meeting earlier       15   October 4, 2017, don't you?
16    in the week, don't you?                               16   A.        Yes.
17    A.        Yes.                                        17   Q.        And I'm on the first page of 581.
18    Q.        And when you go on to say in the next       18   A.        Yes.
19    paragraph --                                          19   Q.        You make reference to the VA wards; do
20             MS. LOPEZ: Counsel, to be clear, are         20   you see that?
21    you talking about the next paragraph of the same      21   A.        Yes.
22    email thread?                                         22   Q.        Where did you -- what VA wards were
23             MS. CONRAD: 582 at the top it starts,        23   you on in the fall of 2017?
24    I really appreciate it.                               24   A.        Veteran's Administration in Lebanon,
25    A.        I let him know that I'm thankful for        25   Pennsylvania.
                                                 Page 143                                                      Page 145
 1    the interaction.                                       1   Q.         And you state, I didn't have any
 2    Q.         Well, could you read into the record,       2   additional panic attacks. Do you see that time
 3    please, the next two paragraphs that start with, I     3   that that referenced?
 4    really appreciate it?                                  4   A.         Yes.
 5    A.         I really appreciate it. It's great to       5   Q.         Did you have a panic attack while on
 6    know that I have support and someone to reach out      6   the VA ward?
 7    to as I work on my social anxiety and becoming a       7   A.         Prior -- prior to me starting work,
 8    good intern. It's been hard, but all I can do is       8   yes.
 9    do my best.                                            9   Q.         Tell me about that incident, please.
10    Q.         And then the next paragraph?               10   A.         So I was experiencing a sudden flush
11    A.         I think the suggestions you made were      11   of anxiety and physical symptoms, like increased
12    really good and would help, like sit-down rounds.     12   heart rate, sweating and redness.
13    I also talked to Britt a little on Friday, as well,   13   Q.         And when did this occur?
14    because I had a clinic appointment.                   14   A.         In the very, very beginning of my
15    Q.         So we agree, don't we, that it was         15   rotation at the VA.
16    Dr. Kogut who made the suggestions, including the     16   Q.         And did you have to walk away from the
17    suggestion for the sit-down rounds.                   17   ward at the time of this panic attack?
18             MS. LOPEZ: Objection.                        18   A.         No. I did reach out to Britt Marshall
19    Mischaracterizes testimony.                           19   and she came and she just sort of reassured me to
20    Q.         Do we agree that based on your email       20   give it my best shot and take a deep breath and go
21    you state that Dr. Kogut made the suggestions,        21   with the new environment and everything would be
22    including the sit-down rounds?                        22   okay. And I just went --
23    A.         I can't definitively say that, because     23   Q.         Was there a period of time you were
24    it also could have been Britt Marshall. I was         24   not present on the VA ward?
25    giving an example one of the items we discussed       25   A.         Could you be a little more specific?

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                                                Page 146                                                       Page 148
 1    I did go home to sleep and shower and eat, so when 1      A.         Yep, I see it.
 2    I was off shift.                                     2    Q.         Is that an accurate description?
 3    Q.        During your shift, was there a time        3    A.         Yes.
 4    that you removed yourself from the ward from         4    Q.         Okay. Under the mental health
 5    patient care from services?                          5    treatment history, there's a question about
 6    A.        No.                                        6    currently in treatment; do you see that question?
 7    Q.        Was there a time that you could not be     7    A.         Yes.
 8    located on the VA ward?                              8    Q.         And it says no; is that correct?
 9    A.        No.                                        9    A.         Yes.
10             (Exhibit 7 was marked.)                    10    Q.         So is it true that at the time you
11    Q.        Let me direct your attention to           11    started at Hershey Medical Center, you were not in
12    Exhibit 7. Are you familiar with this document? 12        treatment?
13    A.        Yes.                                      13    A.         I was -- I have primary care provider
14    Q.        What is it?                               14    in New Jersey that bridges my medications and
15    A.        It's the form that I needed to fill       15    treatment when I have big transitions, such as
16    out to get cleared to work and to get that national 16    going from one job to another. So I was still
17    provider identification number.                     17    getting cared -- cared for. I was not sure if this
18    Q.        And is this -- was your start date at     18    question was referring to currently being treated
19    Lebanon on July 1, 2017?                            19    at Timothy Sullivan, because this was intake form
20    A.        No. No, it wasn't. This is much           20    initial visit.
21    sooner.                                             21    Q.         Were you receiving therapy at the time
22    Q.        What does it mean on the form when it     22    you started your residency program?
23    says start date?                                    23    A.         Yes.
24    A.        That -- that is the start date of         24    Q.         From who?
25    having the access and the number. But that's not 25       A.         Sherry Colston.
                                                Page 147                                                       Page 149
 1    saying that it's the start of my rotation.            1   Q.         How often did you see Sherry Colston
 2    Q.        When did you start that rotation?           2   during your residency program?
 3    A.        At the very end of -- I believe very        3   A.         I didn't see her too often during my
 4    last day or so of August 2017, right after I had      4   residency program. She filled in those gaps in
 5    all those meetings per accommodation request and      5   care from before I started when my insurance
 6    they happened right before I was starting at the      6   expired and after I was terminated. But while I
 7    VA.                                                   7   was at Hershey, the main point person that provided
 8             (Exhibit 8 was marked for                    8   me therapy was Michelle Batz.
 9    identification.)                                      9   Q.         Prior to seeing Miss Batz, did you see
10    Q.        I'll direct your attention to Exhibit      10   anyone for therapy while you were in the residency
11    8. Are you familiar with this document?              11   program?
12    A.        Yes, they're my treatment notes with       12   A.         Again Sherry Colston.
13    Michelle Batz from our sessions.                     13   Q.         When did you see her during the
14    Q.        And let me represent to you that your      14   residency program.
15    counsel's office produced these documents in         15   A.         In the beginning months and then after
16    conjunction with this matter. Under the presenting   16   I was terminated.
17    problem, description, it provides client with        17   Q.         What months did you see her at the
18    heightened symptoms with transition to residency.    18   start of the residency program?
19    Do you see that description?                         19   A.         I would have to refer back to my
20    A.        No, can you please repeat what page        20   patient notes to get you exact dates.
21    you're on?                                           21   Q.         And did you see her in person?
22    Q.        I'm on the first page --                   22   A.         It was a mix of in person and remote.
23    A.        Okay.                                      23   Q.         I'm sorry, and -- and what?
24    Q.        -- under description, presenting           24   A.         Remote.
25    problem description.                                 25   Q.         So did you see Miss Colston prior to

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                                                 Page 150                                                    Page 152
 1    seeing Miss Batz?                                      1   individual needs of client. It lists attend
 2    A.        Prior, yes.                                  2   therapy, doesn't it?
 3    Q.        But you don't remember when?                 3   A.        Yes.
 4    A.        No, I just know I saw her either             4   Q.        Were there any other treatment plans
 5    monthly or bimonthly basis, but I can't give you       5   as a result of your July meeting with Dr. Batz?
 6    the date after the top -- off the top of my head       6   A.        Yes, there was also a plan to see a
 7    right now.                                             7   psychiatrist to get medication management.
 8    Q.        Directing your attention to the next         8   Q.        Any other plans?
 9    question, what was helpful with your past              9   A.        To continue to perform self-care as
10    treatment? And there's an answer there,               10   best as I could.
11    medication; do you see that?                          11   Q.        And what do you mean by self-care?
12    A.        Yes.                                        12   A.        Getting sufficient sleep, having a
13    Q.        Were you on medication at the time you      13   good nutritious diet. Being able to exercise
14    started the residency program?                        14   regularly, all of these things help me to be high
15    A.        Yes.                                        15   functioning.
16    Q.        What medication were you on?                16            (Exhibit 10 was marked.)
17    A.        Cymbalta.                                   17   Q.        I'd like to direct your attention to
18    Q.        Anything else.                              18   Exhibit 10. Dr. Salcedo, there are a number of
19    A.        No.                                         19   these faculty evaluation forms that have been
20    Q.        On the next page, 947, there's a            20   produced during the discovery in this case. Are
21    question about history of suicidal ideation; do you   21   you familiar with these forms?
22    see that question, in the lower portion the last      22   A.        Yes.
23    section.                                              23   Q.        Would you receive a copy of these
24    A.        Yes.                                        24   forms at or near time they were issued?
25    Q.        What is that history?                       25   A.        Yes, I believe they would be uploaded
                                                 Page 151                                                    Page 153
 1    A.        It's marked no, because there's no           1   and then I could download them to review them.
 2    history.                                               2   Q.        And did you review them once you
 3    Q.        I'm looking at it. And if you look at        3   uploaded them.
 4    the screen, it appears to say yes.                     4           MS. LOPEZ: Objection,
 5    A.        Oh, the top. Sorry. I was looking at         5   mischaracterizes testimony.
 6    the wrong -- history of suicidal ideation. Yes.        6   Q.        Once you had access to the documents,
 7    So that's marked yes.                                  7   did you review them, the evaluations, did you
 8    Q.        And what is that history?                    8   regularly review them?
 9    A.        When I was younger, I struggled a lot        9   A.        Yes.
10    with my disability.                                   10   Q.        Did you ever submit rebuttals or any
11    Q.        So it was when you were younger?            11   responses to the information contained in these
12    A.        Yep.                                        12   evaluations?
13    Q.        What do you mean by younger?                13   A.        I believe I did ask for a follow-up
14    A.        Teenager.                                   14   and more feedback on the evaluation I got later in
15    Q.        And under the question current              15   the year from Eddison Consult. But for this
16    suicidal ideation, the answer is no, correct?         16   particular evaluation, I did not. I had a
17    A.        Yeah.                                       17   discussion at the end of the rotation with the
18    Q.        Are the rest of your answers on this        18   attending to talk about my performance overall, and
19    form true and correct?                                19   that was my feedback.
20    A.        To the best of my knowledge, yes.           20   Q.        And who was that?
21             (Exhibit 9 was marked.)                      21   A.        Dr. Gishu Gofree.
22    Q.        And directing your attention to the         22   Q.        Are there any documents that you
23    next exhibit, number 9, which is a treatment plan.    23   submitted in response to these faculty evaluations.
24    A.        Okay.                                       24   A.        No.
25    Q.        Under the first number one, objective,      25           (Exhibit 11 was marked.)

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                                                   Page 154                                                       Page 156
 1    Q.        Directing your attention to Exhibit            1   Q.         Well, if you turn to the next page,
 2    11. Are you familiar with this email exchange?           2   there's an ADA Accommodation rm.pdf, isn't there?
 3    A.        Yes.                                           3   A.         Yes.
 4    Q.        What is it?                                    4   Q.         Did you access that form?
 5    A.        It's the email exchange between myself         5   A.         Yes.
 6    and Mark -- Hunder -- Hundertmark, who provided me       6   Q.         How many pages was that form?
 7    the accommodation request form to give to                7   A.         I think it was three to four pages.
 8    Dr. Swallow.                                             8   Q.         Did you produce a copy of that form in
 9    Q.        Now, it said -- did you have an email          9   conjunction with this litigation?
10    address in conjunction with your position at            10   A.         Yes.
11    Hershey Medical Center.                                 11   Q.         The three to four pages of the form?
12    A.        You mean did I have an employee email,        12   A.         I know the part of the form that I had
13    an employee design -- yes.                              13   at the time, which I believe would have only been
14    Q.        Excuse me?                                    14   the first page definitely.
15    A.        Yes.                                          15             MS. CONRAD: Well, I would make a
16    Q.        What was that email address?                  16   formal request that the attachment to this email
17    A.        psalcedo@pennstatehealth.psu.edu.             17   exchange, the complete attachment, be produced in
18    Q.        You didn't use that email address in          18   discovery. I don't believe it's been produced.
19    this exchange, did you?                                 19             MS. LOPEZ: Counsel, I think this form
20    A.        I can't -- I can't tell from this             20   is what I sent you last night.
21    document if I forwarded this to my personal email.      21             MS. CONRAD: Well, see, I have not had
22    It looks as though it was forwarded. And that I         22   the opportunity to review what was sent last night.
23    forwarded it to myself, to my personal email. But       23             MS. LOPEZ: And I tried to describe it
24    I also do see my Penn State email on this exhibit,      24   in the email for your convenience. But there was a
25    as well.                                                25   three- or four-page form that was in Dr. Munoz's
                                                   Page 155                                                       Page 157
 1    Q.        Where?                                         1   file that was the complete form. The only document
 2    A.        Near the top it says,                          2   that we have in discovery or in our possession is
 3    psalcedo@pennstatehealth.psu.edu.                        3   the one page of the ADA form, which you already
 4    Q.        Right. And then I see the from,                4   have.
 5    buddy4732@gmail.com. So doesn't it appear as if          5             MS. CONRAD: Well, I would request
 6    you forwarded from your gmail account to your Penn       6   that Dr. Salcedo return to his personal email
 7    State Health account?                                    7   and/or -- well, probably he cannot access his Penn
 8    A.        That would seem reasonable, yes.               8   State health email, but it should be contained in
 9    Q.        So why were you initially                      9   his gmail account and I would request the copy that
10    communicating with HR Solutions at Penn State           10   he received.
11    Health from your gmail account?                         11             MS. LOPEZ: I will. I will definitely
12    A.        Just coincidence. It's my personal            12   do that.
13    email. And that's what I reached out using.             13             MS. CONRAD: Thank you.
14    Q.        In Miss Hundertmark's message to you,         14   BY MS. CONRAD:
15    she expressly says, please let us know if you have      15   Q.         Oh, and I apologize if I asked this
16    any difficulties bringing up the form or have           16   question, I got sidetracked. Did you follow up
17    questions about it. Do you see that?                    17   with Miss Hundertmark and ask any questions in
18    A.        Yes.                                          18   response to her message to please let her know if
19    Q.        And now there was an attachment with          19   you have any questions?
20    the form, wasn't there?                                 20   A.         No, I didn't have any questions at the
21    A.        There's the form itself. And I see            21   time after meeting with Dr. Swallow.
22    something that says .GIF. So that could be a logo       22   Q.         So what was your understanding when
23    or someone's signature or something there, but it       23   you received this form from HR as to what the next
24    doesn't look like it's a document. It's an image        24   steps were in the accommodation process?
25    of some sort.                                           25   A.         That I would review it with my mental

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 1    health provider, as well as Dr. Swallow. And that         1   A.        No, I was only able to get some. But
 2    that package would get sent to HR.                        2   the ones I was able to screenshot have been
 3    Q.        And did you have any follow-up with HR          3   provided.
 4    about the accommodation process?                          4            (Exhibit 14 was marked.)
 5    A.        No.                                             5   Q.        Let me direct your attention to
 6    Q.        Why not?                                        6   Exhibit 14. What is Exhibit 14?
 7    A.        When I presented this document to               7   A.        That is a treatment provider note from
 8    Dr. Swallow, she gave me the instruction that she         8   Dr. Britt Marshall in the clinic.
 9    would be handing in my accommodations, and that I         9   Q.        How did you obtain a copy of this
10    would be going directly through her and that there       10   patient note?
11    was no need for this form or this process anymore.       11   A.        I believe from the patient side on the
12    Q.        Did you talk to the chiefs about this          12   patient portal, you have access to your notes. So
13    form or this process?                                    13   it would have been something I probably printed
14    A.        No, I already brought this form to             14   out.
15    Dr. Swallow.                                             15   Q.        And this is an outpatient note from a
16    Q.        But you are alleging that you had              16   meeting with Dr. Marshall on August 2017, correct?
17    spoken to the chiefs about accommodation requests,       17   A.        Yes.
18    correct?                                                 18   Q.        And in the first paragraph -- I'm
19    A.        Yes.                                           19   sorry, what?
20    Q.        Why didn't you talk to the chiefs              20   A.        Sorry, 25th.
21    about the accommodation process?                         21   Q.        August 25th, thank you. The first
22    A.        The form seemed more appropriately             22   section is a chief complaint, isn't it?
23    designated for Dr. Swallow as my direct supervisor       23   A.        Yes.
24    and the program director. The chiefs have to             24   Q.        And next section is a history of
25    notify residents that they could reach out with any      25   present illness, isn't it?
                                                    Page 159                                                      Page 161
 1    concerns or scheduling issues. But that's a little        1   A.        Yes.
 2    different than actually completing accommodation          2   Q.        And in that section, she notes a past
 3    request forms.                                            3   medical history of generalize anxiety, social
 4             (Exhibit 13 was marked.)                         4   anxiety, ADHD and major depressive disorder,
 5    Q.        I want to direct your attention to              5   doesn't she?
 6    Exhibit 13. And I will be skipping several of the         6   A.        Yes.
 7    exhibits now that Dr. Salcedo has testified to the        7   Q.        On the next page there's a review of
 8    faculty evaluation process. So I believe we --            8   systems section. And it notes that the patient
 9    this already discussed this email message or              9   does have some social anxiety since beginning his
10    exchange with Dr. Kogut, didn't we?                      10   intern year residency, doesn't it?
11    A.        Yes.                                           11   A.        Yes, yes.
12    Q.        How did you have possession of this            12   Q.        And then it again lists that past
13    email message?                                           13   medical history, doesn't it?
14    A.        I believe that when I was terminated,          14   A.        Yes.
15    one of the actions I took would actions I took was       15   Q.        And then towards the end of the
16    to take screen shots of any email that I thought         16   document, is a section titled assessment and plan;
17    would be relevant or important before I lost             17   do you see that?
18    access.                                                  18   A.        Yes.
19    Q.        And have you produced all of those             19   Q.        And number three refers to a plan
20    screen shots?                                            20   related to the generalized anxiety major depressive
21    A.        Yes.                                           21   disorder and ADHD, doesn't it?
22    Q.        You'll agree with me, won't you,               22   A.        Yes.
23    though, that you did not -- you do not have screen       23   Q.        And what is that plan?
24    shots of all of the email exchanges in this case,        24   A.        To continue my therapy with my
25    do you?                                                  25   therapist and my medication management with my

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 1    psychiatrist.                                         1   A.         During my treatment visit with
 2    Q.        Well, it says well we follow up with        2   Dr. Frank Munoz after our discussion on what
 3    both his psychiatrist and psychologist for further    3   accommodations would suit me best. He wrote this
 4    management, doesn't it?                               4   letter in front of me to give to Dr. Swallow.
 5    A.        Yes.                                        5   Q.         So did I hear you right, after you
 6    Q.        And does the plan make any reference        6   informed Dr. Munoz as to the accommodations that
 7    to accommodations?                                    7   would suit you best, he then drafted this letter?
 8    A.        No. This visit was -- although Britt        8   A.         No. After we had a discussion --
 9    Marshall was part of the program, and on the          9   Q.         Then I didn't hear you correctly. Say
10    competency committee, this was purely a personal     10   it again, please.
11    clinic visit. It was not part of my sequence of      11   A.         After we had a discussion on
12    meetings to request accommodations.                  12   appropriate accommodations that would be helpful,
13    Q.        So Dr. Marshall was not involved in        13   this is what he decided on and wrote down.
14    your accommodation request?                          14   Q.         At the time, did you have any sort of
15             MS. LOPEZ: Objection.                       15   program description, job description, resident
16    Mischaracterization of testimony.                    16   description with you during the August 28th meeting
17    Q.        Was Dr. Marshall involved in your          17   with Dr. Munoz?
18    accommodation request?                               18   A.         No.
19    A.        In her capacity as a chief resident,       19   Q.         Did you provide any information to him
20    yes. In her capacity as my primary care provider,    20   about the program requirements, the residency
21    no.                                                  21   requirements, that needed to be met in your
22             (Exhibit 16 was marked.)                    22   conversation with Dr. Munoz on August 28th?
23    Q.        Directing your attention to Exhibit        23   A.         I believe -- I believe we had a brief
24    16.                                                  24   discussion on the general expectations. But I
25             MS. LOPEZ: Is this for the record,          25   didn't provide additional documentation.
                                                Page 163                                                      Page 165
 1    counsel, we're skipping Exhibit 15, right?            1   Q.          At any time, did you provide
 2             MS. CONRAD: Correct. As I previously         2   documentation to Dr. Munoz about the program
 3    said, having received testimony from Dr. Salcedo      3   requirements?
 4    about the faculty evaluations, there's no reason,     4   A.          No.
 5    nor will I review, those subsequent evaluations       5   Q.          The letter is addressed to whom it may
 6    during this deposition.                               6   concern. Do you see that?
 7             MS. LOPEZ: I understand. I just want         7   A.          Yes.
 8    to make sure, so that when we look back on this in    8   Q.          Do you know why it's not addressed to
 9    a couple months or longer, we have a clear clarity    9   a specific individual?
10    about what happened to the exhibits. And I just      10   A.          That is just how Dr. Frank Munoz wrote
11    wanted to make sure and put it on the record.        11   the letter.
12    BY MS. CONRAD:                                       12   Q.          Did you ask him to address it to
13    Q.        Directing your attention to Exhibit        13   anyone?
14    16, are you familiar with this document?             14   A.          I told him it was for Dr. Swallow.
15    A.        Yes.                                       15   But again, that's just how he wrote the letter. I
16    Q.        What is it?                                16   cannot say why he chose that wording.
17    A.        It's letter of accommodation request       17   Q.          It's also handwritten as opposed to
18    that I received from Dr. Frank Munoz to give to      18   typed. Do you know why it was hand written?
19    Dr. Swallow at the end of August of 2017.            19   A.          I would lean towards the side of
20    Q.        And it's dated August 28, 2017, isn't      20   Dr. Frank Munoz is a little more traditional and
21    it?                                                  21   still uses fax and keeps a lot of paper files and
22    A.        Yes.                                       22   that's just how he does things.
23    Q.        And when did you obtain this document?     23   Q.          This appears to be a photo of the
24    A.        August 28, 2017.                           24   letter, is it?
25    Q.        And how did you obtain this document?      25   A.          Yes.

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 1    Q.         Why did you take a photo of the                1   supervisor.
 2    letter?                                                   2   Q.        Then why did you even raise the issue
 3    A.         For my record.                                 3   of accommodations with the chiefs?
 4    Q.         Do you have the original?                      4   A.        Again, to be proactive to see what was
 5    A.         I believe so. I believe that's                 5   available, and how to be working more closely with
 6    already been shared.                                      6   the chiefs and the chiefs had prior to sending an
 7    Q.         The original has been sent?                    7   email to all the residents, saying that if we had
 8    A.         I believe so.                                  8   any concerns, anything we wanted to talk about or
 9              MS. CONRAD: We'll review our records.           9   any requests, to meet with them, to reach out. So
10    If it has not, then I'll request production or an        10   that's exactly what I did.
11    opportunity to review the original.                      11   Q.        Well, why not be proactive with the
12              MS. LOPEZ: No problem.                         12   chiefs and show them this letter that addressed
13    BY MS. CONRAD:                                           13   accommodations?
14    Q.         And I'm sorry. I may have asked this.         14            MS. LOPEZ: Objection. Argumentative
15    Why did you take a photo of it?                          15   and asked and answered.
16    A.         For my records.                               16   Q.        You can answer.
17    Q.         When did you take a photo of it?              17   A.        I was proactive with the chiefs. I
18    A.         Shortly after receiving it. I'm not           18   organized the meeting to meet with them and reached
19    sure. Probably when I got back home.                     19   out initially.
20    Q.         Was that before you allegedly had a           20            This letter was not intended for the
21    meeting with Dr. Swallow?                                21   chiefs, because the chiefs only have so much power
22    A.         Yeah. I took a picture of this before         22   over my schedule. There's things that they can
23    I had the meeting with Dr. Swallow on the 30th.          23   help with and accommodations they can try to put
24    Q.         Did you ever share this letter to the         24   into place. Ultimately, as the resident agreement
25    chiefs?                                                  25   noted, the person responsible for my scheduling,
                                                    Page 167                                                      Page 169
 1    A.         No. This letter was intended for               1   duty hours and modifications is the program
 2    Dr. Swallow. She was the only person I gave it to.        2   director, Dr. Swallow.
 3    Q.         It says, to whom it may concern,               3   Q.        When you sent an email to Dr. Kogut on
 4    doesn't it?                                               4   October 4, 2017, sometime after August 28th, and
 5    A.         I understand that. But the letter was          5   that's when what you expressed concern about
 6    intended for Dr. Swallow. So it was given to              6   starting wards; do you recall that email?
 7    Dr. Swallow.                                              7   A.        Yes.
 8    Q.         But you were talking -- according to           8   Q.        Why didn't you raise in October of
 9    your testimony, you were talking about                    9   2017 when you were -- had concerns about starting
10    accommodations with the chiefs, weren't you?             10   wards, some of these suggestions from Dr. Munoz?
11    A.         Yes. That was me being very proactive         11   A.        I believe I did raise them. There's
12    and reaching out to multiple channels to get help        12   an email communications in which I can prompt and
13    on different fronts.                                     13   request accommodations. There's one in October and
14    Q.         Why then, if you're talking to the            14   one in November.
15    chiefs about accommodations, you didn't show them        15   Q.        To who?
16    this letter that addressed accommodations.               16   A.        One is addressed to Dr. James Kogut.
17    A.         Well, if you recall, I met with them          17   And one is addressed to Dr. Nicole Swallow.
18    on the 25th of August. So this letter did not yet        18   Q.        And did you send Dr. Kogut the Dr.
19    exist. It was written August 28th.                       19   Munoz August 28th, 2017 letter in conjunction with
20    Q.         Well, you continued to meet with them         20   that communication.
21    after August 28th, didn't you?                           21            MS. LOPEZ: Objection. Asked and
22    A.         Yes. After I gave the letter to               22   answered.
23    Dr. Swallow, and she said she understood there           23   Q.        You can answer the question.
24    would have been no need to show the letter to            24   A.        Again, no, because he was not the
25    anyone else. Dr. Swallow is my direct reporting          25   appropriate person to give that letter to.

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 1    Q.        In November when you had this                  1   A.         No.
 2    communications with Dr. Swallow, did you attach and      2   Q.         Do you make any reference to the
 3    remind her about Dr. Munoz's recommendations?            3   accommodation form in this email?
 4    A.        I reminded her about the need for              4   A.         No. This was simply a follow-up email
 5    accommodations, but having -- having given her the       5   out respect and being polite.
 6    form already, I did not attach it again.                 6             (Exhibit 18 was marked.)
 7    Q.        Why not?                                       7   Q.         Let me direct your attention to
 8    A.        Because I didn't see the need to               8   Exhibit 18. What is Exhibit 18?
 9    attach a form again that I had already presented to      9   A.         It starts with the email -- I mean,
10    Dr. Swallow.                                            10   text message thread between myself and Dr. Kogut.
11             (Exhibit 17 was marked.)                       11   Q.         And what is the communications about?
12    Q.        Directing your attention to an email          12   A.         First it seems I'm reaching out to
13    at Exhibit 17. Now the meeting you had with             13   talk to Dr. James Kogut again. He notes he has an
14    Dr. Swallow in which you allegedly presented to         14   interview tomorrow, but that we'll be in touch once
15    Dr. Munoz handwritten note was when?                    15   it's finished. And I say, no rush, good luck
16    A.        August 30th.                                  16   tomorrow. And there seems to be 10/23, good
17    Q.        And as you look at Exhibit 17, what is        17   morning, James. And there's February 24th, 2018,
18    it?                                                     18   hey James, it's Pablo. Can I talk to you when you
19    A.        It's an email, again, of me as                19   have a time? And that would be the time where I
20    customary of me to respond, being polite and            20   subsequently removed myself from service.
21    following up after a meeting, thanking her for her      21   Q.         So these text messages range from
22    time for, listening to me and for providing the         22   September 2017 to February 2018, correct?
23    support?                                                23   A.         Yes.
24    Q.        Well, let's break it done a little            24   Q.         Are these the only text message
25    bit. So after the meeting that you had with             25   exchanges you had with Dr. Kogut?
                                                   Page 171                                                    Page 173
 1    Dr. Swallow on August 30th in which you allegedly        1   A.        To the best of my knowledge, yes.
 2    presented an accommodation form, and then the Munoz      2   Q.        Have you made a complete search of
 3    letter, you sent her an email and thanked her for        3   your cell phone and your cell phone records?
 4    meeting with you, right?                                 4   A.        Yes.
 5    A.         Yes.                                          5            (Exhibit 20 was marked.)
 6    Q.         And you say, I'm really happy and             6   Q.        I'll direct your attention to Exhibit
 7    relieved at the support that has been extended to        7   20. Are you familiar with this document?
 8    me here; do you see that?                                8   A.        Yes.
 9    A.         Yes.                                          9   Q.        What is it?
10    Q.         You say, I did not expect that, don't        10   A.        It's another reminder for myself to
11    you?                                                    11   Dr. Swallow on October 30th, 2017 to implement some
12    A.         Yes.                                         12   of the accommodations that were previously
13    Q.         You go on to say, I will do my very          13   discussed.
14    best -- oh, it made the world of difference to know     14   Q.        You don't use the word accommodations,
15    you're not alone, don't you?                            15   do you?
16    A.         Yes.                                         16   A.        I say if we can implement anything
17    Q.         And you go on to say, I'll give my           17   that we've talked about to make the transition
18    very best to stay strong and get over this anxiety,     18   easier, which would be the accommodations.
19    don't you?                                              19   Q.        You don't use the word accommodation
20    A.         Yes.                                         20   in the email, do you?
21    Q.         And then you add a P.S., sorry for the       21   A.        No.
22    anxious tears, don't you?                               22   Q.        And this email, it takes place on
23    A.         Yes.                                         23   October 30th, 2017, doesn't it?
24    Q.         Do you make my reference to the Munoz        24   A.        Yes.
25    letter in this email?                                   25   Q.        So what -- and it's before you start

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 1    wards, correct?                                        1   be that specific.
 2    A.        Yes.                                         2            MS. CONRAD: Let me rephrase.
 3    Q.        So what had you discussed with               3   BY MS. CONRAD:
 4    Dr. Swallow prior to starting wards in late October    4   Q.        Dr. Salcedo, as you reference in
 5    of 2017?                                               5   Exhibit 20, did you meet with Dr. Swallow prior to
 6             MS. LOPEZ: Counsel, do you mean at            6   starting wards?
 7    any time?                                              7   A.        Yes.
 8             MS. CONRAD: No.                               8   Q.        Did you meet with Dr. Swallow prior to
 9    BY MS. CONRAD:                                         9   starting wards to see if we can implement anything
10    Q.        You say -- Dr. Salcedo, you say, it         10   that we talked about to make the transition easier?
11    would be great to meet sometime prior to when I       11   A.        Yes, on August 30th.
12    start wards to see if we can implement anything       12   Q.        But this email is October 30th.
13    that we talked about to make the transition easier;   13   A.        Yes. And I still had not gotten --
14    do you see that statement?                            14   Q.        What did you discuss in October --
15    A.        Yes.                                        15   what did you discuss on August 30th about wards?
16    Q.        Is the transition you're referring to       16   A.        We discussed the need to have a
17    the transition to starting wards?                     17   modified schedule and reduced work hours to offer
18    A.        Yes.                                        18   for better sleep.
19    Q.        So what had you discussed with              19   Q.        In order to transition into wards?
20    Dr. Swallow about implementing to make the            20   A.        In order for me to be able to have my
21    transition easier to wards, to wards?                 21   disability addressed and to be high functioning and
22    A.        We had discussed modifying my schedule      22   to excel in the new wards.
23    to make it less erratic and more consistent and so    23   Q.        And did you specifically discuss wards
24    that it would provide more time for self-care and     24   in your August 30th meeting?
25    sleep.                                                25   A.        Yes. If you recall the dates, the
                                                Page 175                                                    Page 177
 1    Q.         And when did you have that discussion     1     August 30th meeting was also prompted by starting
 2    with Dr. Swallow?                                    2     wards, the VA wards. So shortly after that
 3    A.         On August 30th, as well as December       3     meeting, I started my rotation of the VA wards.
 4    14.                                                  4     Q.        Then why were you asking on October
 5    Q.         August 30th and when else?                5     30th, to meet prior to starting wards?
 6    A.         December 14th.                            6     A.        So the way the schedule works, it's
 7    Q.         December?                                 7     not consistently one rotation throughout the whole
 8    A.         Yes.                                      8     year. So I could be doing a bulk of wards for two
 9    Q.         Okay. I'm focusing on pre-September       9     weeks, and then going to an elective.
10    -- pre-November. You're about to start wards,       10              So, I was about to start again a bulk
11    right?                                              11     of ward rotations. And that prompted that email
12    A.         Yes.                                     12     before I started that bulk of rotation.
13    Q.         And in this email, you ask to meet       13     Q.        So the two meetings you had with
14    prior to starting wards to implement anything we've 14     Dr. Swallow to -- in which you discussed
15    talked about to make the transition to wards        15     implementing things to make the transition easier,
16    easier, right?                                      16     took place on August 30th and December 14th; is
17    A.         Yes.                                     17     that right?
18    Q.         So when did you meet with Dr. Swallow 18        A.        If you were including all meetings,
19    to discuss the transition to wards, to wards?       19     you would have to include February 26th, also.
20             MS. LOPEZ: I'm going to have to            20              Is it possible to take a small
21    object, because I think there's no foundation for   21     restroom break. I don't know how short we can do
22    that particular fact. If you're asking, did you     22     it.
23    meet with Dr. Swallow to discuss the transition to 23               MS. CONRAD: It's currently 2:49. Do
24    wards, then I think I understand your question.     24     we want to take a break and return at 3:00?
25    But as it's stated, I'm not sure I understood it to 25              MS. LOPEZ: That's fine with me.

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 1             THE VIDEOGRAPHER: Okay. Let me just              1   23? Are you familiar with this document?
 2    go off the record. It's 2:49 p.m. and we're going         2   A.        Yes.
 3    off the record.                                           3   Q.        What is it?
 4             (Discussion held off the record.)                4   A.        It's my duty hours or my log hours.
 5             (A break was taken.)                             5   I'm required as part of my job to record the hours
 6             THE VIDEOGRAPHER: The time is now                6   that I work.
 7    3:03 p.m. We're going back on the record.                 7   Q.        So I want to make sure I understand
 8             MS. LOPEZ: Before we start, we did               8   your testimony. You make a record of the hours
 9    have an exchange with -- counsel had an exchange.         9   that you work; is that correct?
10    And I just want to state that we are -- plaintiff        10   A.        Yes.
11    is reserving all objections except as to form of         11   Q.        And how do you record them?
12    the question until trial. And also, the Plaintiff        12   A.        So I believe there was a portal or
13    would like to read and sign this deposition.             13   some type of web interface application for you
14             In addition, we conferred further               14   would log in and you would be able to report your
15    about the need for additional time. And just to be       15   time for the day. And you could mark it, the
16    clear, plaintiff is willing to continue until day's      16   training location, what type of duty and then you
17    end to complete the exhibits and review the              17   would just save it. And every so often you would
18    deposition that were planned for today and discuss       18   have to submit almost like how you do with time
19    additional time as needed. But we were -- we             19   stubs.
20    object to having the day end earlier than 5:00,          20   Q.        So was there a time clock which
21    especially given that we were prepared to go             21   actually recorded the time you started on the
22    forward for seven hours of depositions today. I          22   service until the time you clocked out?
23    just want to put that on the record.                     23   A.        No. There was only the designated
24             MS. CONRAD: And I just briefly want             24   time that you were considered on duty. So these
25    to add to the record that we -- I have no issue          25   hours largely reflect that. And sometimes they
                                                    Page 179                                                   Page 181
 1    with continuing the deposition until 5:00 tonight.   1        would be more, even though if I was scheduled a
 2    I do, as I noted in the start of the deposition, we  2        certain amount of hours, I may exceed those hours
 3    received a supplemental production late last night, 3         depending on the patient load that day.
 4    as well as early this morning. And I have not had 4                    (Exhibit 24 was marked.)
 5    the opportunity to review those documents.           5        Q.        And my question then goes to Exhibit
 6             So in light of the fact that we will        6        23. This is your recording of the hours, correct?
 7    need to recall the witness for a second day to       7        A.        Yes.
 8    review that late production, I will continue with    8        Q.        I want to direct your attention to
 9    whatever remaining time there is to conclude the     9        Exhibit 24. Are you familiar with this document?
10    deposition as well as make a determination whether 10         A.        I have seen it, yes.
11    we will seek additional time for the plaintiff's    11        Q.        Did you see it prior to discovery?
12    continued deposition. Are we ready to proceed?      12        A.        No.
13             MS. LOPEZ: Yes.                            13        Q.        Do you know what -- can you explain
14             MS. CONRAD: Thank you.                     14        this document?
15    BY MS. CONRAD:                                      15        A.        Yeah, so these -- this document is
16    Q.         Dr. Salcedo, were you aware that in      16        taking those core competencies and trending them
17    November of 2017, mid-year resident reviews were 17           through time. However, the different categories,
18    about to commence?                                  18        there's only one time. There's only a recording
19    A.         No.                                      19        for December 2017. So it's actually incomplete,
20    Q.         Did you receive any information about    20        because you can't trend with just one date. So
21    a mid-year review by the clinical competency        21        these markings are only showing scores for December
22    committee?                                          22        2017.
23    A.         Not that I can recall.                   23        Q.        And it's titled on the left-hand side
24             (Exhibit 23 was marked.)                   24        CCC Milestone Review. Do you know what that means?
25    Q.         Can I direct your attention to Exhibit   25        A.        That's related to the clinical

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                                                  Page 182                                                       Page 184
 1    competency committee meeting in which they evaluate     1   amnestic episode. And so by that very nature, I
 2    residents' progress through the year.                   2   don't remember that much from this day or this
 3    Q.         And there are numbers following the          3   event.
 4    round chart under December 2017. There are numbers      4   Q.        Do you remember calling Dr. Marshall?
 5    that start with 3.0. Do you know what those             5   A.        No.
 6    numbers signify.                                        6   Q.        Do you recall informing Dr. Marshall
 7    A.         I believe they're the score that you         7   that you had your step three exam that morning and
 8    would have received from the evaluator on a scale       8   couldn't see very well?
 9    of zero to five.                                        9   A.        No, I don't remember that
10    Q.         Did you receive any fives?                  10   conversation.
11    A.         I believe I may have received a five        11   Q.        Do you remember the phone being passed
12    or a couple fours.                                     12   to your roommate Antonio?
13    Q.         I'm directing your attention to             13   A.        No. But I do remember my roommate
14    Exhibit 24. Did you receive any -- a score of five     14   being there driving.
15    in any of these listings?                              15   Q.        Do you remember going to the grocery
16    A.         I'm a little unclear if this is a           16   store either that morning or the prior evening?
17    compilation of all scores, or if this is one score     17   A.        I do remember going to the grocery
18    in time, as in an evaluation from one person; or if    18   store. I went to Giant and bought fruit.
19    it is the sum of all the evaluations from all my       19   Q.        Do you remember to admitting to
20    evaluators. And these are --                           20   driving on the wrong side of the road?
21    Q.         Mr. Salcedo, regardless of how it is        21   A.        No.
22    compiled, on the CCC Milestone Review at Exhibit       22   Q.        Do you remember the dent on your car?
23    24, did you receive a score of five in any             23   A.        I saw it after, afterwards, the
24    category?                                              24   scratch at the bottom of the car trim that I
25    A.         I'm not seeing a five there.                25   visually inspected after the fact, after the
                                                  Page 183                                                       Page 185
 1    Q.         We can agree, can't we, that you             1   amnestic side effects wore off.
 2    received one score of four, correct?                    2   Q.        And could you remember how that
 3    A.         Yes.                                         3   scraping or that dent happened?
 4    Q.         And I believe there are three scores         4   A.        At the time, no.
 5    of three -- oh, no, five scores of 3.5; is that         5   Q.        Do you have any recollections up until
 6    correct?                                                6   today?
 7    A.         Yes.                                         7            MS. LOPEZ: Recollection of?
 8    Q.         And the remaining scores were 3.0?           8   Q.        What happened to your car.
 9    A.         Correct.                                     9   A.        No, I can just give you the best
10              (Exhibit 25 was marked.)                     10   assumption of auto mechanics and people that work
11    Q.         And I want to direct your attention to      11   on cars, that it looks like I scraped the bottom of
12    Exhibit 25. This is exhibit dated December 6th,        12   a curb, like sort of the parking dividers.
13    2017. And it's from Dr. Marshall to Dr. Swallow;       13   Q.        Do you recall that you couldn't locate
14    do you see that designation?                           14   your cell phone?
15    A.         Yes.                                        15   A.        I believe, yes.
16    Q.         Have you seen this document prior to        16   Q.        Do you recall Dr. Marshall
17    the exchange of discovery documents?                   17   recommending that you go to the emergency room?
18    A.         No.                                         18   A.        No.
19    Q.         I just want to walk you through it and      19   Q.        Do you recall stating that you wanted
20    see if you agree with the information that             20   to go take the test?
21    Dr. Marshall recorded. She relates that at 7:32        21   A.        No.
22    this morning, meaning December 6th, she was            22   Q.        At the time were you using Xanax or
23    initially called by Pablo; is that correct?            23   alcohol or any other substance?
24    A.         Again, I will preface my subsequent         24   A.        I'm not a drinker, so I can
25    responses with the fact that I'm experiencing          25   definitively say I was not using alcohol. And at

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                                                 Page 186                                                  Page 188
 1    the time I was taking the prescribed medications       1            MS. LOPEZ: So then my objection is
 2    that were given to me. But it wasn't Xanax. It         2   compound question.
 3    was Cymbalta and another, diazepam.                    3   BY MS. CONRAD:
 4    Q.        How did you get to the exam?                 4   Q.        Do you agree with Dr. Snyder's -- not
 5    A.        My roommate drove me.                        5   Snyder -- Dr. Marshall's assessment that begins
 6    Q.        Did you contact your psychiatrist and        6   with, the likely conclusion?
 7    psychologist after the exam?                           7   A.        No, I don't agree fully with that
 8    A.        Yes.                                         8   statement. I would agree with the component that I
 9    Q.        And what was the result of that              9   need to follow up with my mental healthcare
10    content?                                              10   providers to get cleared to discontinue the
11    A.        My psychiatrist discontinued the            11   medication.
12    medication that caused the adverse side effect.       12            But my -- all my mental health
13    Q.        Dr. Marshall in the second paragraph        13   providers were in agreement that it was, in fact,
14    says that she spoke to Dr. Swallow, that she will     14   the medication that caused the adverse medical side
15    email and text you to meet with Dr. Swallow           15   effect and that there are not other potential
16    tomorrow, and the likely conclusion is that he will   16   causes for erratic behavior.
17    need to meet with his psychiatrist to formally        17   Q.        So you agreed that you would have to
18    evaluate him for fitness for duty and possibly an     18   be evaluated for fitness for duty; is that correct?
19    evaluation for other potential causes for this        19   A.        No. I would agree that I needed to
20    erratic behavior. Do you see that statement by        20   follow up with my psychiatrist. That fitness for
21    Dr. Marshall?                                         21   duty language is something from Dr. Swallow.
22    A.        Yes.                                        22   That's not terminology that I would use.
23    Q.        Do you agree with that assessment?          23   Q.        How do you know it's not from
24    A.        Are you --                                  24   Dr. Marshall?
25             MS. LOPEZ: Are you asking whether he         25   A.        Because Dr. Swallow requested fitness
                                                 Page 187                                                  Page 189
 1    agrees that that is what is written?                   1   for duty forms subsequently in her meeting. And
 2    BY MS. CONRAD:                                         2   this fitness for duty forms are addressed here.
 3    Q.        Do you agree that you would -- would         3   Q.        Dr. Marshall references fitness for
 4    need to meet with your psychiatrist to be evaluated    4   duty, December 6, 2017, at 10:18 a.m., doesn't she?
 5    for fitness for duty and possibly an evaluation for    5   A.        Yes. Again, that's why I -- I can't
 6    other causes?                                          6   speculate on what she was thinking or her logic
 7             MS. LOPEZ: Calls for speculation.             7   when she wrote that.
 8             THE WITNESS: I would --                       8   Q.        All right. So we'll defer to
 9             MS. CONRAD: I'm sorry. Both of you            9   Dr. Marshall to explain.
10    were talking at the same time.                        10            And, Dr. Marshall also writes, I'm
11             MS. LOPEZ: My objection is calls for         11   also aware that he's become dependent on my
12    speculation. He's already testified he doesn't        12   support. Do you see that reference?
13    remember what occurred during that day. And he        13   A.        Yes.
14    went through with you the facts of what he does       14   Q.        Had you become dependent on
15    remember and what he doesn't remember.                15   Dr. Marshall for support?
16             MS. CONRAD: He said that there was an        16   A.        I reached out to her for support,
17    agreement that he would contact his psychiatrist      17   because she said to reach out to her for support.
18    and psychologist.                                     18   So I think that comment of dependency might be
19             MS. LOPEZ: So are you asking --              19   subjective. I didn't view it as dependency. I
20             MS. CONRAD: My question then is --           20   viewed it as reaching out for help to my
21             MS. LOPEZ: Okay.                             21   leadership.
22             MS. CONRAD: Do you agree that your           22            (Exhibit 26 was marked.)
23    psychiatrist would have to evaluate you for fitness   23   Q.        Let me show you the document that's
24    for duty, as well as potentially evaluate for other   24   marked Exhibit 26.
25    potential causes for this erratic behavior?           25            By the way, did you ever discuss the

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                                                     Page 190                                                  Page 192
 1    events with Dr. Marshall after December 6th, 2017?         1   A.         I can -- I can look. If I do, I'll
 2    A.          No.                                            2   find them. But I'm not 100 percent certain.
 3    Q.          Why not?                                       3             MS. CONRAD: I would make a formal
 4    A.          Not that I recall. Because I had --            4   request for those text messages.
 5    our meeting had already been arranged to discuss it        5             (Request.)
 6    with Dr. Swallow. So it was discussed with                 6   Q.         Directing your attention to the second
 7    Dr. Swallow.                                               7   paragraph. Do you recall Dr. Swallow asking you
 8              (Exhibit 26 was marked.)                         8   how you were feeling?
 9    Q.          Turning to Exhibit 26. Are you                 9   A.         No, I don't really recall that. I
10    familiar with this document?                              10   believe she did ask how I was doing, along the
11    A.          Yes.                                          11   lines of today, and I mentioned that I was feeling
12    Q.          When was the first time you saw it?           12   better than the day before. But that's as much
13    A.          During discovery exchange.                    13   detail as I can give.
14    Q.          Did you meet with Dr. Swallow on              14   Q.         She goes on to summarize information
15    December 7?                                               15   that you stated to her in the meeting. Do you
16    A.          I believe so.                                 16   recall stating any of that information to her in
17    Q.          And have you had the opportunity to           17   your meeting on December 7th?
18    review -- well, let's go through it paragraph by          18   A.         I don't recall stating these items,
19    paragraph.                                                19   but I do know that some of them did occur. So I
20              Is there anything in the first                  20   have to have said of some of them, such as going to
21    paragraph that you disagree with?                         21   the grocery store.
22    A.          This is an odd document in the sense          22   Q.         Is there any statements in paragraph
23    that I still had residual amnestic side effects.          23   -- in the second paragraph that did not occur?
24    So the event was from December 6th into December          24   A.         Again, I can't definitively tell you
25    7th. So I was still experiencing symptoms of              25   that if I don't remember.
                                                     Page 191                                                  Page 193
 1    amnesia. So I can't recollect this meeting to its          1   Q.        Let's skip down to the end of the
 2    fullest. But I can state that I don't recall her           2   second paragraph. Dr. Swallow asked you if the
 3    stating that.                                              3   symptoms resolved during the test. And you noted
 4    Q.        Well, let's start with the first                 4   while taking the test the words appeared in 3-D.
 5    paragraph then. We'll have to go through this line         5   Do you recall telling Dr. Swallow that information?
 6    by line. Did you meet with Dr. Swallow the morning         6   A.        No, I don't recall that. I don't
 7    of December 7th?                                           7   recall even taking the -- the exam.
 8    A.        Yes.                                             8   Q.        The last sentence, Dr. Swallow reports
 9    Q.        Did you contact Dr. Marshall around 7            9   that you told her that even as of the morning of
10    a.m. on December 6th?                                     10   December 7th, you were continuing to have double
11    A.        Again, on December 6th, I was in the            11   vision and that you were seeing two of her. Do you
12    full height of amnestic episode. I can't recall           12   recall that?
13    that.                                                     13   A.        No. It's possible though.
14    Q.        There's a reference in the last                 14   Q.        Do you recall, staring in the third
15    paragraph to attach documentation, including the          15   paragraph, Dr. Swallow asking if you felt safe to
16    text message exchange.                                    16   continue patient care in light of these symptoms?
17             Did you have a text message exchange             17   A.        No.
18    -- the end of the first paragraph. On the morning         18   Q.        Do you recall your response to that
19    of December 6th, were there text messages                 19   question?
20    exchanged?                                                20   A.        No.
21    A.        Yes, between my roommate, myself and            21   Q.        Do you recall acknowledging that there
22    Dr. Marshall. But it says they should be attached         22   were concerns?
23    to this document.                                         23            MS. LOPEZ: Objection. Vague.
24    Q.        Well, do you have copies of those text          24   BY MS. CONRAD:
25    messages?                                                 25   Q.        I will direct your attention to the

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                                                   Page 194                                                      Page 196
 1    last two sentences of paragraph three. Do you            1   Q.        Do you recall Dr. Swallow reviewing
 2    recall providing that information?                       2   with you that you needed to meet with your medical
 3    A.        No.                                            3   providers and discuss the events of the previous
 4    Q.        Directing your attention to the next           4   day and your fitness to return to duty?
 5    page, do you recall Dr. Swallow informing you that       5   A.        Vaguely, but I might be attributing
 6    she had a concern that there could be a risk to          6   that to the follow-up communications after this
 7    patient safety to continue -- for you to continue        7   meeting, in which I was back to baseline and then
 8    to care for patients with the current ongoing            8   my memory was back.
 9    symptoms?                                                9   Q.        Do you recall Dr. Swallow asking you
10    A.        No, I don't remember this                     10   to contract her by Friday, December 8th, which
11    conversation.                                           11   would be the following day, to discuss the details
12    Q.        Do you remember her also saying she           12   of his upcoming appointments?
13    was equally concerned about erratic events, about       13   A.        I don't remember her saying that. But
14    your erratic events and unclear recollection of         14   I know that she wrote those instructions down.
15    them?                                                   15   Q         And were you removed from clinical
16    A.        No.                                           16   duties during your leave of absence?
17    Q.        Would you agree with me that if you           17   A.        Yes. During my leave of absence, I'm
18    were unable to recall the events that had occurred      18   not on clinical duty.
19    the prior day, that was a matter of concern?            19   Q.        I'm sorry, what?
20    A.        I would agree.                                20   A.        When I -- I was not at -- on clinical
21    Q.        Do you recall Dr. Swallow informing           21   duty prior to the event, during or after, and then
22    you that she was going to place you on a medical        22   subsequently when I was on the medical leave of
23    leave of absence pending a fitness for duty             23   absence, there are no clinical duties.
24    evaluation?                                             24   Q.        I'm directing your attention to
25    A.        I do vaguely remember some of that.           25   exhibit 27.
                                                   Page 195                                                      Page 197
 1    But I think what prompts the memories, the symptoms      1             (Exhibit 27 was marked.)
 2    basically dissipated by the following day. And           2   Q          Are you familiar with this document?
 3    there was follow-up email exchange of remembering        3   A.         Yes, I think this is exactly what I
 4    to get these documents. So that's how I knew that        4   was referring to about the clearer directions that
 5    I was on medical leave and that I needed to get          5   I knew to follow after the meeting.
 6    these fitness to return to work documents.               6   Q.         When did you receive this document?
 7    Q.        And do you recall Dr. Swallow -- or            7   A.         I believe it was the same day as this
 8    telling Dr. Swallow you had additional physical          8   meeting with Dr. Swallow so --
 9    complaints that had arisen and were new for him --       9   Q.         Did you understand what was required
10    or you?                                                 10   from you as summarized in this document?
11    A.        Uh-huh, no.                                   11   A.         Within a day or so, yes.
12    Q.        Do you recall Dr. Swallow informing           12   Q.         Did you object to any of these
13    you that it was a conflict of interest to pursue        13   conditions?
14    care with one of your resident colleagues, and it       14   A.         No. Some of them seem odd. But as
15    was in your best interest to have a medical             15   the student training employee I was just following
16    evaluation by someone else?                             16   directions. And I didn't object to anything.
17    A.        No, I don't recall that. And that's           17   Q.         Which item seemed odd?
18    also an odd statement, because the chief resident,      18   A.         The specification that I did it to be
19    part of the competency committee volunteered to be      19   -- that I couldn't be cleared by a doctor of my
20    my primary care provider. And she did not disclose      20   choosing. But that I was required to use a doctor
21    that information. So I had no way of knowing.           21   associated with the hospital system.
22    Q.        Do you know if there were any policies        22   Q.         And where is that addressed --
23    that addressed conflict of interest in treating         23   A.         Number two.
24    with colleagues?                                        24   Q.         -- in Exhibit 27?
25    A.        No.                                           25   A.         Number two. Hope Drive is the

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                                                    Page 198                                                   Page 200
 1    hospital's clinic.                                        1   psychiatrist?
 2    Q.        Did you ask to obtain a medical                 2   Q.        Was your psychiatrist at Hope Drive?
 3    evaluation from some medical provider other than at       3   A.        I think that's exactly my point.
 4    Hope Drive?                                               4   She's telling me where I need to get cleared at
 5    A.        I got a clear medical evaluation from           5   rather than tell me --
 6    my provider in addition to the provider at Hope           6   Q.        Where was your psychiatrist located?
 7    Drive. So I gave multiple.                                7   She's only saying you can't go to a resident
 8    Q.        And doesn't number two say you need to          8   provider who is at Hope Drive, isn't she?
 9    schedule a medical evaluation with a non-resident         9   A.        She's saying I need to schedule a
10    provider at Hope Drive?                                  10   medical -- medical evaluation with a provider at
11    A.        Yes.                                           11   Hope Drive. She's telling me to go to Hope Drive.
12    Q.        So, again, what is your objection?             12   Q.        Did you ask her what was meant by that
13             MS. LOPE: Objection.                            13   statement?
14    Mischaracterization of testimony. He said it was         14   A.        No. But she did clarify in a
15    odd, not that he objected.                               15   subsequent email that it was okay to see my
16             MS. CONRAD: Oh, I'm sorry.                      16   provider. So someone else must have caught that
17    BY MS. CONRAD:                                           17   something wasn't exactly right there, because she
18    Q.        What was odd about the requirement             18   had to clarify that it was okay for me to be
19    that you needed to schedule a medical evaluation         19   cleared by a doctor Of my choosing.
20    with a non-resident provider at Hope Drive?              20   Q.        Isn't medical separate from
21    A.        I've never been told that I could only         21   psychological?
22    see a certain group of doctors. Usually it's the         22   A.        No. Psychological would be a
23    patient's choice of what doctor they will see and        23   specialty or a subcategory of medical, I would say.
24    get care with. I thought it was odd that I was           24   Q.        If you had a question about whether or
25    told I could only see certain providers that were        25   not you could be evaluated by a non-resident
                                                    Page 199                                                   Page 201
 1    affiliated with the hospital.                             1   provider at Hope Drive, why didn't you ask did
 2    Q.        Well, wouldn't you agree that                   2   Dr. Swallow what that meant?
 3    Dr. Marshall was one of your chief residents that         3            MS. LOPEZ: Objection. Asked and
 4    oversaw your performance as a resident, wasn't she?       4   answered.
 5    A.        Yes.                                            5   Q.        I asked if he did ask her. My
 6    Q.        And you sought out Dr. Marshall for             6   question now is, why didn't you ask her?
 7    medical treatment, didn't you?                            7   A.        I was just following the instructions
 8    A.        Yes.                                            8   given to me. I noted that it was -- seemed quite
 9    Q.        And you thought it odd that                     9   odd. I didn't object to it though. I followed the
10    Dr. Swallow was concerned there might be a conflict      10   directions that were given to me by my supervisor.
11    of interest in having a chief resident who was           11   Q.        Can a psychologist do a medical
12    supervising you treat you medically?                     12   evaluation?
13    A.        No, I thought it was odd that she              13   A.        He's doing a psychiatric evaluation.
14    would say that my medical care provider, who             14   I would -- I would say that he's more fit to do
15    specializes in mental health, was not sufficient.        15   that evaluation than a general medical doctor who
16    But that a provider at a clinic that was associated      16   doesn't specialize in, psychiatry and that's who
17    with the hospital, who was not a psychiatrist, was       17   I'm being asked to see.
18    sufficient. It's a little odd.                           18            (Exhibit 28 was marked.)
19    Q.        Where does it say that?                        19   Q.        Let's look at Exhibit 28. Are you
20    A.        The provider at Hope Drive. Hope               20   familiar with this document?
21    Drive is the clinic center at the hospital.              21   A.        Yes.
22    Q.        It says you need to schedule a medical         22   Q.        What is it?
23    provider -- you need to schedule an evaluation with      23   A.        It's a return to work clearance to
24    a non-resident provider at Hope Drive?                   24   return to work after the amnestic episode.
25    A.        Yes. Why -- why shouldn't I go to my           25   Q.        And who is this document from?

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                                                   Page 202                                                    Page 204
 1    A.         Dr. Frank Munoz.                              1   BY MS. CONRAD:
 2    Q.         And is the document handwritten or is         2   Q.        And you agree with me he did not, did
 3    it typed?                                                3   he?
 4    A.         This one is typed.                            4           MS. LOPEZ: Asked and answered.
 5    Q.         And does it list any type of                  5   Q.        Did he?
 6    accommodation requirements in conjunction with your      6           MS. LOPEZ: Asked and answered.
 7    return to work on December 12th?                         7   Q.        Did he? You may answer the question.
 8    A.         No. This form had clear instructions          8   A.        Can You repeat the question?
 9    from Dr. Swallow that I just needed a form that          9           MS. CONRAD: This will be the third
10    says you are fit for duty and may return to full        10   time. And this will be part of the basis for my
11    duty work. So that's exactly what I asked -- what       11   request for additional time to depose.
12    I got. It was just a form to satisfy that               12           Because counsel continues to make
13    requirement.                                            13   objections. Dr. Salcedo refuses to answer the
14    Q.         And it says he's fit for duty and he         14   question. And then we need to repeat the question.
15    may return to full duty work; doesn't it?               15           MS. LOPEZ: And you're asking the same
16    A.         Yes.                                         16   question over and over.
17    Q.         It doesn't say -- make any reference         17           MS. CONRAD: Read it from the record,
18    to work that has less stressful rotations, does it?     18   please.
19    A.         No, because it's not discussing              19           (The court reporter read the
20    accommodations at this point. It's just discussing      20   referred-to question.)
21    if I can return to work.                                21   A.        No, he does not say that.
22    Q.         It doesn't say full duty work which          22   Q.        I'm going to direct your attention to
23    allow for adequate sleep and time off on weekends       23   Exhibit 29.
24    when possible, does it?                                 24           (Exhibit 29 was marked.)
25              MS. LOPEZ: Objection. Argumentative.          25   Q.        Are you familiar with Exhibit 29?
                                                   Page 203                                                    Page 205
 1    And this has been asked and answered. The document       1   A.        Yes.
 2    speaks for itself.                                       2   Q.        What is it?
 3             MS. CONRAD: Then he can answer the              3   A.        It's another release -- secure to work
 4    question.                                                4   from my therapist Michelle Batz saying that I can
 5             MS. LOPEZ: It's argumentative,                  5   return to work.
 6    counsel.                                                 6   Q.        And with respect -- I apologize.
 7             MS. CONRAD: Excuse me?                          7   Going back to the December 11 note from Dr. Munoz,
 8             MS. LOPEZ: It's argumentative.                  8   was this note submitted to Dr. Swallow?
 9             MS. CONRAD: It is not. He can answer            9   A.        Yes.
10    the question.                                           10   Q.        How was it submitted to Dr. Swallow?
11    A.         You can repeat the question?                 11   A.        In person.
12    Q.         Certainly. Does Dr. Munoz say he is          12   Q.        So did you pick up the note from
13    fit for duty and may return to full duty that           13   Dr. Munoz?
14    allows for adequate sleep and time off on weekends      14   A.        Yes. All three of these providers I
15    when possible as of December 12, 2017?                  15   saw individually and got the notes individually to
16    A.         No. You added quite a few words that         16   give.
17    aren't on this document.                                17   Q.        And at the time you obtained the note
18    Q.         Right. Well, I'm looking back at the         18   from Dr. Munoz, did you say to him, you could
19    August 28th, 2017 handwritten letter that Dr. Munoz     19   please include those considerations that were
20    wrote.                                                  20   contained on the August 2017 note that you wrote?
21             And I'm asking if Dr. Munoz                    21   A.        No, I did not, because that was not
22    incorporated any of those considerations into the       22   the point of the letter. The request from
23    December 11, 2017 note?                                 23   Dr. Swallow was a statement that I'm clear and fit
24             MS. LOPEZ: Objection. Asked and                24   to work. So that's what I requested.
25    answered.                                               25   Q.        You are clear and fit to --

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                                                     Page 206                                                       Page 208
 1    A.         Return to work.                                 1   A.         Yes, but Dr. Swallow specified I
 2    Q.         -- return to work, right?                       2   needed a fitness for duty from someone from clinic
 3    A.         Return to work.                                 3   drive -- Hope Drive.
 4    Q.         Dr. Munoz says full duty work, doesn't          4   Q.         And where did she say that?
 5    he?                                                        5   A.         Few exhibits ago in her outline of the
 6    A.         We would have to ask him what he means          6   next steps. She said I needed to see a
 7    by exactly full duty to work. But the intent of            7   non-resident provider at clinic drive -- Hope Drive
 8    the letter was fit to return to work.                      8   at the clinic.
 9    Q.         No, the letter that he wrote, signed            9   Q.         We've already covered that. We're not
10    and you submitted, says he is fit for duty and may        10   going back to it. Dr. Swallow will be deposed
11    return to full duty work as of December 12, 2017,         11   tomorrow.
12    doesn't it?                                               12            Timothy Sullivan doesn't just release
13    A.         Yes. But what does he mean by full             13   you to return to work. He goes on to say, you may
14    duty? We need to ask him that. I'm telling you            14   return to work on December 12, 2017 without any
15    that Dr. Swallow gave me specific instructions on         15   restrictions, doesn't he?
16    what this letter had to say. So that's what I             16   A.         Yes.
17    obtained. And that's what I returned to her.              17   Q.         Did Timothy Sullivan have any further
18    Q.         Let me direct your attention now to            18   assessment and plans following -- strike that.
19    Exhibit 29. What is exhibit 29?                           19            You met with Timothy Sullivan on or
20    A.         It's another clear -- clear of fitness         20   about December 12, 2017, didn't you?
21    to return to work.                                        21   A.         Yes.
22    Q.         And this clearance confirms that               22   Q.         And did you have -- have you had the
23    Mr. Salcedo is fit for work as of December 11,            23   opportunity to review his text note?
24    2017, doesn't it?                                         24   A.         Yes.
25    A.         Yes.                                           25   Q.         And you'll agree that if you pull up
                                                     Page 207                                                       Page 209
 1              (Exhibit 30 was marked.)                         1   -- no, it's not an exhibit -- never mind. In his
 2    Q.         Let me direct your attention to                 2   assessment and plan, he, in fact, indicated that no
 3    Exhibit 30. Are you familiar with Exhibit 30?              3   additional interventions are required at this time,
 4              Dr. Salcedo, are you familiar with               4   didn't he?
 5    Exhibit 30?                                                5             MS. LOPEZ: Sorry, counsel. I'm not
 6    A.         Yes. I'm looking, because Exhibit 30            6   sure why you're at here.
 7    I have opened here is a different document than the        7             MS. CONRAD: I'm not looking at an
 8    one you have on your screen, or to whom it may             8   exhibit. I'm looking at a note from Timothy
 9    concern I'm reading. Okay. Yes, I'm familiar with          9   Sullivan. It's not an exhibit. I'm just asking if
10    this document.                                            10   Dr. Salcedo remembers.
11    Q          What is it?                                    11             MS. LOPEZ: Oh.
12    A.         I thought we already did this one.             12             THE WITNESS: Yes. Well, I think it's
13    It's a return to work letter saying I'm fit for           13   important to differentiate the fact that these
14    duty.                                                     14   fitness for duty letters are strictly secondary to
15    Q.         From what?                                     15   the amnestic event, and not any way related to
16    A.         Timothy Sullivan, he's the Hope Drive          16   accommodations or my underlying health condition.
17    clinic provider that I was forced to see.                 17   They were -- there was a precipitating event, the
18    Q.         What do you mean, you were forced to           18   amnestic episode, and that's what the letters are
19    see?                                                      19   addressing so --
20    A.         Had it been my choice, I would have            20   Q.          Well, do you recall Timothy Sullivan
21    gotten cleared by my treating providers, Dr. Munoz.       21   noting that the patient had transient amnesia due
22    Q.         Which providers?                               22   to adverse side effect from -- I'm not sure how to
23    A.         Dr. Frank Munoz, my psychiatrist.              23   say this -- tempa --
24    Q.         But you had Dr. Munoz submit a fitness         24             MS. PANTALIONE: Temazepam.
25    for duty letter, didn't you?                              25   Q.          Temazepam, thank you, which has since

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                                                 Page 210                                                     Page 212
 1    been discontinued. And he has returned to baseline     1   Q.        And it goes -- it's dated December 14,
 2    and no additional interventions are required at        2   2017, correct?
 3    this time. Do you recall that assessment by            3   A.        Yes.
 4    Timothy Sullivan?                                      4   Q.        And Dr. Swallow signed this document,
 5    A.        Yes, we are discussing the amnestic          5   didn't she?
 6    episode, yes.                                          6   A.        Yes.
 7    Q.        And he goes on to say, he was provided       7   Q.        And did you sign the document?
 8    a note that he is stable from a medical perspective    8   A.        Yes.
 9    to return to work without any specific                 9   Q.        And in it, it begins by saying she'll
10    restrictions. Do you recall that plan?                10   review the concerns raised to the competency
11    A.        Yes.                                        11   committee by the evaluations to date on
12    Q.        And do you recall speaking to him           12   Dr. Salcedo; do you see that?
13    about minimizing your caffeine intake?                13   A.        Yes.
14    A.        Yes, and addressing good sleep              14   Q.        Is there any reference in this
15    hygiene.                                              15   document to the episode -- the amnestic episode
16    Q.        And did he advised you to talk to your      16   that you experienced and your medical leave?
17    psychiatrist about medications?                       17   A.        No. But this document was given to me
18    A.        Oh, I believe -- at this point, I           18   with a second document that does address my mental
19    might need the document in front of me, because       19   health.
20    you're going through it. I would like to see it.      20   Q.        Well, we'll get to that document.
21    Q.        I'm just asking what you remember.          21   A.        Okay.
22    And do you agree with the -- with the treatment       22   Q.        We're looking at two different issues,
23    plan by Timothy Sullivan?                             23   aren't we? This document deals with concerns
24    A.        Again, what is the treatment plan?          24   raised by the competency committee by the
25    Q.        What I just went over.                      25   evaluations to date, doesn't it?
                                                 Page 211                                                     Page 213
 1    A.         Hm.                                         1   A.         Yes.
 2    Q.         No, you did not agree with it?              2   Q.         And the concerns are summarized in
 3    A.         No. I don't think you just went over        3   one, two and three, aren't they?
 4    the treatment plan. You went from -- from the top      4   A.         Yes.
 5    of the note -- is there any way we can get the note    5   Q.         And based on those concerns, a
 6    up? That might be easier.                              6   remediation plan was presented to you, wasn't it?
 7    Q.         Well, what do you recall from Timothy       7            MS. LOPEZ: Objection. Calls for
 8    Sullivan's treatment plan?                             8   speculation. He doesn't know whether the mediation
 9    A.         To continue care with my providers.         9   plan was based on these concerns. This is just a
10    We talked about lifestyle changes like the caffeine   10   document. He doesn't know what the committee said.
11    and to try my best to get good sleep hygiene. And     11   Q.         Did you ask what the committee said?
12    that I would also be following up with Britt          12   A.         No, I did not ask what the committee
13    Marshall, but that's about all I remember.            13   said. I'll be honest, I did not have much
14             (Exhibit 31 was marked.)                     14   knowledge of the competency committee until near
15    Q.         Let me direct your attention to            15   the end of my time at the medical center.
16    Exhibit 31. Are you familiar with this document?      16   Q.         Was a remediation plan proposed to you
17    A.         Yes.                                       17   in your meeting with Dr. Swallow on December 14th?
18    Q.         What is it?                                18   A.         Yes.
19    A.         It's the letter that I received            19   Q.         And the document provides, I propose a
20    December 14, 2017 after amnestic episode, and         20   remediation plan to improve these skills and help
21    Dr. Swallow places me on remediation.                 21   him obtain a level of comfort in these areas. Do
22    Q.         Let's take it one step at a time here.     22   you see that reference?
23    It says clinical competency committee follow-up,      23   A.         Yes.
24    Dr. Pablo Salcedo at the top, doesn't it?             24   Q.         And it goes on to list three areas
25    A.         Yes.                                       25   that must be addressed as part of the remediation

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 1    plan, doesn't it?                                          1   occurred. But honestly I was keeping my head down
 2    A.        Yes.                                             2   working those long hours, just waiting for the
 3    Q.        It then goes on to note, that                    3   accommodations. And those types of things,
 4    observation activities will take place between             4   administrative things, I didn't have knowledge of
 5    blocks 13 through 18, correct?                             5   or experience to know. I was looking to
 6    A.        Yes.                                             6   leadership, aka, Dr. Swallow to be able to guide me
 7    Q.        And then you're provided information             7   and to tell me what needed to be done.
 8    that at the conclusion of block 18, that's February        8   Q.        So you didn't engage in any
 9    23rd, the data will be reviewed and the next course        9   conversations with your colleagues that mid-year
10    of action will be determined, right?                      10   evaluations were going on?
11    A.        Yes.                                            11   A.        No.
12    Q.        It goes on to say, I hope -- the hope           12            (Exhibit 32 was marked.)
13    is that he will have made sufficient progress in          13   Q.        Take a look at Exhibit 32. Are you
14    his decision-making, presentation skills and              14   familiar with this document?
15    interpretation of the data that will allow him to         15   A.        Yes, it was the second document that
16    be removed from the remediation plan and continue         16   was handed to me on December 14th, 2017 by
17    on his training. Do you see that statement?               17   Dr. Swallow along with the remediation document.
18    A.        Yes.                                            18   Q.        And now they are two separate
19    Q.        Did you understand then that the                19   documents, aren't they?
20    purpose of the remediation plan was to allow you to       20   A.        Yes, two documents.
21    make progress to be removed from remediation and          21   Q.        And they address two separate issues,
22    continue your training?                                   22   don't they?
23    A.        Yes.                                            23   A.         The straightforward answer is they
24    Q.        And you signed that document, correct?          24   are two separate documents. But they are related.
25    A.        Yes.                                            25   That's why they were given to me at the same time.
                                                     Page 215                                                      Page 217
 1    Q.         Did you voice any objection to the              1   Perhaps that I was not being accommodated is to
 2    information that was covered in that meeting and           2   prompt the reason why they're putting me on
 3    contained in this document?                                3   remediation in the first place. So, yes, they're
 4    A.         I did voice some objection to                   4   labeled two different documents. But that doesn't
 5    Dr. Swallow.                                               5   mean they're completely separate.
 6    Q.         What were those objections?                     6   Q.        Well, point out to me how document 32
 7    A.         I told her that I felt I was being              7   is related to document 31?
 8    punished for having this amnestic episode. And             8   A.        They're related -- so if I put myself
 9    that this entire mediation is imputative. Because          9   back into the room, I'm sitting in Dr. Swallow's
10    I was being provided this remediation and at the          10   office. And she hands me at the same time this
11    same time being given this mental health follow-up        11   form for a mental health, and this form for my
12    emergency mental health plan. And most of the             12   remediation and tells me to sign both forms at the
13    meeting was to discuss my disability and also by          13   same time. She's connecting them. A proper way to
14    the way replacing me on remediation. This should          14   do it would be to separate those two items as
15    have been separate. But in fact, my disability was        15   distinct events. But, in fact, this was all given
16    intertwined with the remediation and in the               16   to me in one meeting at the same time and I signed
17    clinical judgment of the people in charge of me.          17   both documents at the same time, immediately after
18    Q.         Did you understand that in                     18   a medical event. And that is why they're
19    mid-December, most residents were going through a         19   connected.
20    mid-year evaluation?                                      20   Q.        So you're on a medical leave. You're
21             MS. LOPEZ: Objection. Asked and                  21   clear to return to work without restrictions. And
22    answered.                                                 22   these two separate items have to be addressed with
23    Q.         You may answer.                                23   you, both of which occurred in or about the same
24    A.         I believe so. But I had no knowledge           24   time. And it's your position that because they
25    besides someone -- seeing that the evaluation             25   were both addressed at the same day, at the same

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 1    meeting, they're related?                                  1   cherry-picked comment that fits this narrative from
 2    A.        I'm saying that it's my opinion I was            2   confirmation bias. You are trying to fit a
 3    placed on the remediation plan because of my               3   narrative and only including certain words and buzz
 4    disability and the amnestic event.                         4   words, but you're not accurately describing me or
 5    Q.        I respect you have an opinion. I'm               5   my performance.
 6    not asking for opinion testimony today. I'm asking         6   Q.        Well, point to evaluations that rebut
 7    about facts.                                               7   item number one?
 8             What facts can you point to in these              8            MS. LOPEZ: Counsel, you wants him to
 9    two documents to establish that they are related?          9   go back to the evaluations?
10             MS. LOPEZ: Asked and answered.                   10            MS. CONRAD: If I heard him correct,
11    A.        They were given to me together. A               11   he said that they're taken out of context. I want
12    reasonable person would conclude they're related,         12   him to point to me evaluations that establish that
13    if I'm asking to sign two things at one time and          13   he was not observed at the data gathering or
14    they're both handed at the same time.                     14   reporter stage.
15    Q.        So going back to 31 for a moment, do            15            Let's do it this way, let's not waste
16    you have any documents or evidence to support a           16   time. Between now and the next deposition, be
17    position that the evaluations to date on                  17   prepared to respond to those three areas of
18    Dr. Salcedo do not raise the three concerns that          18   concern.
19    are listed in 31?                                         19            THE WITNESS: Okay. If you want, if
20    A.        I -- I -- I would say that my grading           20   you go to your Exhibit 21, I have a quick example.
21    and scoring up to that point did not justify the          21   BY MS. CONRAD:
22    remediation. So again as we went over those               22   Q.        Okay. Go ahead.
23    objective performance scores, those zero to five, I       23   A.        So that data collection phase portion,
24    did not have any critical deficiencies. But what          24   so if you see on top of Exhibit 21, quality of
25    you see numbered one, two, three, are cherry-picked       25   history and physical exam. So had it been a big
                                                     Page 219                                                       Page 221
 1    comments that come from the constructive feedback          1   concern, you would expect to be marked critically
 2    section. It's supposed to be an honest section for         2   deficient. Does not collect accurate historical
 3    my evaluator to give me feedback on how to grow and        3   data. Or if you were stretching it you may put
 4    learn, not to be used to penalize or place someone         4   direct supervision, sometimes inaccurate. But I,
 5    on remediation. That defeats the purpose and kind          5   in fact, received indirect supervision.
 6    of taints the open critical channel of                     6             This states I acquire accurate
 7    communication on behalf of our attendings.                 7   history, perform appropriate physical exams and
 8    Q.         Is it your position that one, two and           8   obtain data from secondary sources when needed and,
 9    three are not true and accurate information?               9   in fact, the majority of my evaluators marked that
10    A.         It's my position that one, two and             10   same section. So that contradicts number one in
11    three are misused and taken out of context.               11   the remediation.
12    Q.         Well how can you -- can you please             12   Q.         So you pointed to one evaluation.
13    explain to me how they're taken out of context?           13   Between now and our next deposition, we can
14             MS. LOPEZ: Asked and answered.                   14   collectively look at the evaluations with respect
15    A.         I didn't hear an answer to that                15   to one, two and three.
16    question.                                                 16             And by the way, Dr. Salcedo, I know I
17             MS. LOPEZ: Okay.                                 17   asked this before, but if it's your position that
18             THE WITNESS: They're taken out of                18   one, two and three were taken out of context and
19    context, because those don't reflect the entire           19   misused, why didn't you submit a rebuttal when you
20    evaluation. So if you refer to, let's say the             20   got out?
21    first one that says he entered at reporter stage,         21   A.         I did raise my concern that I thought
22    then that's a feedback comment. But the rest of           22   that this was punitive and it was not fair. And
23    the evaluation says that I was very compassionate.        23   the response I got from Dr. Swallow was, don't
24    That I excelled in this and this. Then you're not         24   worry, this happens all the time to other
25    seeing that whole picture, you're only seeing that        25   residents. It's just part of the process. She's

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 1    my direct supervisor. And in the clinical culture,        1   Q.       And returning to document 32 -- strike
 2    you do what you're told. Otherwise, you face more         2   that.
 3    consequences.                                             3            Going back to 31, there's no reference
 4    Q.        I'm not asking about your opinion that          4   to this being a punishment in the document, is
 5    this was punitive in nature. I'm asking about, why        5   there?
 6    didn't you sit down with Dr. Swallow and address          6   A.        There is no reference to it being a
 7    one, two and three, and how they were taken out of        7   punishment. I'm telling you what I felt during
 8    context?                                                  8   that meeting. I felt it was --
 9    A.        So my response to you is that, I did            9   Q.        Did you read -- and did you read the
10    in the sense as much as I could. So take it from         10   last sentence?
11    my position, I'm sitting there and my direct             11   A.        Yes.
12    supervisor has complete control over my career is        12   Q.        And the hope is to be -- that you will
13    putting me on remediation plan, right after coming       13   be removed from remediation and continue your
14    back from a medical event, and instead of                14   training, isn't it?
15    discussing accommodations, right? So now in my           15   A.        Yes. That is what it says on the
16    mind, I feel like I'm being punished that, oh,           16   paper.
17    they're actually not going to help me, but they're       17   Q.        Did you agree with that?
18    holding things against me. I need to keep my head        18   A.        It's not the statement for me to agree
19    down. And that's what I did. You're asking why I         19   or disagree. That's a statement that they're
20    didn't keep fighting back. So I could be hurt more       20   telling me.
21    and put on more avenues of ensured failure. It           21   Q.        Did you hope that you would make
22    wouldn't be logical at that time.                        22   sufficient progress to be removed from remediation
23    Q.        But this -- these concerns are not             23   and continue your training?
24    just Dr. Swallow's concerns, are they? They're the       24   A.        Yes. I was also under the assumption
25    concerns raised to the competency committee?             25   I would have an actual remediation, and not a plan
                                                    Page 223                                                  Page 225
 1    A.        The problem is those concerns --                1   to terminate me, disguised as a remediation, two
 2             MS. LOPEZ: Objection.                            2   different things.
 3             MS. CONRAD: Excuse me? I didn't hear             3   Q.        Okay. Were you scheduled to be on
 4    your answer.                                              4   internal medicine wards following December 14,
 5             MS. LOPEZ: Objection. Calls for                  5   2017?
 6    speculation. He only received this from                   6   A.        Yes.
 7    Dr. Swallow. He didn't receive direct                     7   Q.        Were you asked to submit a progress
 8    communications from the clinical competency               8   note twice per week while you were on general
 9    committee.                                                9   medicine wards?
10    BY MS. CONRAD:                                           10   A.        Yes.
11    Q.        Doesn't the first sentence say, at our         11   Q.        I'm on 31, number two. Did you
12    meeting today, I told you the concerns raised to         12   provide progress notes as provided in number two?
13    the clinical competency committee by evaluations to      13   A.        Yes, I reviewed two progress notes
14    date on Dr. Salcedo; do you see that statement?          14   with Dr. Amy Dewater.
15             MS. LOPEZ: That's what it says. But             15   Q.        And also provided that you could
16    you were asking him whether or not -- how the            16   review these notes with a member of your team, a
17    clinical competency committee assessed the               17   senior resident or attending to receive feedback.
18    information. That is a different question                18   Did you review the notes with any of those
19    altogether. It says what it says. It doesn't mean        19   individuals?
20    that he understood what they were basing their           20   A.        Yes, I sometimes would review my notes
21    opinion on.                                              21   with my attendings prior to submission.
22    Q.        And Dr. Salcedo, you didn't ask for            22   Q.        And weren't you provided clinical case
23    any further explanation, did you?                        23   scenarios to work through?
24    A.        No, just aside from I felt I was being         24   A.        I was provided medical school level
25    punished.                                                25   test prep book of clinical vignettes that I did

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 1    complete. And I did not get any further                   1   your care, that he would -- that you will be
 2    instruction on someone was going to review it with        2   removed from rotation?
 3    me, or what would be done with it. So I ultimately        3   A.        Yes.
 4    returned the book to Dr. Swallow on her mailbox,          4   Q.        And that it may mandate a longer leave
 5    hanging on her door.                                      5   of absence to be sure that you have time to take
 6    Q.        Did you ask to meet with Dr. Swallow            6   care of and stabilize your issues?
 7    about that work that you had completed?                   7   A.        Yes.
 8    A.        I did ask Dr. Swallow via email more            8   Q.        And did you sign off in agreement to
 9    the logistics on how this would work. And I don't         9   those four conditions?
10    remember getting a response back. But I wanted to        10   A.        Yes.
11    know sort of how are these check-ins supposed to         11   Q.        And did you begin internal medicine
12    occur? Was she going to age them and things of           12   ward service on December 18th?
13    that nature. Because those actual details of the         13   A.        Approximately, yes.
14    mediation plan were not flushed out in this letter.      14   Q.        And were you expected to meet with a
15    Q.        Well, it clearly says that you can             15   member of program administration on a weekly basis.
16    review notes with a member of the team's senior          16   A.        That was my impression from the plan.
17    resident or attending, doesn't it?                       17   And that's why I emailed Dr. Swallow to find out
18    A.        Yes. And that portion I fulfilled.             18   the details of how that would be arranged.
19    But above it it says, with a program administrator.      19   Q.        And did you range those details?
20    Q.        And did you reach out to a member of           20   A.        Dr. Swallow did not arrange those
21    the program administration?                              21   details. That was not in my power to arrange.
22    A.        No, I will be asked to submit. So              22   Q.        Why wasn't it in your power to set up
23    they reached out to me. So it was customary for          23   a weekly meeting?
24    that person to reach out to me, whether it was for       24   A.        That would be rather uncustomary for
25    scheduling or to arrange it. Dr. Amy Dewaters            25   me to tell Dr. Swallow when she should meet me.
                                                    Page 227                                                     Page 229
 1    scheduled the meeting. And I met with her to              1   Usually the attending or leader or director tells
 2    review the two notes.                                     2   you their availability and they send out a request.
 3    Q.        Let's move on to 32 now. Did                    3   It's not the other way around.
 4    Dr. Swallow review with you the conditions of your        4   Q.         Did you ever take any action to say,
 5    return to clinical practice?                              5   Dr. Swallow, I would like -- I'm available to meet
 6    A.        Yes.                                            6   with you the following dates and times to have our
 7    Q.        Did that include number one, an                 7   weekly meeting?
 8    ongoing care management plan?                             8   A.         Outside of that email prompting her to
 9    A.        Yes.                                            9   let me know how it would be arranged, no.
10    Q.        Did that include number two,                   10   Q.         Exhibit 33.
11    developing a social support network outside of the       11             (Exhibit 33 was marked.)
12    residency program?                                       12   Q.         Are You familiar with a document
13    A.        Yes.                                           13   marked 33?
14    Q.        Did that include number three, have a          14   A.         Yes.
15    documented emergency plan?                               15   Q.         What is it?
16    A.        Yes.                                           16   A.         It's a warning letter that was
17    Q.        And did that condition provide that            17   allegedly given to me.
18    the emergency plan needs to include details about        18   Q.         What do you mean allegedly?
19    who to contact should he have an acute exacerbation      19   A.         I believe the hospital claims they
20    of his anxiety that prohibits him from being able        20   gave me this warning letter. But I, in fact, never
21    to safely care for patients?                             21   received it.
22    A.        Yes.                                           22   Q.         Well, isn't that your signature at the
23    Q.        And did that include number four, if           23   bottom of that document?
24    there's another issue where there's a concern for        24   A.         No, it is not. I've never seen this
25    your safety or the safety of the patients under          25   document until discovery and never signed it. And

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                                                   Page 230                                                      Page 232
 1    there's also an extra gentleman on that note. If         1   A.        Yes.
 2    you notice the other two documents, it was just me       2   Q.        And you understood that upon
 3    and Dr. Swallow. For some reason there's another         3   completion of the remediation plan, your progress
 4    gentleman on here who signed it. But there was           4   would be reviewed, didn't you?
 5    only two people in the meeting.                          5   A.        Yes.
 6    Q.        Who is the other gentleman?                    6   Q.        And did you have an understanding that
 7    A.        I had not met him until the date of my         7   the purpose of the clinical competency committee
 8    termination, but he's Dr. Aramani, chair of the          8   was to review the progress of all current residents
 9    clinical competency committee.                           9   in the milestones of training?
10    Q.        Have you had any other bouts of               10   A.        No.
11    amnesia since the prior one?                            11   Q.        Did you have any understanding of the
12    A.        No. I no longer take that medication.         12   role of the clinical competency committee?
13    Q.        That's not my question. Have you had          13   A.        I had --
14    any recurring bouts of amnesia?                         14            MS. LOPEZ: Are you asking if he
15    A.        No. I just testified because you              15   understood at the time December 14 only or today?
16    could have current bouts of amnesia separate from       16   BY MS. CONRAD:
17    medication. So I wanted it to note that it was          17   Q.        As of December 14th, 2017, there's a
18    because of medication that I had amnestic episode.      18   reference to the clinical competency committee in
19    Important to know.                                      19   Exhibit 31, as well as 33. Did you have any
20    Q.        Do you dispute any of the information         20   understanding of the role of the clinical
21    that is contained in the document marked 33?            21   competency committee with respect to reviewing the
22    A.        Well, aside from it being a document I        22   progress of residents?
23    never signed, or that I never received, it was          23   A.        No.
24    never presented to me as this paragraph states,         24   Q.        How did you understand you would be
25    that Dr. Swallow met with me and I was given this       25   evaluated?
                                                   Page 231                                                      Page 233
 1    official warning. However, that never occurred. I        1   A.        I understood that I would be evaluated
 2    only received two documents on December 14th, my         2   by trending my growth and how I improved through
 3    confidential remediation there.                          3   subsequent rotations. But unfortunately, I had not
 4    Q.        Were there issues related to patient           4   had much rotation time from December 14th to
 5    care based on the evaluation that had been               5   February. But it was my understanding that on the
 6    completed to date?                                       6   program would be looking for improvement in growth,
 7             MS. LOPEZ: Objection. Asked and                 7   that was what I understood.
 8    answered.                                                8   Q.        Were you familiar at all with the
 9    Q.        You can answer the question.                   9   ACGME milestones reporting process?
10    A.        To date, as in December 14th, 2017,           10   A.        Yes.
11    no.                                                     11   Q.        And what did you understand about that
12    Q.        There were no areas of concern about          12   process?
13    patient care?                                           13   A.        I understood that those milestones are
14    A.        No.                                           14   meant to be used to track residents through time.
15    Q.        How about medical knowledge?                  15   And they're not recommended to be used as snapshots
16    A.        I know that I received comments that          16   -- snapshot scores or to make heavy stakes
17    said, as all, is customary for beginning learners,      17   decisions based off just one or two data points.
18    and I needed to expand my foundation and medical        18   They're meant to trend residents over their
19    knowledge. But that was more a constructive             19   training careers and to show that development,
20    feedback comment, and not an area of concern. It        20   improvement through time.
21    was not marked as a deficiencies or a low score on      21   Q.        What if the resident was not meeting
22    that zero to five scale.                                22   the milestones?
23    Q.        You'll agree with me, won't you, that         23   A.        As in the resident was failing to
24    as of December 14, a plan of remediation had been       24   progress or to grow?
25    outlined for you, wasn't it?                            25   Q.        Was not meeting the milestones as

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                                                    Page 234                                                       Page 236
 1    required in the reporting process.                        1   Q.         What do you say in the first sentence
 2    A.         Okay. So the way the milestones work,          2   of this email?
 3    it's not as if there's a clear-cut mark where             3   A.         Hello, Dr. Swallow. Thank you again
 4    you're not meeting it or you are. It's different          4   for your support and understanding and for meeting
 5    for each resident. And depends on how much you're         5   with me.
 6    growing. Everyone starts out in a different place         6   Q.         So that as of December 17th, which is
 7    when you start training. So if you mark everybody         7   several days after receipt of the remediation plan,
 8    by the same level, you have people failing, right?        8   as well as the plan with respect to the conditions
 9              The idea with the milestones is to              9   for your return, you're thanking Dr. Swallow for
10    trend the resident to take the scores and how            10   her support and understanding, aren't you?
11    they're doing in the beginning, and to look at them      11   A.         Yes. But this is me -- this is a
12    later on and to ensure that they're growing and          12   personal trait of mine of being respectful and
13    getting better. And if they're not, then to remify       13   courteous and me walking this fine line of keeping
14    that by intervening and providing that extra             14   the engagement going and still being professional.
15    support.                                                 15   And that's how I reply in all my emails. You'll
16    Q.         Where are these standards provided?           16   see in all email communications I sent I'm always
17    A.         ACGME guidelines?                             17   very appreciative and I always start -- start like
18    Q.         The standards that you just described,        18   that.
19    where is that information contained? Where is your       19   Q.         And you don't address the alleged
20    source for information?                                  20   issues you have with the remediation plan or the
21    A.         ACGME guidelines.                             21   conditions, do you?
22    Q.         Where does it say that the ACGME              22   A.         No, because the subject of this email
23    milestones are only to be used to track residents        23   is the emergency mental health plan. So that's
24    over time to show their development?                     24   what is discussed.
25    A.         ACGME create these milestones and             25   Q.         Well, you didn't address that in the
                                                    Page 235                                                       Page 237
 1    they're using the milestones, so I would assume     1         two documents that were issued to you, did you?
 2    they're using the milestones as intended.           2                  MS. LOPEZ: Objection
 3    Q.        I'm not asking about your assumptions.    3         mischaracterization -- mischaracterization of
 4    I'm asking where in the ACGME guidelines does it 4            testimony.
 5    say that the milestones are only to be used to      5         BY MS. CONRAD:
 6    track residents over their training to show         6         Q.        You didn't submit a rebuttal letter or
 7    development?                                        7         you didn't sign anything underneath your signature
 8    A.        I would have to get you that              8         saying I disagree with this remediation plan or I
 9    documentation later so you can review it.           9         disagree with these conditions to return, did you?
10             MS. CONRAD: Well, I'm making a formal 10             A.        No, I didn't believe that was an
11    request for the ACGME guidelines that specifically 11         option. And that would most certainly have created
12    provide that the milestones are only to be used to 12         more problems and resistance had I gone against the
13    track residents over time to show their            13         grain when I already realized that I was being
14    development.                                       14         penalized for having a disability.
15             (Request.)                                15                  So you're suggesting things that I
16             (Exhibit 34 was marked.)                  16         could have done. Anything is possible. I could
17    BY MS. CONRAD:                                     17         have done a lot of things. But at that time, those
18    Q.        I want to direct your attention to       18         things did not seem to be rational or advantageous
19    Exhibit 34. Are you familiar with this document? 19           for me.
20    A.        Yes.                                     20         Q.        Where does it say any Exhibit 32 or 31
21    Q.        What is it?                              21         that you're being penalized for having a
22    A.        It's an email from myself to             22         disability?
23    Dr. Swallow on December 17th submitting her the 23                     MS. LOPEZ: Objection. Asked and
24    emergency mental health plan she required me to 24            answered.
25    create.                                            25                  MS. CONRAD: That is the first time I

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 1    heard him make that claim.                              1   a result of -- or occur as a result of those
 2             MS. LOPEZ: He said it was punitive             2   underlying conditions?
 3    and he explained that it was related to his             3   A.        That's a reasonable statement.
 4    disabilities.                                           4   Q.        And then wouldn't you want to have or
 5             He's already answered this question,           5   seek less stressful rotations in conjunction with
 6    counsel.                                                6   your mental health?
 7             MS. CONRAD: And I really request that          7   A.        Yes, definitely. But that was a
 8    you refrain from testifying for your client.            8   discussion outside of this emergency plan. Almost
 9    BY MS. CONRAD:                                          9   as if you're asked to provide A, B and C, you
10    Q.        Where does it say in Exhibit 32 or 31        10   provide A, B and C, not other items not related.
11    that you're being penalized for a disability?          11   So I was given instruction on what to do in case I
12    A.        As we already went over, it's not            12   have another exacerbation of anxiety, and what I
13    explicitly stated in the wording, but I described      13   would do in the moment. So in the moment, I could
14    the situation of how it was delivered, the             14   not go readjust my schedule. But in the moment, I
15    conversations with Dr. Swallow, and the entire         15   can take medication --
16    atmosphere. And that is what drew the conclusion       16   Q.        Of course you can --
17    that I was being penalized, as well as the timing      17   A.        I can reach out. So these are more
18    of events.                                             18   acute in the moment things I can do to address my
19    Q.        And then you thank her for her support       19   disability.
20    and understanding, right?                              20   Q.        Well, weren't you concerned about
21    A.        Again, that's me being polite and            21   having a plan to try to prevent the moment?
22    letting her know I'm still here wanting to work and    22   A.        Yes. And that was the basis of the
23    as the phrase goes, you get more flies with honey      23   discussions in August, the follow-up in October,
24    than vinegar. It's being polite. I know you keep       24   the follow-up in November, as well as in February.
25    bringing that up, but that's just a characteristic     25   Q.        Why didn't you incorporate that into
                                                  Page 239                                                      Page 241
 1    of me. I'm always polite.                               1   your overall plan here?
 2    Q.        Let's look at your emergency plan.            2            MS. LOPEZ: Objection. Asked and
 3    Now this is an emergency plan for anxiety attacks       3   answered.
 4    and mental health. Do you see that?                     4   A.        Again, what you're asking is not
 5    A.        Yes.                                          5   related to an emergency plan for anxiety attacks.
 6    Q.        And you list four items, don't you?           6   An emergency plan for anxiety attacks is what I,
 7    A.        Yes.                                          7   Dr. Pablo Salcedo, can do in this moment to
 8    Q.        Do you list in that plan for anxiety          8   alleviate my symptoms. And what you --
 9    attacks and mental health, assignments to less          9   Q.        So you didn't need less stressful
10    stressful rotations?                                   10   rotations for your mental health, did you?
11    A.        No. This is an emergency plan for            11   A.        Say again.
12    acute exacerbation. So, assignment to less             12   Q.        You didn't need less stressful
13    stressful rotation, modified schedule, that would      13   rotations for your mental health, did you?
14    handle the chronic underlying disease.                 14            MS. LOPEZ: Objection.
15             My disease doesn't turn on and off.           15   A.        Of course I did.
16    It worsens and gets better. So those                   16   Q.        Well, then why didn't you include it
17    accommodations you just mentioned would address the    17   under the emergency plan for mental health?
18    underlying problem. But this plan is to add            18            MS. LOPEZ: Objection. Asked and
19    address an acute exacerbations of my disability.       19   answered.
20    Q.        Doesn't it say this is a plan for your       20   A.        Because those aren't emergency plan
21    mental health?                                         21   items. Those aren't emergency plans. I am trying
22    A.        It also says it's an emergency plan.         22   to make clear the distinction between a chronic
23    So by emergency, we're talking about acute             23   underlying disease and an acute exacerbation are
24    exacerbations.                                         24   two different things and require different
25    Q.        And didn't the panic attacks result as       25   treatment and different ways to address them.

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                                                     Page 242                                                       Page 244
 1             What you're referring to is not for               1           MS. LOPEZ: Objection. Calls for
 2    acute exacerbation, that's to address the chronic          2   speculation.
 3    underlying disease, which is something that is             3   A.       I guess that would be a better
 4    implemented over time. It's not just something you         4   question for Dr. Swallow.
 5    do in the moment.                                          5   Q.       Well, did you ask Dr. Swallow why you
 6             If you look at number one through                 6   were required to provide emergency contacts?
 7    four, they're all de-actionable items that I can do        7   A.       No, I just did as I was told and
 8    in the moment. That's -- that's why it's not on            8   completed the task.
 9    there.                                                     9   Q.       Were you required to submit their
10    Q.         Did you consult with Dr. Munoz in              10   telephone numbers?
11    creating this plan?                                       11   A.       I don't believe so. I don't think so.
12    A.         No, I don't believe I consulted with           12   But I guess perhaps if you're providing an
13    Dr. Munoz. I just kind of went on the feedback            13   emergency contact, it's a little incomplete if you
14    that I've gotten with my care providers as I've           14   don't have the number. So I couldn't answer your
15    been working with them.                                   15   question as to why the numbers are there.
16    Q.         Why didn't you consult with Dr. Munoz?         16   Q.       Let's go back to document 32. And
17    A.         Again, because I had already had               17   looking at number three, number three addresses the
18    discussions with him. So my discussions with him          18   emergency plan, doesn't it?
19    are consulting with him. But me incorporating what        19   A.       Yes.
20    I learned from my providers, that's what's in here.       20   Q.       And it states, have a documented
21    Q.         You list him as an emergency contact,          21   emergency plan that he will share with us for acute
22    don't you?                                                22   mental health issues that may arise. This needs to
23    A.         Yes.                                           23   include details about who to contact should he have
24    Q.         And you list his telephone number,             24   an acute exacerbation of his anxiety that prohibits
25    don't you?                                                25   him from being able to safely care for patients.
                                                     Page 243                                                       Page 245
 1    A.        Yes.                                             1   Do you see that statement in number three?
 2    Q.        Why did you list his telephone number?           2   A.        Yes.
 3    A.        It looks like I listed everyone's                3   Q.        And did you sign off on this document,
 4    telephone number, so that just is something I did.         4   having received it?
 5    My mom is on here. Her telephone number is on              5   A.        Yes.
 6    there. My friend, his number. My therapist, her            6   Q.        And so did you understand the purpose
 7    number. His number is on there, as well.                   7   of the emergency contacts was to be able to allow
 8    Q.        And it says emergency contacts, right?           8   your colleagues to contact someone if there was an
 9    A.        Yes.                                             9   exacerbation of your anxiety that prohibited you
10    Q.        So these are individuals that can be            10   from being able to safely care for patients.
11    contacted in conjunction with an emergency, aren't        11   A.        No, I took us to mean Dr. Swallow and
12    they?                                                     12   the program leadership. Colleagues would be
13    A.        Yes.                                            13   everyone I'm working with on a day-to-day basis. I
14    Q.        And the purpose of the emergency                14   would in no way want them to have that information.
15    contact was so that your colleagues who were              15   Q.        But what if you had the acute
16    working with you, had a resource if there was             16   exacerbation of your anxiety outside of
17    another emergency situation, right?                       17   Dr. Swallow's presence and someone had to call an
18    A.        No. No, I don't believe so. That                18   emergency contract?
19    wasn't really the goal there. It was not shared --        19            MS. LOPEZ: Objection. Calls for
20    it was just that I was instructed to do that by           20   speculation.
21    Dr. Swallow. So I completed the task. But it was          21   A.        That's a what-if question. I don't
22    not like she was going to share with members of my        22   really know how to answer that.
23    team.                                                     23            (Exhibit 37 was marked.)
24    Q.        So why do you think there was a                 24            MS. CONRAD: I'm going to direct your
25    request for emergency contacts?                           25   attention to Exhibit 37. We're not spending time

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                                                    Page 246                                                 Page 248
 1    on 35 or 36.                                              1   senior resident needing to intervene and they
 2              MS. LOPEZ: You did -- just to be                2   changed to the plans that you initiated?
 3    clear, is 35 the same as 34? It looks like it.            3   A.         No. And I'm not sure there was a
 4    That's a duplication; is that right?                      4   senior resident involved at all times. This was a
 5              MS. CONRAD: I don't recall.                     5   consult service. So it was not a teaching service.
 6              MS. LOPEZ: I see. I see what it is.             6   Q.         Do you recall meeting with
 7    Okay.                                                     7   Dr. Dewaters to review notes and provide feedback
 8    BY MS. CONRAD:                                            8   with you?
 9    Q.         Exhibit 37, are you familiar with this         9   A.         Yeah, yes.
10    document?                                                10   Q.         And do you recall meeting with Dr. --
11    A.         Yes.                                          11   is it Munion?
12    Q.         It's a two-page document?                     12   A.         Yes.
13    A.         Yes.                                          13   Q.         To review clinical cases?
14    Q.         What is it?                                   14   A.         Dr. Munion? I don't believe I met
15    A.         It's -- again, it's my duty log hour          15   with Dr. Munion to review clinical cases. I did
16    of where I submit my hours worked for the day,           16   rotate under him during medicine consults. I
17    where I worked and what type of work.                    17   believe the clinical cases were with Brian McLenon
18    Q.         And it's the hours you recorded,              18   and Kinyard Shane.
19    right?                                                   19   Q.         And did you -- I believe you already
20    A.         Yes.                                          20   testified that you worked through the clinical
21    Q.         Do you recall in and about January of         21   cases from the book that Dr. Swallow provided?
22    2018, having the opportunity to work with Stephanie      22   A.         Yes.
23    Harris?                                                  23   Q.         And did she specifically select
24    A.         Yes, that was on medicine consults.           24   certain case scenarios for you to review?
25    Q.         And what, if anything, do you recall          25   A.         No. She just gave me that book.
                                                    Page 247                                                 Page 249
 1    from that time with her?                                  1            (Exhibit 39 was marked.)
 2    A.         There wasn't much remarkable about             2   Q.        Let me direct your attention to
 3    that time. She was not the most interactive               3   Exhibit 39.
 4    attending. She was more remote. And there was             4   A.        I seem to jump from 38 to 40.
 5    minimal feedback. I do know that she had left a           5            MS. LOPEZ: I don't have a 39.
 6    comment -- a negative comment in my evaluation. So        6   Q.        It's HMC 453. It seems I'm only one
 7    I did call her to ask her to meet to go over that.        7   that has 39. So I'll put that aside and we'll
 8    But I never heard back to get more feedback as to         8   follow-up another time with that.
 9    what was her concern. But nothing --                      9            Did you also meet with Dr. Gonzalo?
10    Q.         What was the negative comment?                10   A.        Yes.
11    A.         I believe she mentioned that I needed         11   Q.        And what, if anything, do you recall
12    more ward time, which given that I had not had much      12   about your time with Dr. Gonzalo?
13    ward time, that does make sense, ward time, as in        13   A.        I recall it being kind of a weird
14    floor teaching team time.                                14   remediation session, because Dr. Gonzalo did not
15    Q.         Did she make reference to your medical        15   have instructions on what he was supposed to be
16    knowledge and management plans are on the level of       16   doing during the session. So it was rather
17    a medical student?                                       17   impromptu. So we ended up just taking the session
18    A.         I don't believe so.                           18   to discuss my disability, how it was impacting me
19    Q.         Did she let -- reference that you             19   and how I was adjusting through residency.
20    struggle with basic medical knowledge and clinical       20   Q.        Isn't it true that you reported the
21    reasoning?                                               21   issue you had with anxiety and other psychological
22    A.         I don't believe so. I would need to           22   issues you had for years?
23    pull up her individual evaluation to see what she        23   A.        Yes.
24    marked. I can't --                                       24   Q.        Excuse me?
25    Q.         Do you recall -- do you recall her            25   A.        Yes.

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                                                    Page 250                                                     Page 252
 1    Q.         You also reported there was a question         1            MS. LOPEZ: First break you said was
 2    of bipolar disease in your past, didn't you?              2   two hours.
 3    A.         Oh, when I was younger in medical              3            THE VIDEOGRAPHER: yeah. And then the
 4    school. I believe it was a misdiagnosis. I was            4   last one was 106 minutes, what is that? Just about
 5    being trialed on a couple medications.                    5   an hour.
 6    Q.         And didn't you inform him that newness         6            MS. LOPEZ: Hour 20.
 7    is your issue, that you struggle to acclimate to          7            THE VIDEOGRAPHER: Yeah.
 8    new?                                                      8            MS. LOPEZ: Hour 40.
 9    A.         Yes.                                           9            THE VIDEOGRAPHER: Hour 40, yes.
10    Q.         I'm sorry, did you answer that                10   Sorry, not doing the best with the math. I
11    question?                                                11   apologize.
12    A.         Yes. Yes.                                     12            MS. LOPEZ: We're almost at four
13    Q.         And did you relate to him that you            13   hours, four hours 90 minutes, if I am doing my math
14    were worried about a new environment, new                14   right.
15    attending, new resident, new process, new acuity?        15            THE VIDEOGRAPHER: Yes. That would be
16    A.         Yes.                                          16   about correct, yes.
17    Q.         Did you also discuss that ICU rotation        17            MS. CONRAD: Can you go over that
18    is not a requirement for you?                            18   again for me, please?
19    A.         I don't recall that discussion, that          19            THE VIDEOGRAPHER: Oh, the minutes?
20    part of the discussion.                                  20            MS. CONRAD: So we started with two
21    Q.         Do you recall going through a clinical        21   hours, right?
22    case with him?                                           22            THE VIDEOGRAPHER: Started at two
23    A.         No.                                           23   hours. And then went to 106 minutes, would be an
24    Q.         Did you meet with Dr. Shane Kinyard?          24   hour and 40 minutes, and now we're at an hour and
25    A.         Yes.                                          25   45 minutes.
                                                    Page 251                                                     Page 253
 1    Q.         And did you go over a case with him?           1            MS. CONRAD: Okay. Thank you.
 2    A.         Yes.                                           2            THE VIDEOGRAPHER: You're welcome.
 3    Q.         And did he provide you feedback about          3            MS. LOPEZ: So hour 45, so that is
 4    that review?                                              4   1.75. Okay.
 5    A.         Yes. I believe it was along the lines          5            MS. CONRAD: So we're about at five
 6    of that I had a good differential diagnosis and           6   hours.
 7    that I ordered appropriate tests. There were a            7            MS. LOPEZ: We're about at five hours.
 8    couple things that I forgot. But that with time, I        8            MS. CONRAD: Okay. We can request an
 9    would get better with my medical knowledge.               9   adjournment. You're not going to move forward with
10             MS. CONRAD: I'm about to enter a new            10   more? You don't want to continue for another hour?
11    area. And in light of the time at 4:48, we can           11   We prefer to continue, if you're up for it.
12    continue or I can start fresh with this new area         12            MS. CONRAD: I would prefer, knowing
13    when we reconvene.                                       13   that we have at least two more hours, and I may
14             MS. LOPEZ: Do you know how long the             14   seek additional time from the court, that we
15    new area will -- like if it's another half hour, I       15   adjourn and continue on another day.
16    think we should keep going.                              16            MS. LOPEZ: Well, I can't agree to
17             MS. CONRAD: No probably over an hour.           17   that. But I understand your position. Can we go
18             MS. LOPEZ: But how much time is left,           18   off the record, please?
19    If I can the videographer.                               19            THE VIDEOGRAPHER: Yeah, of course.
20             THE VIDEOGRAPHER: So at the moment,             20   The time is 4:50 p.m. We're going off the record.
21    it's been an hour and 45 minutes for just this one.      21            (Discussion held of the record.)
22             MS. LOPEZ: Okay. So the cumulative              22            THE VIDEOGRAPHER: The time is 4:58
23    -- we've been going since our last break at 10 of.       23   p.m., we're going back on the record.
24             THE VIDEOGRAPHER: So we started at              24            MS. LOPEZ: Counsel and I, plaintiff
25    10:22 a.m. Let me quickly do the math here.              25   and defense counsel, have conferred and recognized

                                                                                               64 (Pages 250 - 253)
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                                                      Page 254                                                                 Page 256
 1    the lateness of the hour and the amount of time             1 Sharon R. Lopez, Esquire
 2    still needed to conclude the deposition. And we've          2 lopez@triquetralaw.com
 3    decided to adjourn the deposition and reconvene             3                 December 6, 2021
 4    at -- we suggested dates such as December 16 or             4 RE: Salcedo, Pablo A. v. The Milton S. Hershey Medical Center
 5    22nd.                                                       5     12/1/2021, Pablo A. Salcedo (#4971897)
 6              And in addition, defense counsel will             6     The above-referenced transcript is available for
 7    follow up with assessment of -- if she needs                7 review.
 8    additional time and how much time that would be to          8     Within the applicable timeframe, the witness should
 9    address the 11 pages that were submitted to her             9 read the testimony to verify its accuracy. If there are
10    yesterday and -- Monday and yesterday. Is there            10 any changes, the witness should note those with the
11    anything else, counsel?                                    11 reason, on the attached Errata Sheet.
12              MS. CONRAD: Only that I'll forward a             12     The witness should sign the Acknowledgment of
13    list of the additional documents that were                 13 Deponent and Errata and return to the deposing attorney.
14    identified during the deposition, and I would              14 Copies should be sent to all counsel, and to Veritext at
15    request that they be produced, to the extent they          15 erratas-cs@veritext.com
16    exist, prior to the deposition resuming.                   16
17              MS. LOPEZ: That is fine. That is                 17   Return completed errata within 30 days from
18    fine. Okay.                                                18 receipt of transcript.
19              THE VIDEOGRAPHER: Okay. So the time              19   If the witness fails to do so within the time
20    is 4:59 p.m. This ends the deposition for today.           20 allotted, the transcript may be used as if signed.
21    Going off the record.                                      21
22              (Deposition adjourned at 5:00 p.m.)              22            Yours,
23                                                               23            Veritext Legal Solutions
24                                                               24
25                                                               25

                                                      Page 255                                                                 Page 257
 1                CERTIFICATE                                     1 Salcedo, Pablo A. v. The Milton S. Hershey Medical Center
 2                                                                2 Pablo A. Salcedo (#4971897)
 3          I do hereby certify that the aforesaid                3             ERRATA SHEET
 4    testimony was taken before me, pursuant to notice,          4 PAGE_____ LINE_____ CHANGE________________________
 5    at the time and place indicated; that said deponent
                                                                  5 __________________________________________________
 6    was by me duly sworn to tell the truth, the whole
                                                                  6 REASON____________________________________________
 7    truth, and nothing but the truth; that the
                                                                  7 PAGE_____ LINE_____ CHANGE________________________
 8    testimony of said deponent was correctly recorded
 9    in machine shorthand by me and thereafter                   8 __________________________________________________
10    transcribed under my supervision with                       9 REASON____________________________________________
11    computer-aided transcription; that the deposition          10 PAGE_____ LINE_____ CHANGE________________________
12    is a true and correct record of the testimony given        11 __________________________________________________
13    by the witness; and that I am neither of counsel           12 REASON____________________________________________
14    nor kin to any party in said action, nor interested        13 PAGE_____ LINE_____ CHANGE________________________
15    in the outcome thereof.                                    14 __________________________________________________
16                                                               15 REASON____________________________________________
17                                                               16 PAGE_____ LINE_____ CHANGE________________________
18
                                                                 17 __________________________________________________
19
                                                                 18 REASON____________________________________________
20
                                                                 19 PAGE_____ LINE_____ CHANGE________________________
21          <%488,Signature%>
                                                                 20 __________________________________________________
22
         __________________________                              21 REASON____________________________________________
23        Leandra Stoudt, RPR, CRR                               22
         CBC, CCP, Notary Public                                 23 ________________________________ _______________
24                                                               24 Pablo A. Salcedo              Date
25                                                               25

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 2 Pablo A. Salcedo (#4971897)
 3           ACKNOWLEDGEMENT OF DEPONENT
 4    I, Pablo A. Salcedo, do hereby declare that I
 5 have read the foregoing transcript, I have made any
 6 corrections, additions, or changes I deemed necessary as
 7 noted above to be appended hereto, and that the same is
 8 a true, correct and complete transcript of the testimony
 9 given by me.
10
11 ______________________________           ________________
12 Pablo A. Salcedo              Date
13 *If notary is required
14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
15             ______ DAY OF ________________, 20___.
16
17
18             __________________________
19             NOTARY PUBLIC
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  132:17 133:21,21      119:10                 139:8 148:1
  136:20 143:7                                 151:12

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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                Federal Rules of Civil Procedure

                                 Rule 30



   (e) Review By the Witness; Changes.

   (1) Review; Statement of Changes. On request by the

   deponent or a party before the deposition is

   completed, the deponent must be allowed 30 days

   after being notified by the officer that the

   transcript or recording is available in which:

   (A) to review the transcript or recording; and

   (B) if there are changes in form or substance, to

   sign a statement listing the changes and the

   reasons for making them.

   (2) Changes Indicated in the Officer's Certificate.

   The officer must note in the certificate prescribed

   by Rule 30(f)(1) whether a review was requested

   and, if so, must attach any changes the deponent

   makes during the 30-day period.




   DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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              VERITEXT LEGAL SOLUTIONS
    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
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                                                               EXHIBIT 4




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                                              January 5, 2022

By E-Mail

Sharon R. López, Esq.
Andrea C. Farney, Esq.
Triquetra Law
35 East Orange Street, Ste. 301
Lancaster, PA 17602
Lopez@TriquetraLaw.com
Farney@TriquetraLaw.com

                  RE: Pablo A. Salcedo v. The Milton S. Hershey Medical Center
                      USDC for the Middle District of Pennsylvania; No. 1:19-cv-02201

Dear Attorney López and Attorney Farney,

        As we previously agreed to and discussed, a list of additional documents that were
identified during Plaintiff’s deposition is provided below, and we request that they be produced
prior to or at the continuation of Plaintiff’s deposition currently scheduled for January 7, 2022 at
9:30 AM.

        Timeline reviewed by Plaintiff in preparation for his deposition;
        Email Plaintiff sent to Human Resources at Booz Allen Hamilton requesting
         accommodations;
        Statements made to the EEOC and Plaintiff’s previous counsel;
        Email from Plaintiff’s personal email account to HMC’s Human Resources department
         requesting an accommodation form;
        Email from HMC’s Human Resources department attaching an accommodation form
         (with attachment); and,
        Original copy of the August 28, 2017 letter from Dr. Munoz.

    Thank you for your continued cooperation in this matter.




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                                           Very truly yours,

                                           WHITE AND WILLIAMS LLP


                                           Nancy Conrad
                                           Joseph J. Lee
NC:jl




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     EXHIBIT 5
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                                                          EXHIBIT




SENT VIA EMAIL ONLY TO:         ConradN@WhiteandWilliams.com;
                                Leejo@whiteandwilliams.com;
                                Salgadot@whiteandwilliams.com

                                       January 6, 2022
Nancy Conrad, Esq.
Joseph Lee, Esq
Tanya Salgado, Esq.
WHITE AND WILLIAMS, LLP
3701 Corporate Parkway, Suite 300
Center Valley, PA 18034-8233


                                Re:    FOLLOW UP RE DEPOSITION DISCOVERY
                                       REQUESTS
                                       SALCEDO V THE MILTON S. HERSHEY
                                       MEDICAL CENTER
                                       PA. M.D. 19-CV-2201 (HON. YVETTE
                                       KANE)

Dear Counsel,

We received your request for additional documents yesterday (4:48 p.m). During
our previous meet and confer held on December 22, 2021, we agreed that you
would send me a written request for these documents. While I am willing to
respond to your requests as expediously as possible, I request you provide me with
a reasonable time to respond to these types of requests in the future. A week
following the written request seems reasonable. Also, the Rules of Civil Procedure
allow 30 days to respond to a written request for discovery, which also allows the
respondent an opportunity to object. Pending your formal request for documents
on the timeline, I provide the following responses:

   • The timeline that was identified in the deposition is attorney client
     communication. See the privilege log for the same attached.

   • The email from Plaintiff to Booz Allen Hamilton requesting
     accommodations. See attached.
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      • Statement made to EEOC and Plaintiff’s previous counsel. Plaintiff objects
        to this as being privileged and without waiving said privilege he asserts that
        he does not have any copies of such communication in his possession. See
        the privilege log for the same attached.

      • Email to the HMC HR Department requesting accommodations. See
        attached.

      • Original copy of Dr. Muñoz’ letter from August 28, 2017. Plaintiff
        reviewed his files and he does not have this letter.

                                                Very truly yours,
                                                TRIQUETRA LAW ®


                                                Sharon R. Lopez
                                                Attorney at Law
cc.      Pablo Salcedo

Attached:      Plaintiff’s Privilege Log
               Salcedo.001486-Salcedo.001494




                                                                                         2
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                        :
Pablo A. Salcedo,                       :       Civil Action No. 19-cv-2201
                    Plaintiff,          :
      v.                                :           Before the Honorable
                                        :               Yvette Kane
The Milton S. Hershey Medical           :
Center,                                 :           Jury Trial Demanded
                  Defendant.            :

                       PLAINTIFF’S PRIVILEGE LOG



      COMES NOW the Plaintiff, who responds to Defendant’s First Set of

Interrogatories and Request for documents with the following privilege log:

                                  Documen Subject Matter               Privilege
 Item #      Author Recipient t Type
Plaintiff’s Plaintiff Plaintiff’s Timeline Facts describing         Attorney-Client
Deposition              Counsel of events events leading up         Communication
12/1/2021                                   to, during, and
                                               following
                                               Plaintiff’s
                                           Employment with
                                                 HMC
Plaintiff’s Plaintiff’s Plaintiff  Verbal   EEOC Contact            Attorney-Client
Deposition Previous               communi                           Communication
12/1/2021 Counsel                  cation
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Respectfully submitted on January 6, 2022.

                                          TRIQUETRA LAW

                                          _________________________
                                          Sharon R. López, Esquire
                                          PA 70605
                                          The Office at Marion Court
                                          35 East Orange Street
                                          Lancaster, PA 17602
                                          (717) 299-6300 (tel.)
                                          (717) 299-6338 (fax.)
                                          Lopez@TriquetraLaw.com




                        Plaintiff’s Privilege Log in Response to Defendant Deposition Follow up
                                                        Salcedo v Milton Hershey Medical Center
                                                                  No.1:19-cv-02201 Judge Kane
                                                                                     Page 2 of 2
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                         :
Pablo A. Salcedo,                        :        Civil Action No. 19-cv-2201
                    Plaintiff,           :
      v.                                 :           Before the Honorable
                                         :               Yvette Kane
The Milton S. Hershey Medical            :
Center,                                  :            Jury Trial Demanded
                  Defendant.             :

                         CERTIFICATE OF SERVICE


      I, Sharon R. López, hereby certify that a true and correct copy of the foregoing
privilege log has been served upon the following counsel via electronic mail to the
following counsel of record:
Nancy Conrad                                 Tanya A. Salgado
WHITE AND WILLIAMS LLP                       WHITE AND WILLIAMS LLP
3701 Corporate Parkway, Suite 300            1600 Market Street
Center Valley, PA 18034-8233                 One Liberty Place, Suite 1800
conradn@whitewilliams.com                    Philadelphia, PA 19103
(610) 782-4909 (Tel.)                        Salgadot@whiteandwilliams.com
(610) 782-4930 (Fax.)                        Phone: (215) 864-6368

This the 6th day of January, 2022.     TRIQUETRA LAW


                                       _______________________
                                       Sharon R. López, Esquire, PA # 70605
                                       35 East Orange Street
                                       Lancaster, PA 17602
                                       (717) 299-6300 (tel.)
                                       (717) 299-6338 (fax.)
                                       Lopez@TriquetraLaw.com
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     EXHIBIT 6
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                                                                  EXHIBIT 6




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                                              January 24, 2022

By E-Mail

Sharon R. López, Esq.
Andrea C. Farney, Esq.
Triquetra Law
35 East Orange Street, Ste. 301
Lancaster, PA 17602
Lopez@TriquetraLaw.com
Farney@TriquetraLaw.com

                  RE: Pablo A. Salcedo v. The Milton S. Hershey Medical Center
                      USDC for the Middle District of Pennsylvania; No. 1:19-cv-02201

Dear Attorney López and Attorney Farney,

        This acknowledges receipt of your letter dated January 6, 2022. We remind you of your
obligation under the Rules to supplement discovery when a “party learns that in some material
respect the disclosure or response is incomplete.” See Fed. R. Civ. P. 26(e)(1). Such obligation
does not require a written request and is continuing in nature.

        In Defendant’s First Request for Production of Documents to Plaintiff, Request for
Document No. 6 requested “[a]ny and all personal records including email communications,
calendars, diaries, notes, tapes, journals, correspondence, social media posts, or other type of
written or recorded document which relate to the allegations made in the Complaint.” In
Plaintiff’s deposition on December 1, 2021, Plaintiff testified that in preparation for his
deposition, he “reviewed timelines [he] created” referring to his “recollection of the events.” See
Pl. Dep., 12/1/2021, at 10:6-7, 16-18.

        During the deposition, Counsel asserted the attorney-client privilege with respect to the
timelines, and following the deposition, served a privilege log. However, Plaintiff did not testify
that the timelines were prepared in anticipation of an attorney-client communication. Further,
Plaintiff’s testimony did not reflect that the timelines were prepared for Counsel for the purpose
of requesting or receiving legal advice. Nevertheless, even if the timelines were sent to Counsel
for the purpose of requesting or receiving legal advice, the factual material is obtainable and can
be extracted from privileged documents. United States ex rel. Lord v. NAPA Mgmt. Servs. Corp.,
No. 3:13-2940, 2019 U.S. Dist. LEXIS 194063, at *42 (M.D. Pa. Nov. 7, 2019) (citing Andritz

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Sprout-Bauer v. Beazer E., 174 F.R.D. 609, 632 (M.D. Pa. 1997) (“The privilege attaches to the
communication itself, not to the facts communicated”)).

        The referenced timelines have yet to be produced in discovery, and Plaintiff has a duty to
supplement his response to Defendant’s First Request for Production. For all of the foregoing
reasons, Defendant requests Plaintiff to produce the timelines of Plaintiff’s recollection of events
that he created by January 31, 2022. In the event there are other outstanding data or documents
responsive to Defendant’s request, please supplement your responses on or before February 2,
2022. If we do not receive the timelines, we reserve our right to seek Court intervention.

         Thank you for your attention to this matter.



                                                        Very truly yours,

                                                        WHITE AND WILLIAMS LLP


                                                        Nancy Conrad
                                                        Joseph J. Lee

NC:jl




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     EXHIBIT 7
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                                                               EXHIBIT




SENT VIA EMAIL ONLY TO:              ConradN@WhiteandWilliams.com;
                                     Leejo@whiteandwilliams.com;
                                     Salgadot@whiteandwilliams.com



                                                    February 18, 2022

Nancy Conrad, Esq.
Joseph Lee, Esq.
Tanya Salgado, Esq.
WHITE AND WILLIAMS, LLP
3701 Corporate Parkway, Suite 300
Center Valley, PA 18034-8233


                                            Re:     RESPONSE TO JAN. 24TH LETTER SEEKING
                                                    ATTORNEY-CLIENT COMMUNICATION AND
                                                    ATTORNEY WORK PRODUCT
                                                    SALCEDO V THE MILTON S. HERSHEY
                                                    MEDICAL CENTER
                                                    PA. M.D. 19-CV-2201 (HON. YVETTE
                                                    KANE)

Dear Counsel,

In response to your January 24th letter, we understand you are requesting disclosure of the
timeline that Dr. Salcedo referenced at his deposition as a document he reviewed in preparation
for the deposition. We are not going to provide this document to you as it is attorney-client
privileged and subject to the attorney work product doctrine.

The protected document was prepared by Dr. Salcedo and Attorney Farney, during this litigation.
The protected timeline is clearly marked on the footer as “Attorney/Client PRIVILEGED
WORKPRODUCT.” The timeline was initially created by Attorney Farney around December
2020 and it was last updated on 10/26/2021 - as such it was clearly created during litigation and
for purposes of trial.

The protected timeline references selected documents, by bates number, which have already been
disclosed by both parties. The referenced documents are not attached to the timeline. The
protected timeline contains both communications between Dr. Salcedo and his counsel as well as
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attorney mental impressions, assumptions, discovery strategies and questions. The protected
timeline is 53 pages long as it has been a tool counsel and client have used throughout the
litigation. The document has not been disclosed to third parties. There were other documents,
which could be also be described as timelines and journal entries, which have been disclosed and
are not subject to attorney-client privilege or attorney work product privilege. These unprotected
timelines and journal entries have already been disclosed. See Salcedo.000001-10.

Federal Rule of Civil Procedure 26 (b) permits discovery of nonprivileged material that is
relevant to a claim or defense. FED. R. CIV. P 26 (b)(1). “Ordinarily, a party may not discover
documents…that are prepared in anticipation of litigation or for trial by or for another party or its
representative….” FED. R. CIV. P. 26(b)(3)(A). Privileged material may not be discovered unless
the party seeking disclosure shows substantial need for the materials to prepare its case and
cannot, without undue hardship, obtain the substantial equivalent by other means. FED. R. CIV. P.
26(b)(3)(A)(ii). Even if a party meets this burden, the Court “must protect against disclosure of
mental impressions, conclusions, opinions, or legal theories of a party’s attorney or other
representative concerning the litigation.” FED. R. CIV. P. 26(b)(3)(B).

Federal Rule of Evidence 612 requires a party to meet three conditions before disclosure or
documents used to refresh recollection prior to the deposition can be obtained. “1) the witness
must use the writing to refresh his memory; 2) the witness must use the writing for the purpose
of testifying; and 3) the court must determine that production is necessary in the interests of
justice.” FED. R. EVID. 612. The Third Circuit Court of Appeals analyzed the applicability of this
rule to attorney work product in Sporck v. Peil, 759 F.2d 312, 317-318 (3d Cir.1985). In Sporck,
following exchange of document discovery, defense counsel compiled some of the documents
and used them to prepare the deponent. At the opening of a pretrial deposition, opposing counsel
asked the deponent if he examined any documents in preparation for the deposition. After the
deponent said he had reviewed documents to prepare for the deposition, but would not disclose
which ones, opposing counsel filed a motion to compel the disclosure. The motion was based on
FED. R. EVID. 612. The District Court granted the Motion and Sporck appealed. The issue on
appeal was whether the grouping of the documents represented the mental impression of
Sporck’s attorney, because the “identification of the documents as a group will reveal defense
counsel's selection process, and thus his mental impressions, petitioner argues that identification
of the documents as a group must be prevented to protect defense counsel's work product.”
Sporck v. Peil, 759 F.2d 312, 315 (3d Cir.1985). The Third Circuit agreed that such identification
of the compiled documents would be work product.

The protected timeline here used by Dr. Salcedo in preparation for his deposition is similar to the
situation in Sporck. Attorney Farney created the timeline with Dr. Salcedo and referenced
specific documents in discovery, which she specifically identified, while writing out the
inferences drawn from the documents. By selecting certain documents over others, Attorney
Farney’s mental impressions are clearly at the core of this document. Her views of what
information is important in the documents is also a memorialization of her mental impressions of
the case documents and how they can be used in the litigation. The document is pure work
product with Dr. Salcedo for this litigation.




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The Sporck court found that Rule 612 applied to depositions but distinguished its application by
finding Rule 612 is a “rule of evidence, and not a rule of discovery.” Sporck v. Peil, 759 F.2d
312, 317 (3d Cir.1985). Additionally, Rule 612 requires a party meet three conditions before it
may obtain documents used by a witness prior to testifying: (1) the witness must use the writing
to refresh his memory; (2) the witness must use the writing for the purpose of testifying; and (3)
the court must determine that production is necessary in the interests of justice. FED. R. EVID.
612. Here, Plaintiff did not use the timeline to refresh his memory during the deposition and he
did not use the timeline for purpose of testifying. We also do not see your compelling need for
the document as all the documents referenced in this protected document have already been
disclosed in this litigation.

You reference United States ex rel. Lord v. NAPA Mgmt. Servs. Corp. in your January 24, 2022
letter. We do not find Lord assists you in arguing for disclosure of the timeline. In Lord, the
court protected a majority of the privilege-asserted documents. Also, the documents were created
by in-house attorneys, involved in the defendant’s regular course of business. Here, the context
of the document creation is in the context of the attorney-client relationship and not an in-house
attorney scenario.

The document was created by Plaintiff’s retained counsel for purposes of putting together her
mental impressions of the case and Dr. Salcedo assisted counsel with producing it. There is no
question the document was created during litigation and was a compilation of mental
impressions of documents and communications in the case with Attorney Farney and Dr.
Salcedo.

                                                     Very truly yours,




                                                     Sharon L. López
                                                     Attorney at Law

cc.    Dr. Pablo Salcedo




                                                 3
